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Exhibit 1 to Waves Settlement

Plaintiff Name                   PID       Case No.    Plaintiff Counsel                                     Wave List Group
Haugland, Gabriel Michael       116942   8:20cv31043   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz      MDL Wave 1
Torres Mantilla, Misael         116958   8:20cv31071   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz      MDL Wave 1
Acteson, Jon                    60126    7:20cv09401   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Aikman, Sean                    60151    7:20cv09425   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Baca, Crusito                   98050    7:20cv23413   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Barringer, Charles              98769    7:20cv25462   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Brugger, David                  60762    7:20cv10622   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Coleman, Robert Daniel          61110    7:20cv13551   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Daniels, Billy                  61311    7:20cv14285   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Daniels, Jason Thomas           61313    7:20cv14286   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Dunker, Daniel                  61540    7:20cv15315   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Ford, Marteze Edward            61797    7:20cv11278   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Frei, Nathan                    61844    7:20cv11506   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Gentner, John M.                61949    7:20cv11424   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Harris, Jeremy                  62277    7:20cv11833   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Haskamp, Dennis                 62307    7:20cv11900   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Hazen, Adam T.                  62332    7:20cv11879   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Hopson, Lakobi Keon             62509    7:20cv12063   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Ino, Ututoa                     62629    7:20cv12207   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
James, Joseph                   62686    7:20cv12243   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Jurich, Eric                    62851    7:20cv13643   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Keough, Keith                   62923    7:20cv14576   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Klotz, Chad                     62995    7:20cv15014   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Luzadder, Anthony Lee           63310    7:20cv18312   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Markel, Kyle A.                 63394    7:20cv18488   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Milledge, James                 145292   8:20cv05465   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Moore, Andrea Michelle          99355    7:20cv25622   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Noble, Joshua                   63957    7:20cv12555   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Oldani, Ronald Chris            64011    7:20cv12731   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Olson, Sean                     64022    7:20cv12655   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Panaitov, Gloria E.             64078    7:20cv12722   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Parshall, Robert                64102    7:20cv12817   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Parsons, James                  64106    7:20cv12830   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Rios Cortes, Josue Julian       64501    7:20cv13339   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Roller, Jason                   64605    7:20cv13671   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Simpson, Taylor                 99658    7:20cv24656   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Tacker, Paul James              65225    7:20cv14629   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Theriot, Robert                 65288    7:20cv14832   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Vejarano, David                 65489    7:20cv15495   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Williams, Tyrone                65778    7:20cv15864   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Wolowicz, Eric D.               65843    7:20cv15985   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Yruegas, Joseph                 65925    7:20cv16000   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Cabiness, Christopher           148421   7:20cv30523   Aylstock, Witkin, Kreis & Overholtz, PLLC; Coxwell     MDL Wave 1
                                                       & Associates PLLC.; Maggio Thompson LLP
Bagwell, Dustin                 83969    8:20cv34036   Aylstock, Witkin, Kreis & Overholtz, PLLC; Shlosman    MDL Wave 1
                                                       Law Firm
Johnson, Charles                66365    7:20cv54706   Bailey Cowan Heckaman PLLC                             MDL Wave 1
Kaiser, William                 66727    7:20cv49295   Bailey Cowan Heckaman PLLC                             MDL Wave 1
Sayre, Jacob                    66600    7:20cv48946   Bailey Cowan Heckaman PLLC                             MDL Wave 1
Thomas, Ryne                    66671    7:20cv49130   Bailey Cowan Heckaman PLLC                             MDL Wave 1
Wallace, Dax                    66703    7:20cv49224   Bailey Cowan Heckaman PLLC                             MDL Wave 1
Frame, Bradley Dustin           117383   7:20cv87802   Baron & Budd                                           MDL Wave 1
Mckenzie, Stanford Lloyd        117794   8:20cv00231   Baron & Budd                                           MDL Wave 1
Owings, Jacob                   117922   8:20cv00446   Baron & Budd                                           MDL Wave 1
Rivera, Thomas Joseph           118045   8:20cv00691   Baron & Budd                                           MDL Wave 1
Scheiner, Matthew Justin        118118   8:20cv00560   Baron & Budd                                           MDL Wave 1
Smith, George R.                 9867    8:20cv33772   Berniard Law LLC                                       MDL Wave 1
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                             Wave List Group
Moreno, Abram                   102104   7:20cv46304   Bertram & Graf, L.L.C.                         MDL Wave 1
Morton, David                   102107   7:20cv46311   Bertram & Graf, L.L.C.                         MDL Wave 1
Warner, Steven                  102253   7:20cv46676   Bertram & Graf, L.L.C.                         MDL Wave 1
Autry, Donald                   50181    8:20cv09779   Bohrer Brady LLC                               MDL Wave 1
Douglas, Michael                68678    7:20cv71875   Brent Coon & Associates                        MDL Wave 1
Abshier, Jonathan               129588   7:20cv52193   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Applewhite, Carlos              129728   7:20cv52828   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Bradley, Alonzo                 130173   7:20cv52735   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Brady, Josh                     130175   7:20cv52742   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Casiano, Jonathan               130481   7:20cv54227   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Crittenden, Kenneth             130792   7:20cv53685   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Delgado, Rupert                 130962   7:20cv54596   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Ellis, Robert                   131198   7:20cv55287   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Eubank, Michael                 131255   7:20cv55436   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Fennell, Bryan                  131305   7:20cv51214   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Hallisey, Robert                131864   7:20cv56711   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Wempe, Robert                   135953   7:20cv42022   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Washington, Joseph              78958    7:20cv50199   Carey Danis & Lowe                             MDL Wave 1
Aparicio, John                  88749    7:20cv19528   Clark, Love & Hutson PLLC                      MDL Wave 1
Bailey, James                   90019    7:20cv22111   Clark, Love & Hutson PLLC                      MDL Wave 1
Blimka, Christopher             42949    7:20cv06868   Clark, Love & Hutson PLLC                      MDL Wave 1
Bovee, Joel                     90728    7:20cv20999   Clark, Love & Hutson PLLC                      MDL Wave 1
Domke, Ryan N.                  89056    7:20cv19984   Clark, Love & Hutson PLLC                      MDL Wave 1
Duchesneau, Neil                90122    7:20cv22299   Clark, Love & Hutson PLLC                      MDL Wave 1
Fridgen, Michael                89357    7:20cv20498   Clark, Love & Hutson PLLC                      MDL Wave 1
Generally, Stefan               89111    7:20cv20077   Clark, Love & Hutson PLLC                      MDL Wave 1
Hellin, Robert                  42947    3:19cv02395   Clark, Love & Hutson PLLC                      MDL Wave 1
Hogan, Chris                    90890    7:20cv21169   Clark, Love & Hutson PLLC                      MDL Wave 1
Medley, Brian                   90600    7:20cv20730   Clark, Love & Hutson PLLC                      MDL Wave 1
Pressley, Riston                89937    7:20cv21946   Clark, Love & Hutson PLLC                      MDL Wave 1
Seman, Dominic                  43022    3:19cv00819   Clark, Love & Hutson PLLC                      MDL Wave 1
Shenian, Jonathan S.            90686    7:20cv20925   Clark, Love & Hutson PLLC                      MDL Wave 1
Shiraef, Joshua                 90357    7:20cv23237   Clark, Love & Hutson PLLC                      MDL Wave 1
Smith, Mushawn D.               90672    7:20cv20902   Clark, Love & Hutson PLLC                      MDL Wave 1
Swartout, Patrick               43042    7:20cv07037   Clark, Love & Hutson PLLC                      MDL Wave 1
Tharpe, Herman                  88737    7:20cv19501   Clark, Love & Hutson PLLC                      MDL Wave 1
Gibbs, Christopher              71486    8:20cv25425   Danziger & De Llano; Watts Guerra              MDL Wave 1
Gutierrez De Pineres, Ricardo   71697    8:20cv27196   Danziger & De Llano; Watts Guerra              MDL Wave 1
Irizarry, Alvin                 72240    8:20cv22444   Danziger & De Llano; Watts Guerra              MDL Wave 1
Kaeding, Jason                  72467    8:20cv23021   Danziger & De Llano; Watts Guerra              MDL Wave 1
Martin, Brian                   73143    8:20cv23838   Danziger & De Llano; Watts Guerra              MDL Wave 1
Pacheco, Steve                  73906    8:20cv25647   Danziger & De Llano; Watts Guerra              MDL Wave 1
Schaaf, Daniel                  74710    8:20cv24835   Danziger & De Llano; Watts Guerra              MDL Wave 1
Taylor, Nathan                  75383    8:20cv27891   Danziger & De Llano; Watts Guerra              MDL Wave 1
Woodruff, Michael               76051    8:20cv33012   Danziger & De Llano; Watts Guerra              MDL Wave 1
Allen, William                  107259   7:20cv74412   Douglas & London                               MDL Wave 1
Aubrey, Sawyer                  107398   7:20cv75257   Douglas & London                               MDL Wave 1
Bobo, Andrew                    107816   7:20cv76576   Douglas & London                               MDL Wave 1
Bowen, Paul                     107890   7:20cv72233   Douglas & London                               MDL Wave 1
Boxton, Darrol                  107908   7:20cv72317   Douglas & London                               MDL Wave 1
Carrasco, Gregory               108301   7:20cv72853   Douglas & London                               MDL Wave 1
Clayton, Cody                   108510   7:20cv73625   Douglas & London                               MDL Wave 1
Cortez, Raymond                 108691   7:20cv73289   Douglas & London                               MDL Wave 1
Cullifer, Kevin                 108813   7:20cv73554   Douglas & London                               MDL Wave 1
Davies, Jason                   108918   7:20cv76745   Douglas & London                               MDL Wave 1
Davis, Demetrius                108951   7:20cv76824   Douglas & London                               MDL Wave 1
Delgado, Isabelino              109024   7:20cv77005   Douglas & London                               MDL Wave 1
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                         Wave List Group
Dudley, Chad                    109232   7:20cv77412   Douglas & London                           MDL Wave 1
Esposito, Allen                 109419   7:20cv77587   Douglas & London                           MDL Wave 1
Fleming, Thomas                 109572   7:20cv79613   Douglas & London                           MDL Wave 1
Fontanezmedina, Juan            109599   7:20cv79639   Douglas & London                           MDL Wave 1
Gallardo, Albert                109734   7:20cv79770   Douglas & London                           MDL Wave 1
Golden, Thomas                  109930   7:20cv79953   Douglas & London                           MDL Wave 1
Grimberg-Phillips, Gregory      110104   7:20cv74021   Douglas & London                           MDL Wave 1
Hayes, Cedric                   110406   7:20cv74623   Douglas & London                           MDL Wave 1
Hutcherson, Raymond             110801   7:20cv74949   Douglas & London                           MDL Wave 1
Jolly, Christopher              111009   7:20cv75859   Douglas & London                           MDL Wave 1
Keller, Perry                   111137   7:20cv76486   Douglas & London                           MDL Wave 1
King, Daniel                    111221   7:20cv76763   Douglas & London                           MDL Wave 1
Knotts, Tyson                   111284   7:20cv77919   Douglas & London                           MDL Wave 1
Lancaster, Brent                111420   7:20cv78599   Douglas & London                           MDL Wave 1
Lee, Matthew                    111532   7:20cv79151   Douglas & London                           MDL Wave 1
Leins, Derek                    111546   7:20cv79231   Douglas & London                           MDL Wave 1
Lewis, Jeffery                  111605   7:20cv80556   Douglas & London                           MDL Wave 1
Lucero, John                    111738   7:20cv81373   Douglas & London                           MDL Wave 1
Manning, Scott                  111855   7:20cv81970   Douglas & London                           MDL Wave 1
Marin, Jose                     111878   7:20cv82050   Douglas & London                           MDL Wave 1
Mcculloch, Oakland              112118   7:20cv76921   Douglas & London                           MDL Wave 1
Messinger, Matthew              112305   7:20cv77294   Douglas & London                           MDL Wave 1
Milam, Raymond                  112338   7:20cv77355   Douglas & London                           MDL Wave 1
Moats, James                    112423   7:20cv77802   Douglas & London                           MDL Wave 1
Peacock, Bradford               113068   7:20cv79194   Douglas & London                           MDL Wave 1
Skillings, Jaason               114278   7:20cv79088   Douglas & London                           MDL Wave 1
Vasquez, Charles                115086   7:20cv81062   Douglas & London                           MDL Wave 1
Volpe, Michael                  115144   7:20cv81313   Douglas & London                           MDL Wave 1
Walker, Jarvis                  115186   7:20cv81490   Douglas & London                           MDL Wave 1
Wilson, Timothy                 115546   7:20cv82700   Douglas & London                           MDL Wave 1
Woodard, Rodrick                115604   7:20cv82803   Douglas & London                           MDL Wave 1
Wright, Jason                   115650   7:20cv82888   Douglas & London                           MDL Wave 1
Eakes, Matthew                  76441    8:20cv14273   FLEMING, NOLEN & JEZ, L.L.P                MDL Wave 1
Hill, Andre                     76525    8:20cv14642   FLEMING, NOLEN & JEZ, L.L.P                MDL Wave 1
Medina, Rafael                  76612    8:20cv10065   FLEMING, NOLEN & JEZ, L.L.P                MDL Wave 1
Cooper, Timothy                 139689   7:20cv63901   Goza & Honnold, LLC                        MDL Wave 1
Bodiford, Keith                 79167    7:20cv50657   Heninger Garrison Davis, LLC               MDL Wave 1
Cihak, Dillon                   79277    7:20cv52440   Heninger Garrison Davis, LLC               MDL Wave 1
Dawkins, Thomas                 79342    7:20cv52704   Heninger Garrison Davis, LLC               MDL Wave 1
Fresen, Jamie                   79458    7:20cv53109   Heninger Garrison Davis, LLC               MDL Wave 1
Hart, Kevin                     79577    7:20cv53112   Heninger Garrison Davis, LLC               MDL Wave 1
Layne, Ray                      79771    7:20cv53873   Heninger Garrison Davis, LLC               MDL Wave 1
Mcroberts, Michael              80798    7:20cv84454   Holland Law Firm                           MDL Wave 1
Powell, Joseph                  80858    7:20cv84674   Holland Law Firm                           MDL Wave 1
Gordon, Dusty                   137274   8:20cv36066   Jensen & Associates; Keller Postman        MDL Wave 1
Griffin, Seth                   87683    8:20cv35391   Jensen & Associates; Keller Postman        MDL Wave 1
Holley, Johnny                  137711   8:20cv39591   Jensen & Associates; Keller Postman        MDL Wave 1
Kelley, Michael Allan           164383   8:20cv50768   Jensen & Associates; Keller Postman        MDL Wave 1
Maciel, Nicholas                138219   8:20cv47592   Jensen & Associates; Keller Postman        MDL Wave 1
Sefchik, Steven                 138586   8:20cv37477   Jensen & Associates; Keller Postman        MDL Wave 1
Yoshida, Byron T                136967   8:20cv38455   Jensen & Associates; Keller Postman        MDL Wave 1
Maness, George Benton           16742    7:20cv43781   Johnson Becker                             MDL Wave 1
Hains, Larry J.                  3187    8:20cv33202   Justinian & Associates PLLC                MDL Wave 1
Turner, Richard Wayne           59858    8:20cv33319   Justinian & Associates PLLC                MDL Wave 1
Wood, George J.                  3302    8:20cv33407   Justinian & Associates PLLC                MDL Wave 1
Alcorn, Dustin A.               43103    7:20cv57916   Keller Postman                             MDL Wave 1
Ash, Francis D.                 43182    7:20cv58164   Keller Postman                             MDL Wave 1
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Exhibit 1 to Waves Settlement

Plaintiff Name                   PID       Case No.    Plaintiff Counsel                         Wave List Group
Belmar, Antonio L.              43309    7:20cv58932   Keller Postman                             MDL Wave 1
Belvin, Billy L.                43312    7:20cv58940   Keller Postman                             MDL Wave 1
Castro, Marcos A.               43668    7:20cv59326   Keller Postman                             MDL Wave 1
Hall, Russell F.                44530    7:20cv61734   Keller Postman                             MDL Wave 1
Hernandez, Eugene G.            44679    7:20cv61601   Keller Postman                             MDL Wave 1
Inclan, Nicholas C.             44821    7:20cv62099   Keller Postman                             MDL Wave 1
Lewis, Dwayne E.                45173    7:20cv63717   Keller Postman                             MDL Wave 1
Northern, Justin                45695    7:20cv64557   Keller Postman                             MDL Wave 1
Rataj, Charles D.               45998    7:20cv64733   Keller Postman                             MDL Wave 1
Seymour, Joshua R.              46304    7:20cv70529   Keller Postman                             MDL Wave 1
Smith, Dorrell D.               46406    7:20cv70656   Keller Postman                             MDL Wave 1
Smith, Thaddeus R.              46423    7:20cv70673   Keller Postman                             MDL Wave 1
Tonderum, Aaron L.              46676    7:20cv75490   Keller Postman                             MDL Wave 1
Umberger, Christopher M.        46736    7:20cv44106   Keller Postman                             MDL Wave 1
Valle, Richard J.               46754    7:20cv75821   Keller Postman                             MDL Wave 1
White, Thomas J.                46906    7:20cv76039   Keller Postman                             MDL Wave 1
Simonelli, Brett                50999    7:20cv66393   Kirkendall Dwyer LLP                       MDL Wave 1
Cline, Michael                   9260    7:20cv48703   Law Offices of Peter G. Angelos, P.C.      MDL Wave 1
Hannan, Jobe                     8850    7:20cv47804   Law Offices of Peter G. Angelos, P.C.      MDL Wave 1
Hardman, Matthew                 8853    7:20cv47817   Law Offices of Peter G. Angelos, P.C.      MDL Wave 1
Ortiz, David                     8557    7:20cv47809   Law Offices of Peter G. Angelos, P.C.      MDL Wave 1
Robinson, Lovie                  8616    7:20cv48014   Law Offices of Peter G. Angelos, P.C.      MDL Wave 1
Davis, Brett F.                 11470    7:20cv00842   Levin Papantonio Rafferty                  MDL Wave 1
Masters, David M.               11269    7:20cv00607   Levin Papantonio Rafferty                  MDL Wave 1
Moretz, Michael P.              11267    7:20cv00605   Levin Papantonio Rafferty                  MDL Wave 1
Stanfield, Raymond D.           11320    7:20cv00668   Levin Papantonio Rafferty                  MDL Wave 1
Darnell, William                77457    7:20cv50731   Lieff Cabraser Heimann & Bernstein, LLP    MDL Wave 1
Holliday, Alton                 77383    7:20cv50319   Lieff Cabraser Heimann & Bernstein, LLP    MDL Wave 1
Cottrill, Steve Paul            139533   8:20cv16163   Matthews & Associates                      MDL Wave 1
Emerson, Daryll Roy             102778   8:20cv14643   Matthews & Associates                      MDL Wave 1
Macgregor, Andrew Scott         103075   8:20cv14407   Matthews & Associates                      MDL Wave 1
Ingles, James                   49323    7:20cv52539   McCune Wright Arevalo                      MDL Wave 1
Rader, Joshua                   12240    7:20cv01734   McDonald Worley                            MDL Wave 1
Rice, Justin Daniel             12634    7:20cv58665   McSweeney/Langevin LLC                     MDL Wave 1
Belfi, Matthew                  91198    7:20cv00112   Messa & Associates                         MDL Wave 1
Buckland, Tyler                 91207    7:20cv71515   Messa & Associates                         MDL Wave 1
Hudson, Christopher T.          91277    7:20cv71711   Messa & Associates                         MDL Wave 1
Hunt, Daniel J.                 138785   7:20cv88299   Messa & Associates                         MDL Wave 1
Rodolph, Isaac L.               91350    7:20cv72113   Messa & Associates                         MDL Wave 1
Marks, Robert                   85800    7:20cv44747   Monsour Law Firm                           MDL Wave 1
Mckinney, Michael               85810    7:20cv44760   Monsour Law Firm                           MDL Wave 1
Gromacki, Kristopher             5218    8:20cv21119   Morgan & Morgan                            MDL Wave 1
Livingston, Ronald Frayne       126326   8:20cv32524   Morgan & Morgan                            MDL Wave 1
Moore, Jonathan Spencer         126522   8:20cv34730   Morgan & Morgan                            MDL Wave 1
Norton, Wesley Eugene           126387   8:20cv32809   Morgan & Morgan                            MDL Wave 1
Struck, Ryan Lloyd              126619   8:20cv35155   Morgan & Morgan                            MDL Wave 1
Rios, Omar                      126934   7:20cv98097   Mostyn Law                                 MDL Wave 1
Surdo, Maurizio                 51875    7:20cv86584   Mostyn Law                                 MDL Wave 1
Barker, Carl                     4730    7:20cv42913   Motley Rice, LLC                           MDL Wave 1
Chapman, Jeremy G.              17403    7:20cv82261   Murphy Law Firm                            MDL Wave 1
Ortiz, Daniel D.                18184    7:20cv99631   Murphy Law Firm                            MDL Wave 1
Moss, Joshua                    157124   7:20cv34822   Parafinczuk Wolf, P.A.                     MDL Wave 1
Acevedo, Manuel                 103537   7:20cv68140   Parker Waichman LLP                        MDL Wave 1
Boyles, Cory Douglass           103827   7:20cv68931   Parker Waichman LLP                        MDL Wave 1
Button, Nathaniel Loren         103922   7:20cv69255   Parker Waichman LLP                        MDL Wave 1
Carrasco, Joseph Martin         103964   7:20cv69356   Parker Waichman LLP                        MDL Wave 1
Castillo, Daniel                103984   7:20cv69394   Parker Waichman LLP                        MDL Wave 1
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Exhibit 1 to Waves Settlement

Plaintiff Name                   PID       Case No.    Plaintiff Counsel                             Wave List Group
Edwards, Tyrone Quincey         104312   7:20cv69693   Parker Waichman LLP                            MDL Wave 1
Elmore, Andrew Royce            104328   7:20cv69741   Parker Waichman LLP                            MDL Wave 1
George, David Elliott           104528   7:20cv71963   Parker Waichman LLP                            MDL Wave 1
Hurley, Jason J.                104848   7:20cv75433   Parker Waichman LLP                            MDL Wave 1
Jacquez, Edwardo Jaime          104870   7:20cv76629   Parker Waichman LLP                            MDL Wave 1
Leshkevich, Christopher Paul    105108   7:20cv70091   Parker Waichman LLP                            MDL Wave 1
Logsdon, Christopher Andrew     105135   7:20cv70143   Parker Waichman LLP                            MDL Wave 1
Niewiek, Andrew Scott           105484   7:20cv70904   Parker Waichman LLP                            MDL Wave 1
Oakley, Bobby Andrews           105495   7:20cv70916   Parker Waichman LLP                            MDL Wave 1
Potts, Jerry Ray                105642   7:20cv71217   Parker Waichman LLP                            MDL Wave 1
Prosser, Justin Michael         105656   7:20cv71268   Parker Waichman LLP                            MDL Wave 1
Ross, Mark Allen                105827   7:20cv71323   Parker Waichman LLP                            MDL Wave 1
Rowles, Jason Bradley           105835   7:20cv71346   Parker Waichman LLP                            MDL Wave 1
Stokes, Addarrel                106088   7:20cv72122   Parker Waichman LLP                            MDL Wave 1
Kikta, Evan                     145673   7:20cv98481   Paul LLP                                       MDL Wave 1
Chavez, Ryan                    91986    8:20cv34479   Pennock Law Firm LLC                           MDL Wave 1
Shockley, James                 91910    8:20cv34326   Pennock Law Firm LLC                           MDL Wave 1
Hooker, Garrett                 52978    7:20cv69094   Peterson & Associates, P.C.                    MDL Wave 1
Snowball, William               53328    7:20cv69797   Peterson & Associates, P.C.                    MDL Wave 1
Stevenson, James                52964    7:20cv68632   Peterson & Associates, P.C.                    MDL Wave 1
Weiermann, Daniel               52717    7:20cv67513   Peterson & Associates, P.C.                    MDL Wave 1
Scott, Kennedy                   6330    8:20cv05045   Preuss | Foster                                MDL Wave 1
Benfatto, Shante                26670    7:21cv44503   Pulaski Law Firm, PLLC                         MDL Wave 1
Burgess, Candace                158287   7:20cv65956   Pulaski Law Firm, PLLC                         MDL Wave 1
Doyle, Colt                     26428    7:20cv15097   Pulaski Law Firm, PLLC                         MDL Wave 1
Freeland, Tim                   28744    7:20cv05657   Pulaski Law Firm, PLLC                         MDL Wave 1
Green, Corey                    28545    7:20cv04234   Pulaski Law Firm, PLLC                         MDL Wave 1
Hall, John                      169748   7:20cv63303   Pulaski Law Firm, PLLC                         MDL Wave 1
Herold, Lee                     29050    7:20cv06712   Pulaski Law Firm, PLLC                         MDL Wave 1
Keener, Jerry                   26738    7:20cv19110   Pulaski Law Firm, PLLC                         MDL Wave 1
Kohail, Mourad                  28864    7:20cv05811   Pulaski Law Firm, PLLC                         MDL Wave 1
Mclean, Charles                 19034    7:20cv08445   Pulaski Law Firm, PLLC                         MDL Wave 1
Peeden, Robert                  27460    7:20cv03181   Pulaski Law Firm, PLLC                         MDL Wave 1
Raza, Syed                      26811    7:20cv19333   Pulaski Law Firm, PLLC                         MDL Wave 1
Smyrnow, Victor                 158330   7:20cv65982   Pulaski Law Firm, PLLC                         MDL Wave 1
Wetherington, Gary              26305    7:20cv14947   Pulaski Law Firm, PLLC                         MDL Wave 1
Jumanah, Halimah                 5862    7:20cv01913   Reich and Binstock, LLP                        MDL Wave 1
Lacey, Jeremy                    5893    7:20cv02027   Reich and Binstock, LLP                        MDL Wave 1
Marinakes, Sophia                5936    7:20cv02359   Reich and Binstock, LLP                        MDL Wave 1
Medders, Robert                  5960    7:20cv02389   Reich and Binstock, LLP                        MDL Wave 1
Roper, Shanika                   6087    7:20cv02945   Reich and Binstock, LLP                        MDL Wave 1
Weisman, Joshua                  6223    7:20cv03569   Reich and Binstock, LLP                        MDL Wave 1
Avery, Nicholas                 92068    7:20cv55570   Robinson Calcagnie, Inc.                       MDL Wave 1
Carter, Danny                   92280    7:20cv56246   Robinson Calcagnie, Inc.                       MDL Wave 1
Sollars, Jared                  93305    7:20cv50966   Robinson Calcagnie, Inc.                       MDL Wave 1
Chee, Marvin                    93775    7:20cv72717   Rogers, Patrick, Westbrook & Brickman, LLC     MDL Wave 1
Bobbe, Shawn                    18274    7:20cv42194   Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    MDL Wave 1
Allen, Patrick                  83229    7:20cv18848   Seeger Weiss LLP                               MDL Wave 1
Bradley, Ted                    83579    7:20cv17104   Seeger Weiss LLP                               MDL Wave 1
Crittenden, Ilon                82444    7:20cv17260   Seeger Weiss LLP                               MDL Wave 1
Detten, Jason                   82560    7:20cv18046   Seeger Weiss LLP                               MDL Wave 1
Elger, William                  83732    7:20cv17588   Seeger Weiss LLP                               MDL Wave 1
Engel, Daniel                   82113    7:20cv17043   Seeger Weiss LLP                               MDL Wave 1
Greening, Angela                81707    7:20cv16227   Seeger Weiss LLP                               MDL Wave 1
Hammond, Luke                   82997    7:20cv17824   Seeger Weiss LLP                               MDL Wave 1
Killian, Frederick              82379    7:20cv16899   Seeger Weiss LLP                               MDL Wave 1
Radford, Thomas                 83614    7:20cv17222   Seeger Weiss LLP                               MDL Wave 1
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                                  Wave List Group
Rosales, Neil                   83199    7:20cv18790   Seeger Weiss LLP                                    MDL Wave 1
Walton, Jeremiah                82626    7:20cv18143   Seeger Weiss LLP                                    MDL Wave 1
Fay, Brian L.                   81316    8:20cv16535   Shunnarah Vail Trial Attorneys, P.C.                MDL Wave 1
Whitebird, Colin                81483    8:20cv17939   Shunnarah Vail Trial Attorneys, P.C.                MDL Wave 1
Bowie, Marquette                16095    7:20cv66592   Simmons Hanly Conroy                                MDL Wave 1
Medhanie, Fabion Charles        14232    8:20cv05659   Sommers Schwartz                                    MDL Wave 1
Brachear, Rob                    6514    7:20cv43827   Stueve Siegel Hanson                                MDL Wave 1
Davis, Justin S.                 6727    7:20cv44232   Stueve Siegel Hanson                                MDL Wave 1
Goyings, Ryan                    6955    7:20cv45600   Stueve Siegel Hanson                                MDL Wave 1
King, Jeremy                     7225    7:20cv46701   Stueve Siegel Hanson                                MDL Wave 1
Medina, Hector                   7460    7:20cv47037   Stueve Siegel Hanson                                MDL Wave 1
Morgan, Christopher D.           7510    7:20cv47097   Stueve Siegel Hanson                                MDL Wave 1
Ozment, Joshua                   7589    7:20cv47155   Stueve Siegel Hanson                                MDL Wave 1
Pooler, Thadd                    7668    7:20cv47213   Stueve Siegel Hanson                                MDL Wave 1
Tamam, Ahmed                     7964    7:20cv48133   Stueve Siegel Hanson                                MDL Wave 1
Mingee, Mark                    49422    3:19cv02331   Sullivan Papain Block McGrath Coffinas & Cannavo    MDL Wave 1
                                                       P.C.
Schofield, Christopher Edward   97035    7:20cv68034   Taylor Martino, P.C.                                MDL Wave 1
Austin, Kevin                   164622   7:20cv88546   The Carlson Law Firm                                MDL Wave 1
Tate, Stuart                    14265    8:20cv16907   The Cochran Firm - Dothan                           MDL Wave 1
Breter, Craig Michael           127989   8:20cv20305   The DiLorenzo Law Firm, LLC                         MDL Wave 1
Campbell, Maynard               128402   8:20cv17889   The DiLorenzo Law Firm, LLC                         MDL Wave 1
Baggett, Stacey S.              55949    7:20cv06896   The Gori Law Firm, P.C.                             MDL Wave 1
Berns, Christopher              57709    7:20cv10965   The Gori Law Firm, P.C.                             MDL Wave 1
Bhalla, Reeti                   57629    7:20cv10833   The Gori Law Firm, P.C.                             MDL Wave 1
Bishop, Zachary E.              58090    7:20cv09899   The Gori Law Firm, P.C.                             MDL Wave 1
Carney, Laveta                  57372    8:20cv27165   The Gori Law Firm, P.C.                             MDL Wave 1
Cummings, Brook                 55935    7:20cv06887   The Gori Law Firm, P.C.                             MDL Wave 1
Deldeo, Kenneth E.              58354    7:20cv10030   The Gori Law Firm, P.C.                             MDL Wave 1
Dunham, Joseph A.               47783    7:20cv08172   The Gori Law Firm, P.C.                             MDL Wave 1
Eagle, Remi Bald                55738    7:20cv06507   The Gori Law Firm, P.C.                             MDL Wave 1
Eide, Marvin                    55539    7:20cv06381   The Gori Law Firm, P.C.                             MDL Wave 1
Files, Jeremy                   58696    7:20cv10869   The Gori Law Firm, P.C.                             MDL Wave 1
Gillespie, Sean                 55379    7:20cv05996   The Gori Law Firm, P.C.                             MDL Wave 1
Gutierrez, David                56354    7:20cv07379   The Gori Law Firm, P.C.                             MDL Wave 1
Henderson, Zachary              47899    7:20cv08339   The Gori Law Firm, P.C.                             MDL Wave 1
Jeffrey, Ronnie B.              56263    7:20cv07492   The Gori Law Firm, P.C.                             MDL Wave 1
Lachappelle, Ronnie             55981    7:20cv06901   The Gori Law Firm, P.C.                             MDL Wave 1
Lewis, Carl                     55978    7:20cv06899   The Gori Law Firm, P.C.                             MDL Wave 1
Mcdonald, Andrew William        58855    7:20cv11300   The Gori Law Firm, P.C.                             MDL Wave 1
Mcfadden, Kieran                58486    7:20cv11443   The Gori Law Firm, P.C.                             MDL Wave 1
Mitchell, Wayne R.              55953    7:20cv71173   The Gori Law Firm, P.C.                             MDL Wave 1
Nunez, Jorge                    57873    7:20cv11126   The Gori Law Firm, P.C.                             MDL Wave 1
Racko, Patrick C.               56088    7:20cv06973   The Gori Law Firm, P.C.                             MDL Wave 1
Rickert-Smith, Angelica         47563    7:20cv08018   The Gori Law Firm, P.C.                             MDL Wave 1
Smith, Robert L.                56382    7:20cv07486   The Gori Law Firm, P.C.                             MDL Wave 1
Staples, Matthew J.             55776    7:20cv06595   The Gori Law Firm, P.C.                             MDL Wave 1
Tondre, Gary W.                 55715    7:20cv06371   The Gori Law Firm, P.C.                             MDL Wave 1
Toulon, Rama                    57467    7:20cv10791   The Gori Law Firm, P.C.                             MDL Wave 1
Hernandez, Leonel               48727    7:20cv04391   The Lanier Law Firm                                 MDL Wave 1
Sevilla, Ryan                   48832    7:20cv04513   The Lanier Law Firm                                 MDL Wave 1
Wilcox, John                    48938    7:20cv04677   The Lanier Law Firm                                 MDL Wave 1
Latowski, Dennis                59909    8:20cv33526   The Law Office of L. Paul Mankin                    MDL Wave 1
Hunter, Moses J.                48591    7:20cv44365   The Moody Law Firm                                  MDL Wave 1
Barthelemy, Troy                96595    8:20cv35873   The Murray Law Firm                                 MDL Wave 1
Rollins, James                   4967    7:20cv00328   Thornton Law Firm                                   MDL Wave 1
Barnes, Stephen                 19526    7:20cv84303   Tracey & Fox Law Firm; Johnson Law Group            MDL Wave 1
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                           Wave List Group
Braden, Bobbi                   19847    7:20cv85660   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Burns, Benjamin R.              20048    7:20cv86068   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Chafin, Charles D.              20254    7:20cv88003   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Chavez, Rick                    20283    7:20cv88312   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Coons, Sherri L.                20450    7:20cv88665   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Craig, Jack                     20521    7:20cv89249   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Forrester, Randal               21258    7:20cv93326   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Garcia Martinez, Carlos X.      21386    7:20cv93848   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Hage, Damien                    21724    7:20cv94286   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Henson, Leeanna                 21965    7:20cv94097   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Hulett, Ricard A                22194    7:20cv86391   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Hurst, Luke                     22226    7:20cv86448   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
James, Melvin                   22308    7:20cv86874   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Jessie, Jerry J.                22345    7:20cv87333   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Kinder, Andrew                  22598    7:20cv87861   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Maxwell, Michael                23202    7:20cv90012   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Meadows, Cameron P.             23356    7:20cv90359   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Nance, Kendrick                 23707    7:20cv91107   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Perry, Dusty                    24094    7:20cv92209   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Rodgers, Charles K.             24605    7:20cv92133   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Rodriguez, Octavio              24630    7:20cv92188   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Sabey, Scott                    24763    7:20cv92523   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Tucker, Duwayne                 25638    7:20cv94496   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Vogel, Joshuah                  25789    7:20cv95553   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Washington, Gregory L.          25878    7:20cv96442   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Wilbanks, Cletis L.             26042    7:20cv97387   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Galimore, Steven Louis          95438    7:20cv21684   Wagstaff & Cartmell, LLP                     MDL Wave 1
Murphy, Gregory B.              95561    7:20cv22497   Wagstaff & Cartmell, LLP                     MDL Wave 1
Musselman, Barry James          95674    7:20cv22842   Wagstaff & Cartmell, LLP                     MDL Wave 1
Soto, Angel L.                  96376    7:20cv36424   Wagstaff & Cartmell, LLP                     MDL Wave 1
Wathey Colon, Harold A.         96441    7:20cv28637   Wagstaff & Cartmell, LLP                     MDL Wave 1
Wright, Jerome Steven           95488    7:20cv22408   Wagstaff & Cartmell, LLP                     MDL Wave 1
Blackall, Douglas D.            88026    7:20cv19116   Weitz & Luxenberg                            MDL Wave 1
Harrison, Jarrod M.             118685   7:20cv27060   Weitz & Luxenberg                            MDL Wave 1
Pettit, John                    122156   7:20cv29480   Weitz & Luxenberg                            MDL Wave 1
Murtha, Nicholas                147904   8:20cv40685   Allen & Nolte, PLLC                          MDL Wave 2
Lee, Keith                       9664    7:20cv48767   Anapol Weiss                                 MDL Wave 2
Pichon, Chantilla                9333    7:20cv48740   Anapol Weiss                                 MDL Wave 2
Andrick, Michael                60251    7:20cv09521   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Boller, Brandon James           60584    7:20cv09997   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Bussart, Jonathon               60837    7:20cv11456   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Byrd, Charles Grant             60854    7:20cv12573   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Cain, Jason                     97255    7:20cv39045   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Cole, Wayne                     97140    7:20cv38425   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Coleman, Tron Adrewin           61111    7:20cv13554   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Dalton, Gregory Scott           61303    7:20cv14267   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Danila, Heidi                   98703    7:20cv25350   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Davis, Isiaha                   61344    7:20cv14380   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Erickson, Nicholas              61650    7:20cv15564   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Fru, Adey F.                    61855    7:20cv11211   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Gines, Arseneal                 61986    7:20cv11567   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Hughes, Tories S                99376    7:20cv25503   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Hysmith, William T.             62616    7:20cv12171   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Kish, Dustin                    62977    7:20cv14767   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Metzgar, Jeremiah P.            63657    7:20cv20549   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Morrow, Randy J.                63822    7:20cv12426   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Oh, Keith                       64007    7:20cv12716   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                                   Wave List Group
Omard, Noel                     64027    7:20cv12663   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Otero, Ary                      99806    7:20cv00011   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
O'Toole, Rick                   64045    7:20cv12728   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Poe, Edward B.                  64264    7:20cv13018   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Sarkis, John                    14760    7:20cv02015   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Tinkler, James Thomas           65343    7:20cv15232   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Tompkins, Justin Patrick        65360    7:20cv15329   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Watkins, Latresecia J.          65605    7:20cv15663   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Weaver-Regester, Christa S.     65622    7:20cv15741   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Williams, Joseph                65779    7:20cv15866   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Witham, Craig                   65830    7:20cv15955   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Wray, Donna-Lee Mickala         65875    7:20cv15966   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Coffey, Jared                   50139    8:20cv09716   Aylstock, Witkin, Kreis & Overholtz, PLLC; Bohrer    MDL Wave 2
                                                       Brady LLC
Turman, Jesse Bernard            3576    7:20cv42511   Bailey & Glasser                                     MDL Wave 2
Twitty, James Austin             3547    7:20cv42494   Bailey & Glasser                                     MDL Wave 2
Abens, Daniel                   66098    7:20cv52017   Bailey Cowan Heckaman PLLC                           MDL Wave 2
Albertson, Christopher          66107    7:20cv52063   Bailey Cowan Heckaman PLLC                           MDL Wave 2
Boggs, Jeffery                  66151    7:20cv52293   Bailey Cowan Heckaman PLLC                           MDL Wave 2
Julianna Monroe, on behalf of   66192    7:20cv53187   Bailey Cowan Heckaman PLLC                           MDL Wave 2
David Combs, Deceased
Mcduffie, Dexter                66453    7:20cv55789   Bailey Cowan Heckaman PLLC                           MDL Wave 2
Whitaker, Brian                 66721    7:20cv49276   Bailey Cowan Heckaman PLLC                           MDL Wave 2
Brooks, Mitchell B.             67386    8:20cv13376   Bernstein Liebhard LLP                               MDL Wave 2
Chu, Lap Kwan                   67101    8:20cv12973   Bernstein Liebhard LLP                               MDL Wave 2
Goodman, Jesse W.               67348    8:20cv13262   Bernstein Liebhard LLP                               MDL Wave 2
Gray, Tyson C.                  67345    8:20cv13252   Bernstein Liebhard LLP                               MDL Wave 2
Hovanis, Larry G.               67193    8:20cv13263   Bernstein Liebhard LLP                               MDL Wave 2
Kringer, Richard                66838    8:20cv12887   Bernstein Liebhard LLP                               MDL Wave 2
Southern, Christopher A.        67360    8:20cv13305   Bernstein Liebhard LLP                               MDL Wave 2
Walz, Levi E.                   67524    8:20cv13833   Bernstein Liebhard LLP                               MDL Wave 2
Wesley, Brian P.                67679    8:20cv14083   Bernstein Liebhard LLP                               MDL Wave 2
Wilkerson, Derrick              102262   7:20cv46699   Bertram & Graf, L.L.C.                               MDL Wave 2
Fletcher, Adam                   1267    7:20cv41943   Blasingame, Burch, Garrard & Ashley, P.C.            MDL Wave 2
Scott, Cameron                   1154    7:20cv41838   Blasingame, Burch, Garrard & Ashley, P.C.            MDL Wave 2
Tindle, Carl                     1247    7:20cv41808   Blasingame, Burch, Garrard & Ashley, P.C.            MDL Wave 2
Mckenney, Mark                  68647    7:20cv71861   Brent Coon & Associates                              MDL Wave 2
Shannon, John                    8258    8:20cv16720   Cannon Law                                           MDL Wave 2
Bertram, Michael                90561    7:20cv24101   Clark, Love & Hutson PLLC                            MDL Wave 2
Clodfelter, David               90840    7:20cv21149   Clark, Love & Hutson PLLC                            MDL Wave 2
Coe, Tom                        88666    7:20cv19503   Clark, Love & Hutson PLLC                            MDL Wave 2
Dutcher, Derek                  90634    7:20cv20812   Clark, Love & Hutson PLLC                            MDL Wave 2
Herskind, Chris                 89025    7:20cv19955   Clark, Love & Hutson PLLC                            MDL Wave 2
Jennings, David                 89867    7:20cv21801   Clark, Love & Hutson PLLC                            MDL Wave 2
Kiehn, William                  90039    7:20cv22157   Clark, Love & Hutson PLLC                            MDL Wave 2
Price, Adam Ray                 89284    7:20cv20336   Clark, Love & Hutson PLLC                            MDL Wave 2
Sitter, Travis                  89650    7:20cv20709   Clark, Love & Hutson PLLC                            MDL Wave 2
Viruet, Rafael                  90376    7:20cv23276   Clark, Love & Hutson PLLC                            MDL Wave 2
West, Eric L.                   89528    7:20cv20757   Clark, Love & Hutson PLLC                            MDL Wave 2
Woods, Shacourtney              91168    7:20cv21511   Clark, Love & Hutson PLLC                            MDL Wave 2
Wright, Marcus                  89667    7:20cv20763   Clark, Love & Hutson PLLC                            MDL Wave 2
Hagen, Michael                   9974    7:20cv47303   Cory Watson                                          MDL Wave 2
Qasim, Adnan                    10089    7:20cv47360   Cory Watson                                          MDL Wave 2
Valverde, Bryan L.               9913    7:20cv47267   Cory Watson                                          MDL Wave 2
Miller, Carl                    69253    7:20cv82189   Coxwell & Associates PLLC.                           MDL Wave 2
Acosta, Kirk                    69420    8:20cv22041   Danziger & De Llano; Watts Guerra                    MDL Wave 2
Bridges, Michael                70072    8:20cv20942   Danziger & De Llano; Watts Guerra                    MDL Wave 2
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                         Wave List Group
Collins, Byron                  70517    8:20cv22865   Danziger & De Llano; Watts Guerra          MDL Wave 2
Davis, Chris                    70771    8:20cv23189   Danziger & De Llano; Watts Guerra          MDL Wave 2
Dehm, Brett                     70827    8:20cv23272   Danziger & De Llano; Watts Guerra          MDL Wave 2
Forrister, Jonathon             71287    8:20cv24475   Danziger & De Llano; Watts Guerra          MDL Wave 2
Goguen, Paul                    71530    8:20cv25572   Danziger & De Llano; Watts Guerra          MDL Wave 2
Gonzalez, James W.              71546    8:20cv25626   Danziger & De Llano; Watts Guerra          MDL Wave 2
Jones, Chad                     72404    8:20cv22916   Danziger & De Llano; Watts Guerra          MDL Wave 2
Long, Nathan                    72953    8:20cv23989   Danziger & De Llano; Watts Guerra          MDL Wave 2
Michaelis, John                 73416    8:20cv24633   Danziger & De Llano; Watts Guerra          MDL Wave 2
Rocheleau, Gabriel              74481    8:20cv25981   Danziger & De Llano; Watts Guerra          MDL Wave 2
Rodriguez, Cruz                 74494    8:20cv25993   Danziger & De Llano; Watts Guerra          MDL Wave 2
Slosson, Nathanael              74954    8:20cv26242   Danziger & De Llano; Watts Guerra          MDL Wave 2
Smith, Jacob                    74990    8:20cv26304   Danziger & De Llano; Watts Guerra          MDL Wave 2
Waldron, Christopher            75707    8:20cv29635   Danziger & De Llano; Watts Guerra          MDL Wave 2
Wallace, David                  75726    8:20cv29679   Danziger & De Llano; Watts Guerra          MDL Wave 2
Werline, Kevin                  75837    8:20cv30047   Danziger & De Llano; Watts Guerra          MDL Wave 2
Wethington, David               75861    8:20cv32298   Danziger & De Llano; Watts Guerra          MDL Wave 2
Ayala, Jesus                    107419   7:20cv75366   Douglas & London                           MDL Wave 2
Bishop, Bradley                 107758   7:20cv76523   Douglas & London                           MDL Wave 2
Blaylock, Mike                  107803   7:20cv76563   Douglas & London                           MDL Wave 2
Butler, Jeffrey                 108183   7:20cv72507   Douglas & London                           MDL Wave 2
Fortier, David                  109615   7:20cv79655   Douglas & London                           MDL Wave 2
French, Justin                  109676   7:20cv79713   Douglas & London                           MDL Wave 2
Sykes, Lucius                   114694   7:20cv80632   Douglas & London                           MDL Wave 2
Werme, Richard                  115345   7:20cv82025   Douglas & London                           MDL Wave 2
Ernisse, Malcolm                76446    8:20cv14294   FLEMING, NOLEN & JEZ, L.L.P                MDL Wave 2
Gonzalez, Ernesto               76479    8:20cv14416   FLEMING, NOLEN & JEZ, L.L.P                MDL Wave 2
Kilijanczyk, Christopher        76562    8:20cv14785   FLEMING, NOLEN & JEZ, L.L.P                MDL Wave 2
Mortimer, Philip                76640    8:20cv10108   FLEMING, NOLEN & JEZ, L.L.P                MDL Wave 2
Scott, Jeffrey                  76730    8:20cv10321   FLEMING, NOLEN & JEZ, L.L.P                MDL Wave 2
Harrison, Trevor                79575    7:20cv53108   Heninger Garrison Davis, LLC               MDL Wave 2
Hartmetz, Luke                  79578    7:20cv53114   Heninger Garrison Davis, LLC               MDL Wave 2
Hayes, Trent                    79584    7:20cv53125   Heninger Garrison Davis, LLC               MDL Wave 2
Reeves, Justin                  80082    7:20cv53809   Heninger Garrison Davis, LLC               MDL Wave 2
Kufahl, Kenneth                 10433    7:20cv83792   Hensley Legal Group, PC                    MDL Wave 2
Landry, Kevin                   10511    7:20cv83887   Hensley Legal Group, PC                    MDL Wave 2
Williams, Kevin                 10542    7:20cv83932   Hensley Legal Group, PC                    MDL Wave 2
Gibson, John                    80651    7:20cv84346   Holland Law Firm                           MDL Wave 2
Young, Scott                    31435    8:20cv20186   Huber, Slack, Thomas & Marcelle, LLP       MDL Wave 2
Daratany, Kenneth C.            84033    8:20cv35349   Jensen & Associates; Keller Postman        MDL Wave 2
Custis, Andre                   130837   7:20cv53922   Junell & Associates, PLLC                  MDL Wave 2
Muller, Christopher             133543   7:20cv57961   Junell & Associates, PLLC                  MDL Wave 2
Ringle, Tony                    134262   7:20cv62312   Junell & Associates, PLLC                  MDL Wave 2
Cash, Jarrell                    3221    8:20cv33295   Justinian & Associates PLLC                MDL Wave 2
Malzone, William F.             29066    8:20cv33080   Justinian & Associates PLLC                MDL Wave 2
Smith Macomber, Desa A.          3251    8:20cv33348   Justinian & Associates PLLC                MDL Wave 2
Adkins, Greg W.                 43091    7:20cv57886   Keller Postman                             MDL Wave 2
Allen, Tye                      43120    7:20cv57957   Keller Postman                             MDL Wave 2
Bennett, Joseph E.              43324    7:20cv58981   Keller Postman                             MDL Wave 2
Bone, Norman L.                 43419    7:20cv59316   Keller Postman                             MDL Wave 2
Burton, Michael                 43570    7:20cv59090   Keller Postman                             MDL Wave 2
Colon, Manuel A.                43783    7:20cv59652   Keller Postman                             MDL Wave 2
Delrossi, David G.              43981    7:20cv60583   Keller Postman                             MDL Wave 2
Dominguez, Jeremy D.            44028    7:20cv60745   Keller Postman                             MDL Wave 2
Harman, Scott J.                44565    7:20cv61874   Keller Postman                             MDL Wave 2
Hollimon, Stanley E.            44742    7:20cv61832   Keller Postman                             MDL Wave 2
Ivery, William J.               44835    7:20cv62128   Keller Postman                             MDL Wave 2
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                         Wave List Group
Jensen, Preston J.              44877    7:20cv62192   Keller Postman                             MDL Wave 2
Johnson, Daniel                 44914    3:20cv02545   Keller Postman                             MDL Wave 2
Leslie, William R.              45163    7:20cv63698   Keller Postman                             MDL Wave 2
Lopez, Carlos R.                45218    7:20cv63756   Keller Postman                             MDL Wave 2
Miles, Adrian S.                45474    7:20cv64545   Keller Postman                             MDL Wave 2
Ochoa, Michael A.               45724    7:20cv64627   Keller Postman                             MDL Wave 2
Patton, James R.                45809    7:20cv64820   Keller Postman                             MDL Wave 2
Shaddon, Timothy                46305    7:20cv70531   Keller Postman                             MDL Wave 2
Switzer, Dennis R.              46562    7:20cv74936   Keller Postman                             MDL Wave 2
Walton, Bert A.                 46829    7:20cv75971   Keller Postman                             MDL Wave 2
Wells, Jeremy S.                46886    7:20cv76021   Keller Postman                             MDL Wave 2
Abney, Chris                    50889    7:20cv65972   Kirkendall Dwyer LLP                       MDL Wave 2
Jurney, William                 146157   7:20cv88959   LANGSTON & LOTT, PLLC                      MDL Wave 2
Allen, Carlton                   9097    7:20cv48534   Law Offices of Peter G. Angelos, P.C.      MDL Wave 2
Hunter, Antoine                  8910    7:20cv48036   Law Offices of Peter G. Angelos, P.C.      MDL Wave 2
Kilheffer, Brian                 8951    7:20cv48210   Law Offices of Peter G. Angelos, P.C.      MDL Wave 2
Strickler, Steven                8692    7:20cv48301   Law Offices of Peter G. Angelos, P.C.      MDL Wave 2
Welch, Jason                     8757    7:20cv47530   Law Offices of Peter G. Angelos, P.C.      MDL Wave 2
Whightsil, Jeremy                8759    7:20cv47537   Law Offices of Peter G. Angelos, P.C.      MDL Wave 2
Johnson, Aaron                  10996    7:20cv00360   Levin Papantonio Rafferty                  MDL Wave 2
Johnson-Evans, Charlesree       11310    7:20cv00658   Levin Papantonio Rafferty                  MDL Wave 2
Woody, Joseph E.                11440    7:20cv00796   Levin Papantonio Rafferty                  MDL Wave 2
Hart, Lamonica S.               77461    7:20cv50753   Lieff Cabraser Heimann & Bernstein, LLP    MDL Wave 2
Wagner, Michael                 77378    7:20cv50288   Lieff Cabraser Heimann & Bernstein, LLP    MDL Wave 2
Zobayan, Berge                  77535    7:20cv48998   Lieff Cabraser Heimann & Bernstein, LLP    MDL Wave 2
Moore, Erik                     102448   8:20cv17708   Lockridge Grindal Nauen                    MDL Wave 2
Weland, Christopher             103485   8:20cv14867   Matthews & Associates                      MDL Wave 2
Jones, Jonathan Wayne           13026    7:20cv63529   McSweeney/Langevin LLC                     MDL Wave 2
Mora, Marco                     85818    7:20cv44771   Monsour Law Firm                           MDL Wave 2
Schlabach, Benjamin              5341    8:20cv21232   Morgan & Morgan                            MDL Wave 2
Warensford, Robert               5367    8:20cv21255   Morgan & Morgan                            MDL Wave 2
Arias, Jose                     51838    7:20cv86510   Mostyn Law                                 MDL Wave 2
Brown, Eric                     51605    7:20cv95673   Mostyn Law                                 MDL Wave 2
Canales, Juan                   51805    7:20cv86447   Mostyn Law                                 MDL Wave 2
Drakeford, Sean                 52109    7:20cv86776   Mostyn Law                                 MDL Wave 2
Dudo, Justin                    52074    7:20cv86649   Mostyn Law                                 MDL Wave 2
Edehia, Adetutu                 51792    7:20cv86421   Mostyn Law                                 MDL Wave 2
Elmore, Latron                  167926   8:20cv03745   Mostyn Law                                 MDL Wave 2
Francis, Ronald                 167957   8:20cv00022   Mostyn Law                                 MDL Wave 2
Hernandez, Geraldine            52129    7:20cv86844   Mostyn Law                                 MDL Wave 2
Jenkins, Kwasi                  51714    7:20cv96197   Mostyn Law                                 MDL Wave 2
Kimes, Casey                    52252    7:20cv87148   Mostyn Law                                 MDL Wave 2
Martinez, Pete                  168153   8:20cv01091   Mostyn Law                                 MDL Wave 2
Monroe, Michael                 51893    7:20cv86646   Mostyn Law                                 MDL Wave 2
Ramsey Williams, Taneisha       51999    7:20cv86484   Mostyn Law                                 MDL Wave 2
Rodriguez, Enoc                 52200    7:20cv87048   Mostyn Law                                 MDL Wave 2
Salgado, Jorge                  51530    7:20cv95304   Mostyn Law                                 MDL Wave 2
Short, Mark                     51872    7:20cv86577   Mostyn Law                                 MDL Wave 2
Silvabarros, Keli               51798    7:20cv86433   Mostyn Law                                 MDL Wave 2
Wooten, Felix                   51639    7:20cv95856   Mostyn Law                                 MDL Wave 2
Berckefeldt, Robert Martin      17757    7:20cv82557   Murphy Law Firm                            MDL Wave 2
Briggs, Jeremy Michael          17861    7:20cv82659   Murphy Law Firm                            MDL Wave 2
Brown, Jared                    17888    7:20cv82899   Murphy Law Firm                            MDL Wave 2
Butler, Gary Allen              18175    7:20cv83084   Murphy Law Firm                            MDL Wave 2
Carpenter, Timothy Michael      17417    7:20cv82276   Murphy Law Firm                            MDL Wave 2
Davies, Bertram Kent Barkley    18237    7:20cv83136   Murphy Law Firm                            MDL Wave 2
Foley, David                    17783    7:20cv82572   Murphy Law Firm                            MDL Wave 2
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                         Wave List Group
Gielenz, Forrest Josef          18014    7:20cv82960   Murphy Law Firm                            MDL Wave 2
Richmond, Ryan Alexander        17771    7:20cv99381   Murphy Law Firm                            MDL Wave 2
Wesling, Glenn Allen            17240    7:20cv99283   Murphy Law Firm                            MDL Wave 2
Wilson, Teresa Ann              17738    7:20cv99359   Murphy Law Firm                            MDL Wave 2
Byers, Joseph                   29422    8:20cv05837   Napoli Shkolnik PLLC                       MDL Wave 2
Cookson, Damien                 29786    7:20cv42312   OnderLaw, LLC                              MDL Wave 2
Mora, Frank                     30511    7:20cv92872   OnderLaw, LLC                              MDL Wave 2
Peckham, Stacey                 30618    8:20cv33563   OnderLaw, LLC                              MDL Wave 2
Rodriguez, Jose                 30743    8:20cv33158   OnderLaw, LLC                              MDL Wave 2
Salamanca, Daniel               30783    8:20cv33191   OnderLaw, LLC                              MDL Wave 2
Slagel, Christopher             30852    8:20cv33227   OnderLaw, LLC                              MDL Wave 2
Stegall, Daryl                  30901    7:20cv93097   OnderLaw, LLC                              MDL Wave 2
Bivens, Derek                   103759   7:20cv68681   Parker Waichman LLP                        MDL Wave 2
Brady, Aaron Benjamin           103832   7:20cv68945   Parker Waichman LLP                        MDL Wave 2
Crisler, Joseph                 104127   7:20cv68260   Parker Waichman LLP                        MDL Wave 2
Fender, Casey Colton            104380   7:20cv69895   Parker Waichman LLP                        MDL Wave 2
Garcia, Elmer Salvador          104487   7:20cv71837   Parker Waichman LLP                        MDL Wave 2
Gauniel, Luther                 104515   7:20cv71925   Parker Waichman LLP                        MDL Wave 2
Grant, Philip Byron             104600   7:20cv72400   Parker Waichman LLP                        MDL Wave 2
Harrell, Theodore Lee           104693   7:20cv74502   Parker Waichman LLP                        MDL Wave 2
Houck, Jeremy Doug              104815   7:20cv75215   Parker Waichman LLP                        MDL Wave 2
Hulse, Timothy James            104838   7:20cv75369   Parker Waichman LLP                        MDL Wave 2
Mcdonald, Daniel Eugene         105271   7:20cv70407   Parker Waichman LLP                        MDL Wave 2
Medina, Nestor Luis             105296   7:20cv70456   Parker Waichman LLP                        MDL Wave 2
Miller, Billy Joe               105345   7:20cv70552   Parker Waichman LLP                        MDL Wave 2
Montoya, Stephen Joshua         105378   7:20cv70695   Parker Waichman LLP                        MDL Wave 2
O'Donnell, Cory Patrick         105508   7:20cv70927   Parker Waichman LLP                        MDL Wave 2
Pack, Mark William              105542   7:20cv70975   Parker Waichman LLP                        MDL Wave 2
Salemme, Thomas Richard         105861   7:20cv71436   Parker Waichman LLP                        MDL Wave 2
Wright, Robby M.                106469   7:20cv74136   Parker Waichman LLP                        MDL Wave 2
Doran, Jonathan                 144429   7:20cv97478   Paul LLP                                   MDL Wave 2
Mora, Bradley Joseph            94583    3:19cv01117   Paul LLP                                   MDL Wave 2
Swindle, Robert Mason           94659    3:19cv04572   Paul LLP                                   MDL Wave 2
Teniente, Felipe Martinez       29257    8:20cv21498   Phipps Deacon Purnell PLLC                 MDL Wave 2
Ihde, Michael D.                 8325    8:20cv16913   Porter & Malouf, P.A.                      MDL Wave 2
Brown, Lawrence                 28428    7:20cv04026   Pulaski Law Firm, PLLC                     MDL Wave 2
Colegrove, Christopher          28990    7:20cv06486   Pulaski Law Firm, PLLC                     MDL Wave 2
Conyers, Sean                   15318    7:20cv02442   Pulaski Law Firm, PLLC                     MDL Wave 2
Didomenico, Joseph              29025    7:20cv06681   Pulaski Law Firm, PLLC                     MDL Wave 2
Edling, Danny                   26969    7:20cv48126   Pulaski Law Firm, PLLC                     MDL Wave 2
Gilley, Henry                   28500    7:20cv04178   Pulaski Law Firm, PLLC                     MDL Wave 2
Kiesel, Brian                   15107    7:20cv02166   Pulaski Law Firm, PLLC                     MDL Wave 2
Kohlenberg, Brett               18801    7:20cv04546   Pulaski Law Firm, PLLC                     MDL Wave 2
Lopez, Wilson                   15605    7:20cv02604   Pulaski Law Firm, PLLC                     MDL Wave 2
Lousignont, Anthony             26648    7:20cv18717   Pulaski Law Firm, PLLC                     MDL Wave 2
Mcdonald, Keith                 15192    7:20cv02256   Pulaski Law Firm, PLLC                     MDL Wave 2
Mcgreevy, Thomas                27884    7:20cv03449   Pulaski Law Firm, PLLC                     MDL Wave 2
Michael, Bryan                  28201    7:20cv03802   Pulaski Law Firm, PLLC                     MDL Wave 2
Moore, Lakashka                 28426    7:20cv04022   Pulaski Law Firm, PLLC                     MDL Wave 2
Navarro, Rene                   28422    7:20cv04016   Pulaski Law Firm, PLLC                     MDL Wave 2
Sheridan, Christopher           15783    7:20cv02822   Pulaski Law Firm, PLLC                     MDL Wave 2
Silva, Johnny                   26896    7:20cv29289   Pulaski Law Firm, PLLC                     MDL Wave 2
Suhling, Nicholas               18724    7:20cv04461   Pulaski Law Firm, PLLC                     MDL Wave 2
Turner, Harris                  26429    7:20cv15101   Pulaski Law Firm, PLLC                     MDL Wave 2
Blachly, Bruce                   5573    7:20cv00723   Reich and Binstock, LLP                    MDL Wave 2
Altman, Derek                   92025    7:20cv55475   Robinson Calcagnie, Inc.                   MDL Wave 2
Cook, Cedric                    92337    7:20cv56324   Robinson Calcagnie, Inc.                   MDL Wave 2
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Exhibit 1 to Waves Settlement

Plaintiff Name                   PID       Case No.    Plaintiff Counsel                            Wave List Group
Gardner, Gregory                92555    7:20cv56672   Robinson Calcagnie, Inc.                      MDL Wave 2
Hardin, Dylan                   92670    7:20cv57137   Robinson Calcagnie, Inc.                      MDL Wave 2
Neidlinger, Alex                93056    7:20cv50812   Robinson Calcagnie, Inc.                      MDL Wave 2
Pinedo, Jessie                  93121    7:20cv50131   Robinson Calcagnie, Inc.                      MDL Wave 2
Theobald, Ryan                  127511   7:20cv51687   Robinson Calcagnie, Inc.                      MDL Wave 2
Davis, Kurtis                   93807    7:20cv72893   Rogers, Patrick, Westbrook & Brickman, LLC    MDL Wave 2
Hugo, Garrett A.                93944    7:20cv73500   Rogers, Patrick, Westbrook & Brickman, LLC    MDL Wave 2
Sandoval, John B.               94197    7:20cv75595   Rogers, Patrick, Westbrook & Brickman, LLC    MDL Wave 2
Anderson, Neil                  83198    7:20cv18788   Seeger Weiss LLP                              MDL Wave 2
Crisp, Kameereo                 82850    7:20cv17445   Seeger Weiss LLP                              MDL Wave 2
Duncan, Ruperto                 83414    7:20cv19173   Seeger Weiss LLP                              MDL Wave 2
Fenderson, Erick                82352    7:20cv16846   Seeger Weiss LLP                              MDL Wave 2
Galemore, Ross                  83408    7:20cv19147   Seeger Weiss LLP                              MDL Wave 2
Gardner, Jedidiah               82590    7:20cv18167   Seeger Weiss LLP                              MDL Wave 2
Gorman, Kody                    82917    7:20cv17486   Seeger Weiss LLP                              MDL Wave 2
Hemple, Samuel                  83454    7:20cv19156   Seeger Weiss LLP                              MDL Wave 2
Juarez, Jimmie                  82661    7:20cv18332   Seeger Weiss LLP                              MDL Wave 2
Lotz, Matthew                   83078    7:20cv18036   Seeger Weiss LLP                              MDL Wave 2
Maddox, Shane                   83482    7:20cv19249   Seeger Weiss LLP                              MDL Wave 2
Mendoza, Abram                  81609    7:20cv16089   Seeger Weiss LLP                              MDL Wave 2
Miller, Marshall                83051    7:20cv17979   Seeger Weiss LLP                              MDL Wave 2
Moore, Eric                     82340    7:20cv16672   Seeger Weiss LLP                              MDL Wave 2
O'Bey, Christopher              82019    7:20cv16387   Seeger Weiss LLP                              MDL Wave 2
Proctor, Paul                   83247    7:20cv18887   Seeger Weiss LLP                              MDL Wave 2
Rinehart, Robert                83365    7:20cv19000   Seeger Weiss LLP                              MDL Wave 2
Robertson, Jeremiah             82625    7:20cv18138   Seeger Weiss LLP                              MDL Wave 2
Simon, Joseph                   82785    7:20cv17318   Seeger Weiss LLP                              MDL Wave 2
Williams, Shane                 83484    7:20cv19257   Seeger Weiss LLP                              MDL Wave 2
Boudreaux, Al                   83972    8:20cv34041   Shlosman Law Firm                             MDL Wave 2
Perez, Holvin                   84008    8:20cv34090   Shlosman Law Firm                             MDL Wave 2
Chappell, Russell               18530    7:20cv50146   Simmons Hanly Conroy                          MDL Wave 2
Franklin, Eddie                 16105    7:20cv66635   Simmons Hanly Conroy                          MDL Wave 2
Gordon, Jameel                  18598    3:21cv01808   Simmons Hanly Conroy                          MDL Wave 2
Hammer, Eric                    18652    7:20cv51963   Simmons Hanly Conroy                          MDL Wave 2
Postell, Kelly                  18674    7:20cv52092   Simmons Hanly Conroy                          MDL Wave 2
Ruiz, Elvin Ramos               16293    7:20cv49551   Simmons Hanly Conroy                          MDL Wave 2
Wach, Christopher               18585    7:20cv51667   Simmons Hanly Conroy                          MDL Wave 2
Mason, Wendy                    83807    7:20cv17702   Slocumb Law                                   MDL Wave 2
Lloyd, Lashana Sherre           127787   8:20cv18380   Smith, Gildea & Schmidt, LLC                  MDL Wave 2
Hume, Christopher                7103    7:20cv46251   Stueve Siegel Hanson                          MDL Wave 2
Jackson, Josh                    7129    7:20cv46364   Stueve Siegel Hanson                          MDL Wave 2
Lucas, Paul                      7346    7:20cv46818   Stueve Siegel Hanson                          MDL Wave 2
Nunes, Clair Andrea              6594    7:20cv44032   Stueve Siegel Hanson                          MDL Wave 2
Rodriguez, Caesar                7758    7:20cv47511   Stueve Siegel Hanson                          MDL Wave 2
Simms, Lamae                     7866    7:20cv47780   Stueve Siegel Hanson                          MDL Wave 2
Heise, Eric                     53516    8:20cv04424   Sullivan & Brill, LLP                         MDL Wave 2
Schneidermann, Jeffrey          53623    7:20cv88249   Summers & Johnson, P.C.                       MDL Wave 2
Howard, William                 77122    7:20cv69878   The Carlson Law Firm                          MDL Wave 2
Zeiler, George                  29230    7:20cv47532   The Carlson Law Firm                          MDL Wave 2
Barnes, Robert W.               58209    7:20cv09926   The Gori Law Firm, P.C.                       MDL Wave 2
Boulware, Heather               47638    7:20cv08068   The Gori Law Firm, P.C.                       MDL Wave 2
Brown, Walter                   55397    7:20cv06026   The Gori Law Firm, P.C.                       MDL Wave 2
Budd, Michael                   47671    7:20cv08114   The Gori Law Firm, P.C.                       MDL Wave 2
Cing, Gregory Vincent Cabrera   47710    7:20cv76220   The Gori Law Firm, P.C.                       MDL Wave 2

Ellis, Christopher D.           56820    7:20cv07894   The Gori Law Firm, P.C.                       MDL Wave 2
Elman, Bryan                    59084    7:20cv14154   The Gori Law Firm, P.C.                       MDL Wave 2
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Exhibit 1 to Waves Settlement

Plaintiff Name                   PID      Case No.    Plaintiff Counsel                          Wave List Group
Harris, Daniel                  58908   7:20cv11473   The Gori Law Firm, P.C.                     MDL Wave 2
Hayes, Christopher              59422   7:20cv08848   The Gori Law Firm, P.C.                     MDL Wave 2
Hillsman, Desmond               58859   7:20cv11316   The Gori Law Firm, P.C.                     MDL Wave 2
Leeseberg, Eric                 48007   8:20cv26916   The Gori Law Firm, P.C.                     MDL Wave 2
Lewis, Thomas                   57621   7:20cv10872   The Gori Law Firm, P.C.                     MDL Wave 2
Mattek, Eric                    57619   7:20cv10865   The Gori Law Firm, P.C.                     MDL Wave 2
Maylor, Timothy                 58921   7:20cv11507   The Gori Law Firm, P.C.                     MDL Wave 2
Montano, Raul                   57421   7:20cv10675   The Gori Law Firm, P.C.                     MDL Wave 2
Oliver, Cedric                  56948   7:20cv08724   The Gori Law Firm, P.C.                     MDL Wave 2
Pellegrino, Michael             56224   7:20cv07338   The Gori Law Firm, P.C.                     MDL Wave 2
Rupert, Travis M.               57869   7:20cv11119   The Gori Law Firm, P.C.                     MDL Wave 2
Santana, Michael                58539   7:20cv12953   The Gori Law Firm, P.C.                     MDL Wave 2
Schreckengost, Joshua G.        59474   7:20cv08935   The Gori Law Firm, P.C.                     MDL Wave 2
Scott, Reginald G.              56480   7:20cv07543   The Gori Law Firm, P.C.                     MDL Wave 2
Sherer, Michael J.              58102   7:20cv09914   The Gori Law Firm, P.C.                     MDL Wave 2
Shiko, Don L.                   48303   7:20cv04280   The Gori Law Firm, P.C.                     MDL Wave 2
Stanley, Eshay                  48329   7:20cv04318   The Gori Law Firm, P.C.                     MDL Wave 2
Tarbush, William J.             57663   7:20cv10893   The Gori Law Firm, P.C.                     MDL Wave 2
Lyon, Jeremy                    14940   7:20cv94408   The Kuykendall Group LLc                    MDL Wave 2
Christiansen, Corey             48784   7:20cv04719   The Lanier Law Firm                         MDL Wave 2
Majewski, Ryan                  48868   7:20cv04571   The Lanier Law Firm                         MDL Wave 2
Travis, Crystal                 48588   7:20cv44360   The Moody Law Firm                          MDL Wave 2
Johnson, Faron                  14434   8:20cv18624   The Simon Law Firm, P.C.                    MDL Wave 2
Kinley, Jeffery                 14399   8:20cv18527   The Simon Law Firm, P.C.                    MDL Wave 2
Rebo, Jacob                     14501   8:20cv19126   The Simon Law Firm, P.C.                    MDL Wave 2
Baez, Ralph                     19449   7:20cv84061   Tracey & Fox Law Firm                       MDL Wave 2
Barnes, Andre                   19524   7:20cv84294   Tracey & Fox Law Firm                       MDL Wave 2
Bolton, Steven                  19762   7:20cv85369   Tracey & Fox Law Firm                       MDL Wave 2
Cavaliere, Michael P.           20240   7:20cv14897   Tracey & Fox Law Firm                       MDL Wave 2
Cyr, Jason                      20612   7:20cv89493   Tracey & Fox Law Firm                       MDL Wave 2
Harrison, Jonathan M.           21856   7:20cv93924   Tracey & Fox Law Firm                       MDL Wave 2
Holliday, David                 22087   7:20cv86190   Tracey & Fox Law Firm                       MDL Wave 2
Johnson, Jeremiah               22376   7:20cv87386   Tracey & Fox Law Firm                       MDL Wave 2
Lefrancois, James               22837   7:20cv89253   Tracey & Fox Law Firm                       MDL Wave 2
Morgan, Nicholas                23592   7:20cv90887   Tracey & Fox Law Firm                       MDL Wave 2
Posch, Stephen J.               24229   7:20cv90510   Tracey & Fox Law Firm                       MDL Wave 2
Presley, Jeremy S.              24265   7:20cv90588   Tracey & Fox Law Firm                       MDL Wave 2
Redmann, Bryan                  24394   7:20cv91473   Tracey & Fox Law Firm                       MDL Wave 2
Rocha, Jose                     24598   7:20cv92118   Tracey & Fox Law Firm                       MDL Wave 2
Shackelford, Steven T.          24961   7:20cv93751   Tracey & Fox Law Firm                       MDL Wave 2
Todd, Terrence                  25560   7:20cv94327   Tracey & Fox Law Firm                       MDL Wave 2
Walker, Daniel                  25817   7:20cv95686   Tracey & Fox Law Firm                       MDL Wave 2
Watson, Brandon                 25900   7:20cv96477   Tracey & Fox Law Firm                       MDL Wave 2
Whear, Keith                    25988   7:20cv96772   Tracey & Fox Law Firm                       MDL Wave 2
Wilson, Andrew                  26134   7:20cv97808   Tracey & Fox Law Firm                       MDL Wave 2
Wood, Michael                   26186   7:20cv98095   Tracey & Fox Law Firm                       MDL Wave 2
Dempsey, Patrick Christopher    49288   8:20cv12587   Wagstaff & Cartmell, LLP                    MDL Wave 2
East, Christopher Charles       95400   7:20cv21686   Wagstaff & Cartmell, LLP                    MDL Wave 2
Isom, Tabatha Beth              95351   7:20cv21696   Wagstaff & Cartmell, LLP                    MDL Wave 2
Johnson, Brett Andrew           95750   3:22cv00821   Wagstaff & Cartmell, LLP                    MDL Wave 2
Sipple, Robert Brandon          96147   7:20cv36007   Wagstaff & Cartmell, LLP                    MDL Wave 2
Reynolds, Denis J.               5027   7:20cv88121   Waters Kraus                                MDL Wave 2
Abel, James                      4084   7:20cv43176   Weller, Green, Toups & Terrell, LLP         MDL Wave 2
Chenault, David                  4180   7:20cv43099   Weller, Green, Toups & Terrell, LLP         MDL Wave 2
Hamilton, David Lee              4291   7:20cv43414   Weller, Green, Toups & Terrell, LLP         MDL Wave 2
Pilling, Arthur                  4513   7:20cv43489   Weller, Green, Toups & Terrell, LLP         MDL Wave 2
Quigg, Joshua D                  4525   7:20cv43505   Weller, Green, Toups & Terrell, LLP         MDL Wave 2
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                                    Wave List Group
Thomas, Dawn                     4658    7:20cv43558   Weller, Green, Toups & Terrell, LLP                   MDL Wave 2
Brennan, Andrew Joseph          116434   8:20cv30556   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz     MDL Wave 3
Carnahan, Christopher Todd      116850   8:20cv31204   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz     MDL Wave 3
Mcnickles, Shantique Frank      116582   8:20cv30733   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz     MDL Wave 3
Schultz, Eric Michael           116972   8:20cv31098   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz     MDL Wave 3
Strecker, Brian Alan            116380   8:20cv30452   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz     MDL Wave 3
Roberts, Blake                  66068    8:20cv21956   Allen & Nolte, PLLC                                   MDL Wave 3
Baez, Christopher               279045   7:21cv00709   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Bailey, Brett James             60346    7:20cv09637   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Beddingfield, Howard            256962   9:20cv00590   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Cupitt, Jeffrey Lee             227023   8:20cv77603   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Davis, Charles                  226255   8:20cv76440   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Dumont Vega, Angel Luis         61530    3:19cv03179   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
England, Cameron                272264   9:20cv15371   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Fahie, Jacqueline               259267   9:20cv04973   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Farkas, James                   281600   7:21cv03280   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Gembala, Patrick J.             196708   8:20cv42601   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Gordon, Katrina                 227716   8:20cv79238   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Gutting, Darrick                190236   8:20cv31578   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Hyder, Nicholas                 62615    7:20cv12168   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Jackson, Keith                  281743   7:21cv03614   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Jarman, Wade                    278925   7:21cv00558   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Jimenez Reveron, Yaritza        190459   8:20cv33823   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Yvette
Johnson, Devar                  227802   8:20cv79790   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Johnson, Lee                    246503   8:20cv98975   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Johnson, Wayne                  226352   8:20cv76612   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Lee, Bryan Stephen              278255   3:21cv01042   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Lemons, Antonio                 281186   7:21cv04532   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Matias, Carlos                  271645   9:20cv14303   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Mccall, Tara                    284698   7:21cv08517   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Mcphearson, Adam                279043   7:21cv00707   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Monn, Daryl                     63754    7:20cv22378   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Murders, Billy                  228027   8:20cv80962   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Nelson, John                    63924    7:20cv12468   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Peloquin, Dean                  226868   8:20cv77434   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Perez, Jonathan                 259559   9:20cv05268   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Price, John C.                  225972   8:20cv75678   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Rozsi, Phillip                  227571   3:21cv01842   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Schwarz, Brian                  281357   7:21cv04703   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Seymour, Ricky                  272588   9:20cv16238   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Shaner, Nicholas                257296   9:20cv01181   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Shy, Albert Joshua              196082   8:20cv41434   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Singleton, Aaron David          64924    7:20cv14259   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Skurka, Daniel                  237770   8:20cv97852   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Storm, Dustin M.                65152    7:20cv15336   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Thompson, Junius Broden         189499   8:20cv24275   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Vath, Troy                      164376   7:20cv36903   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Velazquez, Joaquin Armando      226984   8:20cv77565   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Vendl, Richard                  65493    3:19cv02793   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Williamson, Cheryl              271062   9:20cv14044   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Wormley, Alexis D.              226538   8:20cv76798   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Dukes, Ernest                   69129    7:20cv81471   Aylstock, Witkin, Kreis & Overholtz, PLLC; Coxwell    MDL Wave 3
                                                       & Associates PLLC.
Ferris, Joshua                  69147    7:20cv81543   Aylstock, Witkin, Kreis & Overholtz, PLLC; Coxwell    MDL Wave 3
                                                       & Associates PLLC.
Kimmel, Dwayne                  66384    7:20cv55559   Bailey Cowan Heckaman PLLC                            MDL Wave 3
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Plaintiff Name                    PID       Case No.    Plaintiff Counsel                             Wave List Group
Pearson-Murray, Corean           66524    7:20cv56069   Bailey Cowan Heckaman PLLC                     MDL Wave 3
Bayless, John                    117049   7:20cv86879   Baron & Budd                                   MDL Wave 3
Becerra, Alfonso                 117054   7:20cv86899   Baron & Budd                                   MDL Wave 3
Grano, Joseph Paul               117448   7:20cv96853   Baron & Budd                                   MDL Wave 3
Leon, Lorenzo                    117687   7:20cv98040   Baron & Budd                                   MDL Wave 3
Powell, Brian                    117989   8:20cv00561   Baron & Budd                                   MDL Wave 3
Rhodes, Troy E.                  67830    8:20cv15381   Bernstein Liebhard LLP                         MDL Wave 3
Oliver, Jamie                    16415    8:20cv05704   Bryant Law Center                              MDL Wave 3
Parra, Omar                      133798   7:20cv59602   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 3
Mowery, Kevin Michael            176341   7:20cv80641   Charles E. Boyk Law Offices, LLC               MDL Wave 3
Bilbo, Jimmy                     330213   7:21cv47132   Clark, Love & Hutson PLLC                      MDL Wave 3
Carl, Steven                     90178    7:20cv22507   Clark, Love & Hutson PLLC                      MDL Wave 3
Dodrill, Jesse                   213623   8:20cv66120   Clark, Love & Hutson PLLC                      MDL Wave 3
Duncan, Taylor                   89614    7:20cv20614   Clark, Love & Hutson PLLC                      MDL Wave 3
Griswell, Chiquita N.            90157    7:20cv22446   Clark, Love & Hutson PLLC                      MDL Wave 3
Hankins, Christopher A.          90881    7:20cv21151   Clark, Love & Hutson PLLC                      MDL Wave 3
Henneman, Clyde                  213733   8:20cv67398   Clark, Love & Hutson PLLC                      MDL Wave 3
Hinnen, Brian                    42991    3:19cv00797   Clark, Love & Hutson PLLC                      MDL Wave 3
Kaiser, Byron                    252436   9:20cv12198   Clark, Love & Hutson PLLC                      MDL Wave 3
Mason, Christopher               88732    7:20cv19491   Clark, Love & Hutson PLLC                      MDL Wave 3
Molik, Peter                     213890   8:20cv67784   Clark, Love & Hutson PLLC                      MDL Wave 3
Monari, Louis                    90602    7:20cv20735   Clark, Love & Hutson PLLC                      MDL Wave 3
Palmentera, Tyler                195056   8:20cv39497   Clark, Love & Hutson PLLC                      MDL Wave 3
Petersen, Alicia                 264955   9:20cv09357   Clark, Love & Hutson PLLC                      MDL Wave 3
Reyes, Juan                      265005   9:20cv09407   Clark, Love & Hutson PLLC                      MDL Wave 3
Robson, Jake                     213981   8:20cv68408   Clark, Love & Hutson PLLC                      MDL Wave 3
Schelte, Jason                   265071   9:20cv09528   Clark, Love & Hutson PLLC                      MDL Wave 3
Slocum, Lee                      42958    7:20cv06999   Clark, Love & Hutson PLLC                      MDL Wave 3
Stockley, Jason                  90056    7:20cv22182   Clark, Love & Hutson PLLC                      MDL Wave 3
Ohare, Daniel Ryan               176078   7:20cv41188   Colson Hicks Eidson                            MDL Wave 3
Mcfee, Jacob                      9914    7:20cv47277   Cory Watson                                    MDL Wave 3
Ofarrell, William                73818    8:20cv25438   Danziger & De Llano; Watts Guerra              MDL Wave 3
Perrine, Daniel                  74043    8:20cv25876   Danziger & De Llano; Watts Guerra              MDL Wave 3
Glavach, Christopher             76217    8:20cv34007   DeGaris Wright McCall                          MDL Wave 3
Jackson, Cassandra               76232    8:20cv34040   DeGaris Wright McCall                          MDL Wave 3
Bailey, Joshua                   107459   7:20cv75557   Douglas & London                               MDL Wave 3
Brown, Peter                     108059   7:20cv72746   Douglas & London                               MDL Wave 3
Burton, Noah                     108160   7:20cv72428   Douglas & London                               MDL Wave 3
Chabanik, Richard                108389   7:20cv73149   Douglas & London                               MDL Wave 3
Cheatham, Ericka L.              108439   7:20cv73354   Douglas & London                               MDL Wave 3
Clement, Brandon                 108515   7:20cv73640   Douglas & London                               MDL Wave 3
Crittenden, Robert               108780   3:19cv03249   Douglas & London                               MDL Wave 3
Cunningham, Logan                108836   7:20cv73624   Douglas & London                               MDL Wave 3
Dachoute, Pierre                 108862   7:20cv73689   Douglas & London                               MDL Wave 3
Decoria, Kevin                   108999   7:20cv76934   Douglas & London                               MDL Wave 3
Delpino, Anthony                 109033   7:20cv77030   Douglas & London                               MDL Wave 3
Downey, Eric                     109200   7:20cv77383   Douglas & London                               MDL Wave 3
Eagan, Michael                   109295   7:20cv77470   Douglas & London                               MDL Wave 3
Earnhardt, Scott                 109301   7:20cv77476   Douglas & London                               MDL Wave 3
Finch, Stephen                   109537   7:20cv79579   Douglas & London                               MDL Wave 3
Flora, Ryan                      109580   7:20cv79621   Douglas & London                               MDL Wave 3
Fout, Luke                       109631   7:20cv79670   Douglas & London                               MDL Wave 3
Giroux, Raymond                  109895   7:20cv79919   Douglas & London                               MDL Wave 3
Goodnough, Neal                  109989   7:20cv73848   Douglas & London                               MDL Wave 3
Gray, Bryan                      110052   7:20cv73967   Douglas & London                               MDL Wave 3
Greer, Chris                     110082   7:20cv73999   Douglas & London                               MDL Wave 3
Gwaltney, Joshua                 110177   7:20cv74086   Douglas & London                               MDL Wave 3
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                                Wave List Group
Hammock, Donald                 110239   7:20cv74229   Douglas & London                                  MDL Wave 3
Handwerker, Henry               110254   7:20cv74256   Douglas & London                                  MDL Wave 3
Henry, Michael                  110467   7:20cv74749   Douglas & London                                  MDL Wave 3
Hickson, Josh                   110534   7:20cv74777   Douglas & London                                  MDL Wave 3
Hillenburg, Gregory             110565   7:20cv74860   Douglas & London                                  MDL Wave 3
Hillyer, William                110569   7:20cv74875   Douglas & London                                  MDL Wave 3
Hooper, Justin                  110663   7:20cv75339   Douglas & London                                  MDL Wave 3
Isham, David                    110836   7:20cv75085   Douglas & London                                  MDL Wave 3
Johnson, Tavonte                111000   7:20cv75830   Douglas & London                                  MDL Wave 3
Joyner, William                 111084   7:20cv76378   Douglas & London                                  MDL Wave 3
Kellum, Benjamin                111151   7:20cv76599   Douglas & London                                  MDL Wave 3
Kline, Randy                    111263   7:20cv77853   Douglas & London                                  MDL Wave 3
Lawson, David                   111492   7:20cv78928   Douglas & London                                  MDL Wave 3
Lehr, Bradley                   111543   7:20cv79212   Douglas & London                                  MDL Wave 3
Levi, Joseph                    111577   7:20cv80426   Douglas & London                                  MDL Wave 3
Loredo, Edward                  111702   7:20cv81176   Douglas & London                                  MDL Wave 3
Mason, Brandon                  111965   7:20cv84312   Douglas & London                                  MDL Wave 3
Miron, Joseph                   112402   7:20cv77763   Douglas & London                                  MDL Wave 3
Mobley, Terry                   112427   7:20cv77809   Douglas & London                                  MDL Wave 3
Moore, Melvin                   112486   7:20cv77958   Douglas & London                                  MDL Wave 3
Munro, Alexander                112624   7:20cv78404   Douglas & London                                  MDL Wave 3
Nelson, Zacharie                112707   7:20cv78255   Douglas & London                                  MDL Wave 3
Parker, Jeramie                 113002   7:20cv78911   Douglas & London                                  MDL Wave 3
Pizana, Robert                  113221   7:20cv77648   Douglas & London                                  MDL Wave 3
Pratt, Christopher              113297   7:20cv77758   Douglas & London                                  MDL Wave 3
Putman, Phillip                 113347   7:20cv77860   Douglas & London                                  MDL Wave 3
Rivera, Joseph                  113649   7:20cv79273   Douglas & London                                  MDL Wave 3
Rowley, Steven                  113848   7:20cv80348   Douglas & London                                  MDL Wave 3
Ruggero, Samuel                 113864   7:20cv80405   Douglas & London                                  MDL Wave 3
Shapardon, Chris                114139   7:20cv81784   Douglas & London                                  MDL Wave 3
Suklja, Daniel                  114644   7:20cv80449   Douglas & London                                  MDL Wave 3
Torrez, Daniel                  114910   7:20cv81089   Douglas & London                                  MDL Wave 3
Tramble, Kenneth                114921   7:20cv81130   Douglas & London                                  MDL Wave 3
Waters, Derek                   115254   7:20cv81712   Douglas & London                                  MDL Wave 3
Whitton, Willard                115427   7:20cv82314   Douglas & London                                  MDL Wave 3
Wickham, Glenn                  115429   7:20cv82320   Douglas & London                                  MDL Wave 3
Willing, Brandon                115511   7:20cv82581   Douglas & London                                  MDL Wave 3
Garcia Hernandez, Diego         95243    7:20cv98128   Fenstersheib Law Group, P.A.; Murphy Law Firm;    MDL Wave 3
                                                       Comeaux Law Firm
Touchette, Timothy Joseph       139339   3:19cv02925   Gattuso & Ciotoli, PLLC                           MDL Wave 3
Hoover, Ronnie                   3903    8:20cv04721   Goldenberg Heller & Antognoli, P.C.               MDL Wave 3
Gardner, Benjamin               79472    7:20cv52790   Heninger Garrison Davis, LLC                      MDL Wave 3
Jackson, Arland                 173948   7:20cv65160   Heninger Garrison Davis, LLC                      MDL Wave 3
Jewel, William                  79676    7:20cv53478   Heninger Garrison Davis, LLC                      MDL Wave 3
Nadeau, Nathan                  138194   8:20cv47478   Jensen & Associates; Keller Postman               MDL Wave 3
Adams, James                    115845   7:20cv45651   Joel Bieber Firm                                  MDL Wave 3
Gibson, Joseph                  116028   7:20cv45357   Joel Bieber Firm                                  MDL Wave 3
Marx, Phillip                   115802   7:20cv45431   Joel Bieber Firm                                  MDL Wave 3
Rivera, Benjamin                115772   7:20cv45345   Joel Bieber Firm                                  MDL Wave 3
Johnson, Brandie Louise         138964   3:19cv04271   Johnson Becker                                    MDL Wave 3
Ahrmann, Samuel                 129628   7:20cv52398   Junell & Associates, PLLC                         MDL Wave 3
Ayson, Mark                     129801   7:20cv51292   Junell & Associates, PLLC                         MDL Wave 3
Barker, Melisa                  129867   7:20cv51472   Junell & Associates, PLLC                         MDL Wave 3
Bazar, Adam                     129938   7:20cv51706   Junell & Associates, PLLC                         MDL Wave 3
Brown, James                    130278   7:20cv53092   Junell & Associates, PLLC                         MDL Wave 3
Brown, James                    223821   9:20cv04748   Junell & Associates, PLLC                         MDL Wave 3
Campbell, Katrina               130415   7:20cv53877   Junell & Associates, PLLC                         MDL Wave 3
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                         Wave List Group
Daugherty, Michael              130872   7:20cv54083   Junell & Associates, PLLC                  MDL Wave 3
Figueroa, Fernando              131328   7:20cv51627   Junell & Associates, PLLC                  MDL Wave 3
Fox, Tyler                      131435   7:20cv53218   Junell & Associates, PLLC                  MDL Wave 3
Gardner, Stephen                131536   7:20cv53745   Junell & Associates, PLLC                  MDL Wave 3
Hall, Danial                    131860   7:20cv56686   Junell & Associates, PLLC                  MDL Wave 3
Harris, Melzurie                131937   7:20cv57522   Junell & Associates, PLLC                  MDL Wave 3
O'Brien, Jeff                   133685   7:20cv58736   Junell & Associates, PLLC                  MDL Wave 3
Petry, Austin                   133915   7:20cv59810   Junell & Associates, PLLC                  MDL Wave 3
Porter, Paul                    134008   7:20cv60338   Junell & Associates, PLLC                  MDL Wave 3
Ritchel, Timothy                134268   7:20cv62318   Junell & Associates, PLLC                  MDL Wave 3
Sickler, Philip                 135940   7:20cv41977   Junell & Associates, PLLC                  MDL Wave 3
Stoeber, Andrew                 134986   7:20cv00059   Junell & Associates, PLLC                  MDL Wave 3
Hickox, Justin                   3103    8:20cv32934   Justinian & Associates PLLC                MDL Wave 3
Porter, Dillon                  84671    8:20cv34145   Justinian & Associates PLLC                MDL Wave 3
Angelo, Wade                    138719   7:20cv30236   Keller Postman                             MDL Wave 3
Brown, Garry                    137377   8:20cv36621   Keller Postman                             MDL Wave 3
Browning, Vincent               43524    7:20cv58898   Keller Postman                             MDL Wave 3
Catrucco, Chad J                43675    7:20cv59343   Keller Postman                             MDL Wave 3
Corliss, Kris                   137933   8:20cv41514   Keller Postman                             MDL Wave 3
Correa, Javier                  137562   8:20cv37872   Keller Postman                             MDL Wave 3
Dommell, Brian R.               136926   8:20cv38136   Keller Postman                             MDL Wave 3
Graham-Anderson, Joshua         137784   8:20cv39912   Keller Postman                             MDL Wave 3
Hodson, Jeremy                  137606   8:20cv38009   Keller Postman                             MDL Wave 3
Kulp, Joshua J                  137795   8:20cv39948   Keller Postman                             MDL Wave 3
Martin, Danny                   137167   8:20cv42252   Keller Postman                             MDL Wave 3
Reeves, Johnny                  137713   8:20cv39598   Keller Postman                             MDL Wave 3
Simmons, Tobias                 327365   7:21cv45003   Keller Postman                             MDL Wave 3
Taylor, David Allen             164238   8:20cv49880   Keller Postman                             MDL Wave 3
Watts, Tyler                    138703   8:20cv37576   Keller Postman                             MDL Wave 3
Wildern, Amanda D.              46930    7:20cv76059   Keller Postman                             MDL Wave 3
Burton, Joshua                  50621    7:20cv65393   Kirkendall Dwyer LLP                       MDL Wave 3
Crist, William                  50586    7:20cv65325   Kirkendall Dwyer LLP                       MDL Wave 3
Guzman, Carlos                  50888    7:20cv65969   Kirkendall Dwyer LLP                       MDL Wave 3
Hall, Erica                     50785    7:20cv65721   Kirkendall Dwyer LLP                       MDL Wave 3
Lanham, Benjamin                77158    7:20cv69975   Kirtland & Packard LLP                     MDL Wave 3
Johnson, Clifton                146209   7:20cv88977   LANGSTON & LOTT, PLLC                      MDL Wave 3
Milson, Charles                 140015   7:20cv30426   Law Offices of James Scott Farrin          MDL Wave 3
Roldan, Eduardo                 88580    3:19cv03375   Law Offices of Jan K. Apo                  MDL Wave 3
Boyd, Desmond                    9061    7:20cv48448   Law Offices of Peter G. Angelos, P.C.      MDL Wave 3
Maples, Gary                     9002    7:20cv48409   Law Offices of Peter G. Angelos, P.C.      MDL Wave 3
Oliver, Brian J.                 8551    7:20cv47790   Law Offices of Peter G. Angelos, P.C.      MDL Wave 3
Waymire, Daniel                  8754    7:20cv47525   Law Offices of Peter G. Angelos, P.C.      MDL Wave 3
Coronado, Eric                  11214    7:20cv00560   Levin Papantonio Rafferty                  MDL Wave 3
Darrington, Leondre             11433    7:20cv00779   Levin Papantonio Rafferty                  MDL Wave 3
Baker, Misty Lee                139388   8:20cv14961   Matthews & Associates                      MDL Wave 3
Aguilar, Michael                181135   8:20cv31456   McDonald Worley                            MDL Wave 3
Williams, Richard               12378    7:20cv01818   McDonald Worley                            MDL Wave 3
Cruz, Juan D.                   91230    7:20cv71580   Messa & Associates                         MDL Wave 3
Prais, Joseph                   91339    7:20cv72082   Messa & Associates                         MDL Wave 3
Rodgers, Johnny L.              91349    7:20cv72109   Messa & Associates                         MDL Wave 3
Hammock, Michelle R.            126310   8:20cv31746   Morgan & Morgan                            MDL Wave 3
Jackson, Michael Kevin          126315   8:20cv31764   Morgan & Morgan                            MDL Wave 3
Koon, Christopher Robert        126147   8:20cv31428   Morgan & Morgan                            MDL Wave 3
Mclellan, Joseph Edward         126435   8:20cv32985   Morgan & Morgan                            MDL Wave 3
Roberts, Andrew Harrison        126220   8:20cv31437   Morgan & Morgan                            MDL Wave 3
Correa-Charles, Luis            51574    7:20cv95522   Mostyn Law                                 MDL Wave 3
Eakes, Matthew                  167918   8:20cv03708   Mostyn Law                                 MDL Wave 3
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                            Wave List Group
Moore, Jay                      51623    7:20cv95777   Mostyn Law                                    MDL Wave 3
Reynolds, Kenneth               126932   7:20cv98085   Mostyn Law                                    MDL Wave 3
Whitty-Sandaker, Kelley         168433   8:20cv02369   Mostyn Law                                    MDL Wave 3
Harmon, Joshua Michael          17910    7:20cv95650   Murphy Law Firm                               MDL Wave 3
Wood, Jessica P.                17817    8:20cv05875   Murphy Law Firm                               MDL Wave 3
Miggins, Donald                 30482    8:20cv33436   OnderLaw, LLC                                 MDL Wave 3
Rodriguez, Joseph Alexander L   30744    7:20cv92955   OnderLaw, LLC                                 MDL Wave 3

Thomas, Othella                 30954    7:20cv93133   OnderLaw, LLC                                 MDL Wave 3
Armstrong, Gregory              159506   7:20cv35239   Parafinczuk Wolf, P.A.                        MDL Wave 3
Miranda, Isaac                  52437    7:20cv05749   Parafinczuk Wolf, P.A.                        MDL Wave 3
White, Benjamin                 168808   7:20cv38532   Parafinczuk Wolf, P.A.                        MDL Wave 3
Arias, Michael Lee              103619   7:20cv68468   Parker Waichman LLP                           MDL Wave 3
Balon, Sherwin                  103661   7:20cv68614   Parker Waichman LLP                           MDL Wave 3
Blackwell, Richard Gene         103763   7:20cv68699   Parker Waichman LLP                           MDL Wave 3
Brewer, Patrick James           103842   7:20cv68973   Parker Waichman LLP                           MDL Wave 3
Danielecki, Jason John          104160   7:20cv68434   Parker Waichman LLP                           MDL Wave 3
Kabachenko, Maksim              104950   3:21cv01526   Parker Waichman LLP                           MDL Wave 3
Somohano, Hubert Lazaro         106031   7:20cv71983   Parker Waichman LLP                           MDL Wave 3
Talbot, Shawn Wayne             106125   7:20cv72267   Parker Waichman LLP                           MDL Wave 3
Woods, Tema                     136066   8:20cv14885   Price Armstrong                               MDL Wave 3
Baker, Stacy                    224273   8:20cv75427   Pulaski Law Firm, PLLC                        MDL Wave 3
Cahill, Ryan                    15257    7:20cv02295   Pulaski Law Firm, PLLC                        MDL Wave 3
Connolly, Chad                  158229   7:20cv65922   Pulaski Law Firm, PLLC                        MDL Wave 3
Duncan, Ricardo                 27755    7:20cv03420   Pulaski Law Firm, PLLC                        MDL Wave 3
Laday, Christopher              15695    7:20cv02678   Pulaski Law Firm, PLLC                        MDL Wave 3
Montes, Jorge R.                200692   8:20cv46844   Pulaski Law Firm, PLLC                        MDL Wave 3
Shrawder, Joshua                158454   7:20cv66075   Pulaski Law Firm, PLLC                        MDL Wave 3
Sierra, Angel                   15634    7:20cv02630   Pulaski Law Firm, PLLC                        MDL Wave 3
Galgano, Godot G.               93872    7:20cv73159   Rogers, Patrick, Westbrook & Brickman, LLC    MDL Wave 3
Gilbert, Richard                93882    3:21cv01527   Rogers, Patrick, Westbrook & Brickman, LLC    MDL Wave 3
Bailey, Alicia N.               13915    8:20cv05249   Searcy Denney Scarola Barnhart and Shipley    MDL Wave 3
Morris, Andrew                  13947    8:20cv06095   Searcy Denney Scarola Barnhart and Shipley    MDL Wave 3
West, Melissa                   13973    8:20cv06135   Searcy Denney Scarola Barnhart and Shipley    MDL Wave 3
Adkins, Michael                 175041   7:20cv39544   Seeger Weiss LLP                              MDL Wave 3
Cabrera, James                  82494    7:20cv17918   Seeger Weiss LLP                              MDL Wave 3
Diaz, Ivan                      210575   8:20cv55900   Seeger Weiss LLP                              MDL Wave 3
Duffy, Orlando                  83217    7:20cv18822   Seeger Weiss LLP                              MDL Wave 3
Ford, Taylor                    263368   9:20cv03365   Seeger Weiss LLP                              MDL Wave 3
Hall, Tony                      254984   8:20cv99312   Seeger Weiss LLP                              MDL Wave 3
Hawkins, Sean                   247750   8:20cv96500   Seeger Weiss LLP                              MDL Wave 3
Jones, John                     247762   8:20cv96522   Seeger Weiss LLP                              MDL Wave 3
Marulanda, William              220315   8:20cv70295   Seeger Weiss LLP                              MDL Wave 3
Washington, Lorenzo             188822   7:20cv96841   Seeger Weiss LLP                              MDL Wave 3
Zamora, Joshua                  210587   8:20cv55911   Seeger Weiss LLP                              MDL Wave 3
Yonts, Clay                     179626   3:20cv05210   Singleton Schreiber, LLP                      MDL Wave 3
Dupree, Vincent Edward          127700   8:20cv18068   Smith, Gildea & Schmidt, LLC                  MDL Wave 3
Acosta, Jessica                  6368    7:20cv43148   Stueve Siegel Hanson                          MDL Wave 3
Franco, Edwin                   156390   8:20cv04151   Sullivan & Brill, LLP                         MDL Wave 3
Guzik, Samantha                 128543   8:20cv18388   The DiLorenzo Law Firm, LLC                   MDL Wave 3
Plant, James                    128175   8:20cv20484   The DiLorenzo Law Firm, LLC                   MDL Wave 3
Walton, Joseph                  128285   8:20cv17403   The DiLorenzo Law Firm, LLC                   MDL Wave 3
Johnston, Matthew Scott         195523   3:19cv04366   The Downs Law Group                           MDL Wave 3
Matthey, Mark Edward            88547    8:20cv04526   The Finley Firm, PC                           MDL Wave 3
O'Neill, Douglas Edmunds        88555    8:20cv04532   The Finley Firm, PC                           MDL Wave 3
Brown, Anthony R.               59263    7:20cv11102   The Gori Law Firm, P.C.                       MDL Wave 3
Brown, John Walter              57449    7:20cv10764   The Gori Law Firm, P.C.                       MDL Wave 3
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                         Wave List Group
Butler, Jamal                   57492    7:20cv10631   The Gori Law Firm, P.C.                    MDL Wave 3
Cole, Charles                   55345    7:20cv05911   The Gori Law Firm, P.C.                    MDL Wave 3
Connor, Joseph D.               169639   7:20cv39396   The Gori Law Firm, P.C.                    MDL Wave 3
Gadsden, Dwayne                 56279    7:20cv07237   The Gori Law Firm, P.C.                    MDL Wave 3
James, Zachary                  57436    7:20cv10736   The Gori Law Firm, P.C.                    MDL Wave 3
Klein, Jimmy                    58428    7:20cv10094   The Gori Law Firm, P.C.                    MDL Wave 3
Scutt, Erica L                  56089    7:20cv06974   The Gori Law Firm, P.C.                    MDL Wave 3
Splattstoesser, Andrew          56945    7:20cv08722   The Gori Law Firm, P.C.                    MDL Wave 3
Springer, Kwesi-Raj             169719   7:20cv39359   The Gori Law Firm, P.C.                    MDL Wave 3
Steep, Eric                     59601    7:20cv08966   The Gori Law Firm, P.C.                    MDL Wave 3
Temple, Geoffery                57218    7:20cv10272   The Gori Law Firm, P.C.                    MDL Wave 3
Weeks, Lasalle                  169733   7:20cv39367   The Gori Law Firm, P.C.                    MDL Wave 3
Whilby, Raymond                 57968    7:20cv09199   The Gori Law Firm, P.C.                    MDL Wave 3
Wisener Pierce, Amanda G.       57271    7:20cv10308   The Gori Law Firm, P.C.                    MDL Wave 3
Brown, Michael                   3392    3:19cv01698   The Hirsch Law Firm                        MDL Wave 3
Brewer, Joshua T.               93509    7:20cv94731   The Kuykendall Group LLc                   MDL Wave 3
Garcia, Nelson                  14922    7:20cv94377   The Kuykendall Group LLc                   MDL Wave 3
Morales, Marco                  14950    7:20cv94439   The Kuykendall Group LLc                   MDL Wave 3
Moustafhim, Kamal               59933    8:20cv33619   The Law Office of L. Paul Mankin           MDL Wave 3
Davis, Winsceler                146022   8:20cv39044   The Murray Law Firm                        MDL Wave 3
Coby, Jose                      14581    8:20cv19223   The Simon Law Firm, P.C.                   MDL Wave 3
Sanders, Gary                   49510    7:20cv96392   The Spencer Law Firm                       MDL Wave 3
Goulart, Jerimy                 136247   3:19cv01738   Thomas J. Henry                            MDL Wave 3
Rivera, Carlos                  151598   7:20cv00166   Thomas J. Henry                            MDL Wave 3
Vaillancourt, Eugene             4976    7:20cv00384   Thornton Law Firm                          MDL Wave 3
Lee, Billy Joel                 116355   8:20cv11318   Tomasik Kotin Kasserman, LLC               MDL Wave 3
Besson, Joshua                  19665    7:20cv84928   Tracey & Fox Law Firm                      MDL Wave 3
Corey, Stephen A.               20470    7:20cv89098   Tracey & Fox Law Firm                      MDL Wave 3
Cross, Kirt L.                  20566    7:20cv89394   Tracey & Fox Law Firm                      MDL Wave 3
Davis, Paul J.                  20685    7:20cv89630   Tracey & Fox Law Firm                      MDL Wave 3
Dixon, Marcell                  170884   8:20cv04734   Tracey & Fox Law Firm                      MDL Wave 3
Fordham, Daniel Andrew          21253    7:20cv93311   Tracey & Fox Law Firm                      MDL Wave 3
Johnson, Adam                   170944   8:20cv05156   Tracey & Fox Law Firm                      MDL Wave 3
Madison, Patrick S.             23041    7:20cv89580   Tracey & Fox Law Firm                      MDL Wave 3
Taffoya, Christopher G.         25426    7:20cv92335   Tracey & Fox Law Firm                      MDL Wave 3
Wiles, Michael                  26049    7:20cv97415   Tracey & Fox Law Firm                      MDL Wave 3
Beamon, Terrance                140758   3:20cv00865   Watts Guerra                               MDL Wave 3
Bennett, Giovanni               140953   3:20cv01446   Watts Guerra                               MDL Wave 3
Dixon, Timothy                  141290   3:19cv04165   Watts Guerra                               MDL Wave 3
Dufault, William                70984    8:20cv23665   Watts Guerra                               MDL Wave 3
Fluhrer, Neal                   143427   3:20cv00247   Watts Guerra                               MDL Wave 3
Leyva, Pete                     141353   3:20cv02046   Watts Guerra                               MDL Wave 3
Martin, Casey                   73145    8:20cv23846   Watts Guerra                               MDL Wave 3
Perry, Michael                  142586   3:20cv00638   Watts Guerra                               MDL Wave 3
Rhodes, Tyron                   74364    8:20cv25814   Watts Guerra                               MDL Wave 3
Salter, Richard                 74650    8:20cv24837   Watts Guerra                               MDL Wave 3
Stafford, William               75132    8:20cv26890   Watts Guerra                               MDL Wave 3
Tamez, Alexander                75351    8:20cv27860   Watts Guerra                               MDL Wave 3
Turner, Christopher             75552    8:20cv28250   Watts Guerra                               MDL Wave 3
Akira, Liella                   120546   7:20cv27535   Weitz & Luxenberg                          MDL Wave 3
Angel, Shadrika K.              119211   7:20cv26795   Weitz & Luxenberg                          MDL Wave 3
Becker, Evan A.                 120838   7:20cv27841   Weitz & Luxenberg                          MDL Wave 3
Bishop, Charles                 87816    7:20cv18127   Weitz & Luxenberg                          MDL Wave 3
Buniger, Allen E.               119515   7:21cv43451   Weitz & Luxenberg                          MDL Wave 3
Cooke, David Alan               119087   7:20cv26515   Weitz & Luxenberg                          MDL Wave 3
Eastman, Ross                   87730    7:20cv17896   Weitz & Luxenberg                          MDL Wave 3
Enyart, Lacey C.                119193   7:20cv26684   Weitz & Luxenberg                          MDL Wave 3
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                                   Wave List Group
Faulkner, John                  119533   7:21cv43470   Weitz & Luxenberg                                    MDL Wave 3
Floyd, Michael B.               121184   7:20cv28193   Weitz & Luxenberg                                    MDL Wave 3
Horton, Keith T.                120065   7:20cv26348   Weitz & Luxenberg                                    MDL Wave 3
Martin, Alfred Gillium          119447   7:21cv43855   Weitz & Luxenberg                                    MDL Wave 3
Mcbride, Joseph                 119094   7:20cv26522   Weitz & Luxenberg                                    MDL Wave 3
Meekins, Andrew Thomas          120015   7:20cv25077   Weitz & Luxenberg                                    MDL Wave 3
Powell, Ryan Marcus             119764   7:20cv24192   Weitz & Luxenberg                                    MDL Wave 3
Rennicks, Nathaniel W.          120292   7:20cv27126   Weitz & Luxenberg                                    MDL Wave 3
Stone, Michael                  118840   7:20cv25051   Weitz & Luxenberg                                    MDL Wave 3
Tuttle, Gerald                  88294    7:20cv20031   Weitz & Luxenberg                                    MDL Wave 3
Wangerin, Shawn A.              87836    7:20cv18218   Weitz & Luxenberg                                    MDL Wave 3
Weir, Debra                     119804   7:20cv24230   Weitz & Luxenberg                                    MDL Wave 3
Yerby, Nicholas Paul            119796   7:20cv24222   Weitz & Luxenberg                                    MDL Wave 3
Eddington, David W.             136597   7:20cv44468   Weller, Green, Toups & Terrell, LLP                  MDL Wave 3
Floyd, Jude E                   139174   8:20cv14917   Wells & Associates, PLLC; Williams McDaniel PLLC     MDL Wave 3

Hulslander, Clinton             139166   8:20cv14909   Wells & Associates, PLLC; Williams McDaniel PLLC     MDL Wave 3

Rendon, Erwin                   139140   8:20cv09824   Wells & Associates, PLLC; Williams McDaniel PLLC     MDL Wave 3

Taschetti, Jamie                139130   8:20cv09815   Wells & Associates, PLLC; Williams McDaniel PLLC     MDL Wave 3

Ferreira, James Phillip         218693   8:20cv76916   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    MDL Wave 4
Gutierrez Reyes, Luis A.        162092   7:20cv00005   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    MDL Wave 4
Hoxie, Larry Gilbert            218675   8:20cv76898   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    MDL Wave 4
Pavesi, Christian F.            147961   8:20cv41494   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    MDL Wave 4
Anest, Stephen Michael          60253    7:20cv09523   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Beggrow, Brian                  283999   7:21cv06920   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Blackmon, Toby                  339932   7:21cv59265   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Brown, Christopher              318873   7:21cv36075   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Cherry, James M.                61018    7:20cv13127   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Coleman, Lamar                  231427   8:20cv79549   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Eldridge, Cecil R.              61601    7:20cv15466   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Elkhouddari, Reda               61606    7:20cv15473   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Fletcher, Nathaniel Blake       61780    7:20cv11222   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Gallagher, Mark                 281292   7:21cv04638   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Greenwood, Denise               98871    7:20cv24743   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Grevely, Daniel S.              62120    7:20cv11699   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Gumz, Eric James                339249   7:21cv58569   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Haskins, Jacob                  339134   3:22cv05537   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Hunter, Robert                  50089    8:20cv09585   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Jordan, Robert A.               242981   8:20cv97929   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Knoell, Michael                 339357   7:21cv58690   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Lewis, Quintin Dejuan           63203    7:20cv17446   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Munson, Jeremy                  281972   7:21cv03938   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Vereen, Frank                   65496    7:20cv15513   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Walnofer, Eric                  65564    7:20cv15651   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Williams, Tela                  253806   8:20cv96101   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Ford, Byron                     164283   7:20cv88464   Bailey & Glasser                                     MDL Wave 4
Smith, Harry William             3542    7:20cv42492   Bailey & Glasser                                     MDL Wave 4
Filomeno, Jonathan              312067   7:21cv29530   Bailey Cowan Heckaman PLLC                           MDL Wave 4
Jones, Jeremiah                 314176   7:21cv32385   Bailey Cowan Heckaman PLLC                           MDL Wave 4
Lima, Candice                   229023   8:20cv75664   Bailey Cowan Heckaman PLLC                           MDL Wave 4
Miller, Thomas                  256904   9:20cv00440   Bailey Cowan Heckaman PLLC                           MDL Wave 4
Stolz, Kyle                     315214   7:21cv33871   Bailey Cowan Heckaman PLLC                           MDL Wave 4
Strader, Adam                   66653    7:20cv49076   Bailey Cowan Heckaman PLLC                           MDL Wave 4
Strange, Charles                186429   7:20cv91025   Beasley Allen                                        MDL Wave 4
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                           Wave List Group
Mingo, Gregory                  16555    7:20cv87959   Beggs & Lane                                 MDL Wave 4
Bercegeay, Linden Joseph        67227    8:20cv13375   Bernstein Liebhard LLP                       MDL Wave 4
Hammell, Gregory L.             67292    8:20cv13643   Bernstein Liebhard LLP                       MDL Wave 4
Peterson, Benjamin David        67319    8:20cv13740   Bernstein Liebhard LLP                       MDL Wave 4
Colvin, Carlton                 101845   7:20cv45433   Bertram & Graf, L.L.C.                       MDL Wave 4
Goodwin, William P.             331881   7:21cv49650   Bertram & Graf, L.L.C.                       MDL Wave 4
Reyes-Hernandez, Adan           256954   9:20cv05277   Bighorn Law                                  MDL Wave 4
Abraham
Figueroa, Heriberto              1341    7:20cv42123   Blasingame, Burch, Garrard & Ashley, P.C.    MDL Wave 4
Hansberry, April                168825   7:20cv00018   Blasingame, Burch, Garrard & Ashley, P.C.    MDL Wave 4
Muniz, Justin                   303058   7:21cv23077   Blasingame, Burch, Garrard & Ashley, P.C.    MDL Wave 4
Ort, Shane A.                   254018   8:20cv97278   Bossier & Associates, PLLC                   MDL Wave 4
Barbee, Tiger                   290562   7:21cv12688   Brent Coon & Associates                      MDL Wave 4
Discenza, Michael               362438   3:22cv10651   Brent Coon & Associates                      MDL Wave 4
Fleming, James                  68410    7:20cv71758   Brent Coon & Associates                      MDL Wave 4
Johnson, Jeff                   323994   7:21cv48723   Brent Coon & Associates                      MDL Wave 4
Julian, Michael                 303934   7:21cv21557   Brent Coon & Associates                      MDL Wave 4
Macon, David                    290482   7:21cv12609   Brent Coon & Associates                      MDL Wave 4
Otero, Edgardo                  293283   7:21cv12932   Brent Coon & Associates                      MDL Wave 4
Watson, Matthew                 328708   7:21cv48822   Brent Coon & Associates                      MDL Wave 4
Winchester, Christopher         68198    7:20cv71415   Brent Coon & Associates                      MDL Wave 4
Eakle, Stephen James            303911   7:21cv21542   Bryant Law Center                            MDL Wave 4
Ansin, Roger                    234106   8:20cv83170   Carey Danis & Lowe                           MDL Wave 4
Grant, Jermaine                 344203   7:21cv63108   Carey Danis & Lowe                           MDL Wave 4
Donavan, Jonathan               106640   8:20cv30242   Chaffin Luhana LLP                           MDL Wave 4
Chastain, Joshua                174614   7:20cv80225   Charles E. Boyk Law Offices, LLC             MDL Wave 4
Terry, Matthew John             170052   7:20cv88837   Charles E. Boyk Law Offices, LLC             MDL Wave 4
Barnes, Benjamin                343927   7:21cv68611   Clark, Love & Hutson PLLC                    MDL Wave 4
Burns, Michael                  308856   7:21cv27116   Clark, Love & Hutson PLLC                    MDL Wave 4
Chambers, Slayton               308889   7:21cv27149   Clark, Love & Hutson PLLC                    MDL Wave 4
Creech, Dorsey                  264315   9:20cv08254   Clark, Love & Hutson PLLC                    MDL Wave 4
Delossantos, Daniel             88909    7:20cv19797   Clark, Love & Hutson PLLC                    MDL Wave 4
Hart, Patrick                   42989    3:19cv00622   Clark, Love & Hutson PLLC                    MDL Wave 4
Herrington, Kenneth             43015    3:19cv04339   Clark, Love & Hutson PLLC                    MDL Wave 4
Jackson, Nicholas               330563   7:21cv47483   Clark, Love & Hutson PLLC                    MDL Wave 4
Lozada, Jose                    177270   8:20cv36272   Clark, Love & Hutson PLLC                    MDL Wave 4
Marcus, Yshua                   264785   9:20cv09048   Clark, Love & Hutson PLLC                    MDL Wave 4
Oerding, Amie                   288070   7:21cv09229   Clark, Love & Hutson PLLC                    MDL Wave 4
Orduno, Cesar                   309361   7:21cv27845   Clark, Love & Hutson PLLC                    MDL Wave 4
Ramirezalicano, Giovanni        252651   9:20cv10109   Clark, Love & Hutson PLLC                    MDL Wave 4
Rose, Daniel                    330826   7:21cv47745   Clark, Love & Hutson PLLC                    MDL Wave 4
Ruggiero, Marc                  90119    7:20cv22293   Clark, Love & Hutson PLLC                    MDL Wave 4
Sands, Sofia                    299185   7:21cv20478   Clark, Love & Hutson PLLC                    MDL Wave 4
Southard, Christopher           106864   7:20cv26134   Clark, Love & Hutson PLLC                    MDL Wave 4
Spencer, Matthew                252767   9:20cv10225   Clark, Love & Hutson PLLC                    MDL Wave 4
Sutphin, Matthew David          177387   8:20cv36551   Clark, Love & Hutson PLLC                    MDL Wave 4
Thomas, Ryan                    265215   9:20cv09774   Clark, Love & Hutson PLLC                    MDL Wave 4
Watson, Eugene                  195000   8:20cv39429   Clark, Love & Hutson PLLC                    MDL Wave 4
Andrews, Morris G.              60059    7:20cv09293   Colson Hicks Eidson                          MDL Wave 4
Davis, Donald                   10252    7:20cv47610   Cory Watson                                  MDL Wave 4
Larkin, Carter Robert           222590   8:20cv74561   Cory Watson                                  MDL Wave 4
Maxey, Eudean                   222528   8:20cv74408   Cory Watson                                  MDL Wave 4
Nanney, Christopher             233696   8:20cv81092   Cory Watson                                  MDL Wave 4
Pilate, Marcel                  222408   8:20cv74033   Cory Watson                                  MDL Wave 4
Quiles Torres, Axel Rolando     366533   3:22cv16938   Cory Watson                                  MDL Wave 4
Smith, Steven                   233491   8:20cv80575   Cory Watson                                  MDL Wave 4
Zuraff, Jeremiah                233703   8:20cv81104   Cory Watson                                  MDL Wave 4
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                                 Wave List Group
Davenport, Justin               69113    7:20cv81398   Coxwell & Associates PLLC.; Maggio Thompson LLP    MDL Wave 4

Kingcade, Scotty                69209    7:20cv82026   Coxwell & Associates PLLC.; Maggio Thompson LLP    MDL Wave 4

Belk, Kyle                      107643   7:20cv76332   Douglas & London                                   MDL Wave 4
Bish, Joseph                    107753   7:20cv76518   Douglas & London                                   MDL Wave 4
Bollinger, Mikel                107833   7:20cv72029   Douglas & London                                   MDL Wave 4
Campbell, Michael               108242   7:20cv72669   Douglas & London                                   MDL Wave 4
Candela, Mario                  108253   7:20cv72802   Douglas & London                                   MDL Wave 4
Cleveland, Broderick            108520   7:20cv73651   Douglas & London                                   MDL Wave 4
Cook, Samuel                    108639   7:20cv73100   Douglas & London                                   MDL Wave 4
Craig, Peter                    108747   7:20cv73310   Douglas & London                                   MDL Wave 4
Davis, Kelly                    108961   7:20cv76849   Douglas & London                                   MDL Wave 4
Gonzalez, Alejandro             109962   7:20cv73749   Douglas & London                                   MDL Wave 4
Hawkins, Jonathan               110395   7:20cv74592   Douglas & London                                   MDL Wave 4
Jayne, Jeffrey                  110906   7:20cv75430   Douglas & London                                   MDL Wave 4
Mickelson, Levi                 112329   7:20cv77339   Douglas & London                                   MDL Wave 4
Middleton, Christopher          112330   7:20cv77341   Douglas & London                                   MDL Wave 4
Munoz, Robert                   112623   7:20cv78401   Douglas & London                                   MDL Wave 4
Oakes, Daniel                   112821   3:19cv03325   Douglas & London                                   MDL Wave 4
Poss, Phillip                   113266   7:20cv77696   Douglas & London                                   MDL Wave 4
Reyes, David                    113554   7:20cv78863   Douglas & London                                   MDL Wave 4
Ritenour, Adam                  113638   7:20cv79221   Douglas & London                                   MDL Wave 4
Roundy, Matthew                 113840   7:20cv80330   Douglas & London                                   MDL Wave 4
Skaggs, Daniel                  114275   7:20cv79075   Douglas & London                                   MDL Wave 4
Smith, Justin                   114369   7:20cv79441   Douglas & London                                   MDL Wave 4
Smither, Joseph                 114384   7:20cv78978   Douglas & London                                   MDL Wave 4
Thrasher, Trevor                114846   7:20cv80917   Douglas & London                                   MDL Wave 4
Wolke, Curt                     115590   7:20cv82779   Douglas & London                                   MDL Wave 4
Wynn, Kari                      115664   7:20cv82915   Douglas & London                                   MDL Wave 4
Crenshaw, Marc                  152626   8:20cv11500   Doyle LLP; The Urquhart Law Firm, PLLC             MDL Wave 4
Garza, Aldo                     152649   8:20cv11567   Doyle LLP; The Urquhart Law Firm, PLLC             MDL Wave 4
Rollins, William                152631   8:20cv11515   Doyle LLP; The Urquhart Law Firm, PLLC             MDL Wave 4
Small, John                     237897   3:20cv01064   Eckland & Blando LLP                               MDL Wave 4
Reyes, Christopher              76906    7:20cv49559   Fears Nachawati                                    MDL Wave 4
Lee, Mark                       277239   7:21cv02278   FLEMING, NOLEN & JEZ, L.L.P                        MDL Wave 4
Lewis, Carlos                   76580    8:20cv14852   FLEMING, NOLEN & JEZ, L.L.P                        MDL Wave 4
Rauls, David                    300972   7:21cv21834   FLEMING, NOLEN & JEZ, L.L.P                        MDL Wave 4
Rinaldi, Dominic                76700    8:20cv10244   FLEMING, NOLEN & JEZ, L.L.P                        MDL Wave 4
Shaheen, Michael                76735    8:20cv10335   FLEMING, NOLEN & JEZ, L.L.P                        MDL Wave 4
Whye, Benjamin                  300996   7:21cv21858   FLEMING, NOLEN & JEZ, L.L.P                        MDL Wave 4
Klemm, Nicholas                 332642   7:21cv48469   Forman Law Offices                                 MDL Wave 4
Cruz, Pedro                     139694   7:20cv63910   Goza & Honnold, LLC                                MDL Wave 4
Ottenbacher, Brock              139977   7:20cv64107   Goza & Honnold, LLC                                MDL Wave 4
Cuevas, Jeremiah                350686   3:21cv01183   Grant & Eisenhofer                                 MDL Wave 4
Keith, Jeffrey                  170519   7:20cv41335   Grant & Eisenhofer                                 MDL Wave 4
Macias, Francisco               170563   7:20cv00092   Grant & Eisenhofer                                 MDL Wave 4
Debrow, Ebony                   329708   7:21cv43342   Green & Schafle LLC                                MDL Wave 4
Jones, Jonathan P.              319820   7:21cv30040   Hair Shunnarah Trial Attorneys                     MDL Wave 4
Trotman, Selwyn A.              270250   9:20cv11077   Hair Shunnarah Trial Attorneys                     MDL Wave 4
Flanigan, Charles               310571   7:21cv41620   Heninger Garrison Davis, LLC                       MDL Wave 4
Mejia Meran, Emilio             201283   8:20cv54917   Heninger Garrison Davis, LLC                       MDL Wave 4
Ruckdeschel, Robert             357727   3:22cv02686   Heninger Garrison Davis, LLC                       MDL Wave 4
Moyers, Dannie                  10494    7:20cv83857   Hensley Legal Group, PC                            MDL Wave 4
Mcanulty, Dustin                81027    7:20cv85405   Holland Law Firm                                   MDL Wave 4
Owens, Jason M.                 80844    7:20cv84634   Holland Law Firm                                   MDL Wave 4
Polk, Darrell                   81055    7:20cv85508   Holland Law Firm                                   MDL Wave 4
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                         Wave List Group
Stange, Barry K.                80927    7:20cv84969   Holland Law Firm                           MDL Wave 4
Marek, Gregory                  31311    8:20cv19841   Huber, Slack, Thomas & Marcelle, LLP       MDL Wave 4
Mcfann, Christopher             31320    8:20cv19868   Huber, Slack, Thomas & Marcelle, LLP       MDL Wave 4
South, Brent                    31393    8:20cv20062   Huber, Slack, Thomas & Marcelle, LLP       MDL Wave 4
Williams, Terry                 31428    8:20cv20161   Huber, Slack, Thomas & Marcelle, LLP       MDL Wave 4
Jansen, Ronald                  116310   7:20cv48050   Joel Bieber Firm                           MDL Wave 4
Chapman, Jeffrey                176863   8:20cv26640   Johnson Becker                             MDL Wave 4
Gardner, Kevin Alandell         138969   3:19cv04262   Johnson Becker                             MDL Wave 4
Simonson, Raymond G.            16813    7:20cv43854   Johnson Becker                             MDL Wave 4
Thomas, Jason                   199050   3:21cv01812   Johnson Becker                             MDL Wave 4
Abney, Avianna                  194448   8:20cv40346   Junell & Associates, PLLC                  MDL Wave 4
Allen, Christopher              129659   7:20cv52558   Junell & Associates, PLLC                  MDL Wave 4
Benge, Dustin                   129990   7:20cv51917   Junell & Associates, PLLC                  MDL Wave 4
Bennett, Won                    129999   7:20cv51964   Junell & Associates, PLLC                  MDL Wave 4
Bovain, James                   130146   7:20cv52654   Junell & Associates, PLLC                  MDL Wave 4
Espinosa, Gerardo G.            131241   7:20cv55407   Junell & Associates, PLLC                  MDL Wave 4
Gaston, Levi                    131563   7:20cv54329   Junell & Associates, PLLC                  MDL Wave 4
Hall, Christopher               131861   7:20cv56693   Junell & Associates, PLLC                  MDL Wave 4
Liberty, Robin                  132843   7:20cv58043   Junell & Associates, PLLC                  MDL Wave 4
Martinez, Christian             133098   7:20cv58834   Junell & Associates, PLLC                  MDL Wave 4
Mason, Charles                  133102   7:20cv58848   Junell & Associates, PLLC                  MDL Wave 4
Mcneal, Riley                   133248   7:20cv59255   Junell & Associates, PLLC                  MDL Wave 4
Meneses, Franklin               133298   7:20cv59402   Junell & Associates, PLLC                  MDL Wave 4
Naranjo, Jesus                  133589   7:20cv58393   Junell & Associates, PLLC                  MDL Wave 4
Proctor, Wendell                134055   7:20cv61315   Junell & Associates, PLLC                  MDL Wave 4
Quinn, Jonathan                 134088   7:20cv61406   Junell & Associates, PLLC                  MDL Wave 4
Rivera, Domiciano               134275   7:20cv62325   Junell & Associates, PLLC                  MDL Wave 4
Toledo, Chad                    135209   7:20cv62919   Junell & Associates, PLLC                  MDL Wave 4
Tracy, Dillan                   135238   7:20cv63007   Junell & Associates, PLLC                  MDL Wave 4
Walton, Terence                 135465   7:20cv61775   Junell & Associates, PLLC                  MDL Wave 4
Williams, Derek                 157265   7:20cv65736   Junell & Associates, PLLC                  MDL Wave 4
Schwery, James M.               84720    8:20cv34177   Justinian & Associates PLLC                MDL Wave 4
Wingo, Stephen T.                3209    8:20cv33257   Justinian & Associates PLLC                MDL Wave 4
Charlton, Jeffrey Justin        323598   7:21cv38727   Keller Postman                             MDL Wave 4
De La Torre, Arturo             269908   9:20cv10836   Keller Postman                             MDL Wave 4
Frankenstein, Shyan             44252    3:22cv07294   Keller Postman                             MDL Wave 4
Lecompte, Randy C.              66039    8:20cv21880   Keller Postman                             MDL Wave 4
Lopez, Pedro                    138271   8:20cv48825   Keller Postman                             MDL Wave 4
Mathis, Steven                  138581   8:20cv37472   Keller Postman                             MDL Wave 4
Nickels, Christopher B.         261368   9:20cv03185   Keller Postman                             MDL Wave 4
Reddick, Selicia N.             236646   8:20cv88620   Keller Postman                             MDL Wave 4
Smith, Bennie                   46399    7:20cv70649   Keller Postman                             MDL Wave 4
Thompson, Cody W.               262063   9:20cv04585   Keller Postman                             MDL Wave 4
Wilcox, Frederic                242906   8:20cv85997   Keller Postman                             MDL Wave 4
Kirk, Ashley                    303115   7:21cv23505   Kelley & Ferraro LLP                       MDL Wave 4
Sallee, Gregory A.              50551    7:20cv65254   Kirkendall Dwyer LLP                       MDL Wave 4
Teague, Kristopher              242283   8:20cv90444   Kirkendall Dwyer LLP                       MDL Wave 4
Lewis, Waylon                   243389   8:20cv90543   Kirtland & Packard LLP                     MDL Wave 4
Gutierrez, Andrew               270086   9:20cv17823   Laminack Pirtle & Martines                 MDL Wave 4
Otero, Anthony                  216219   8:20cv72450   Laminack Pirtle & Martines                 MDL Wave 4
Wicklander, Arthur              323418   7:21cv48532   Laminack Pirtle & Martines                 MDL Wave 4
Thompson, Anthony               10711    7:20cv04005   Law Offices of James Scott Farrin          MDL Wave 4
Oliver, Brian K.                 8552    7:20cv47792   Law Offices of Peter G. Angelos, P.C.      MDL Wave 4
Tolbert, Ashley M.              186144   8:20cv10479   Levin Papantonio Rafferty                  MDL Wave 4
Easter, Jason                   77581    7:20cv49117   Lieff Cabraser Heimann & Bernstein, LLP    MDL Wave 4
Brackins, Ronald P.              4984    7:20cv88029   Luff Law Firm PLLC; Waters Kraus           MDL Wave 4
De La Maza, Francisco J.        139557   8:20cv16224   Matthews & Associates                      MDL Wave 4
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                         Wave List Group
Fleming, Jason James            139614   8:20cv15020   Matthews & Associates                      MDL Wave 4
Garlow, Rayburn James           139640   3:22cv06667   Matthews & Associates                      MDL Wave 4
Hammond, Stanley Joseph         199171   8:20cv63603   Matthews & Associates                      MDL Wave 4
Hatcher, Anthony Dwain          173565   8:20cv15285   Matthews & Associates                      MDL Wave 4
Zillmer, Terry Lee              199750   8:20cv61337   Matthews & Associates                      MDL Wave 4
Shandi, Alaa                    87622    3:22cv06563   McCune Wright Arevalo                      MDL Wave 4
Jones, Phillip                  305247   7:21cv24455   McDonald Worley                            MDL Wave 4
Ortiz, Kenneth                  11812    7:20cv01276   McDonald Worley                            MDL Wave 4
Hood, Jonathan W.               103528   7:20cv26958   McIntyre Thanasides                        MDL Wave 4
Stewart, Neisha                 285634   7:21cv08562   Milstein Jackson Fairchild & Wade, LLP     MDL Wave 4
Schell, Robert J.               285642   3:21cv00108   Moll Law Group                             MDL Wave 4
Alexander, Beaurn               324727   7:21cv39555   Monsour Law Firm                           MDL Wave 4
Brown, Michael                  223969   8:20cv67888   Monsour Law Firm                           MDL Wave 4
Knigge, Shane                   262970   9:20cv07786   Monsour Law Firm                           MDL Wave 4
Porter, Samuel                  258215   9:20cv00947   Monsour Law Firm                           MDL Wave 4
Swafford, Brian                 269586   9:20cv12488   Monsour Law Firm                           MDL Wave 4
Talbott, Jacob                  247447   8:20cv92881   Monsour Law Firm                           MDL Wave 4
Williams, Oshun                 238258   8:20cv85137   Monsour Law Firm                           MDL Wave 4
Baldwin, Jason                  288364   7:21cv09950   Morgan & Morgan                            MDL Wave 4
Barber, James Derek             238273   8:20cv86182   Morgan & Morgan                            MDL Wave 4
Cameron, William Edward         356943   3:22cv02004   Morgan & Morgan                            MDL Wave 4
Fernandez, Sean Paul            191123   8:20cv28674   Morgan & Morgan                            MDL Wave 4
Lamourt Tiru, Natanael          317123   7:21cv34217   Morgan & Morgan                            MDL Wave 4
Monteiro, Pablo                 326978   7:21cv50048   Morgan & Morgan                            MDL Wave 4
Valentin, Edgardo               199921   8:20cv46326   Morgan & Morgan                            MDL Wave 4
Pangan, Brice                   129403   8:20cv35812   Morris Bart, LLC                           MDL Wave 4
Bolivar, Ivan                   52137    7:20cv86873   Mostyn Law                                 MDL Wave 4
Hughes, Lisa                    51787    7:20cv86411   Mostyn Law                                 MDL Wave 4
Lawson, Chris                   51614    7:20cv95721   Mostyn Law                                 MDL Wave 4
Nobles, Shaquilla               326625   7:21cv51884   Mostyn Law                                 MDL Wave 4
Adams, Cody Zane Mitchell       18133    7:20cv83052   Murphy Law Firm                            MDL Wave 4
Fluitt, Herman                  18127    7:20cv83043   Murphy Law Firm                            MDL Wave 4
Jackson, Robert Paul            182283   8:20cv36579   Murphy Law Firm                            MDL Wave 4
Macias, Ivan                    18112    7:20cv95923   Murphy Law Firm                            MDL Wave 4
Wilburn, Michael David          17185    7:20cv99252   Murphy Law Firm                            MDL Wave 4
Williams, Cody Lynn             17603    7:20cv99560   Murphy Law Firm                            MDL Wave 4
Chandler, Steven James          306059   7:21cv25625   Nabers Law Firm, PLLC                      MDL Wave 4
Hayden, Steven                  243978   8:20cv89460   Nabers Law Firm, PLLC                      MDL Wave 4
Herbert, Cameron D.             318199   7:21cv35116   Nabers Law Firm, PLLC                      MDL Wave 4
Lairmore, Terrance Richard      322752   7:21cv42987   Nabers Law Firm, PLLC                      MDL Wave 4
Lopez, Franz                    304612   7:21cv25518   Nabers Law Firm, PLLC                      MDL Wave 4
Mcclain, Daumonic Dean          297548   7:21cv15173   Nabers Law Firm, PLLC                      MDL Wave 4
Monterrosa, Jorge               297622   7:21cv15315   Nabers Law Firm, PLLC                      MDL Wave 4
Shadley, Jason                  322995   7:21cv43664   Nabers Law Firm, PLLC                      MDL Wave 4
Sykes, Ron                      298204   7:21cv16136   Nabers Law Firm, PLLC                      MDL Wave 4
Unger, William R.               280305   7:21cv02808   Nabers Law Firm, PLLC                      MDL Wave 4
Marshall, Paul                  213255   8:20cv86543   Nabors Law Firm                            MDL Wave 4
Usher, Jessica                  194354   8:20cv40185   Napoli Shkolnik PLLC                       MDL Wave 4
Anderson, Jeffrey               29529    7:20cv42279   OnderLaw, LLC                              MDL Wave 4
Evans, Jimmie                   29924    8:20cv31865   OnderLaw, LLC                              MDL Wave 4
Hernandez, Faustino Efrain      280091   7:21cv02597   OnderLaw, LLC                              MDL Wave 4
Panella, Trey                   160124   8:20cv54021   OnderLaw, LLC                              MDL Wave 4
Rivera, Victor                  280103   7:21cv02609   OnderLaw, LLC                              MDL Wave 4
Vining, Ian                     31022    8:20cv33347   OnderLaw, LLC                              MDL Wave 4
Yingling, Landon                31127    7:20cv93277   OnderLaw, LLC                              MDL Wave 4
Harper, Joshua                  350563   3:21cv01372   Parafinczuk Wolf, P.A.                     MDL Wave 4
Arias, Frank                    103618   7:20cv68464   Parker Waichman LLP                        MDL Wave 4
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                             Wave List Group
Burnette, Cary James            103911   7:20cv69230   Parker Waichman LLP                            MDL Wave 4
Caldwell, Luther Eugene         103935   7:20cv69290   Parker Waichman LLP                            MDL Wave 4
Cerino, Hephzibah Gladys        103996   7:20cv69416   Parker Waichman LLP                            MDL Wave 4
Duncan, Emmanuel Thomas         104285   7:20cv69620   Parker Waichman LLP                            MDL Wave 4
Figueroa-Ortiz, Pablo Antonio   104391   7:20cv69930   Parker Waichman LLP                            MDL Wave 4
Holland, Derrick Matthew        104796   7:20cv75100   Parker Waichman LLP                            MDL Wave 4
Jones, Brandon Dale             104925   7:20cv76758   Parker Waichman LLP                            MDL Wave 4
Kessel, Brett Richard           104981   7:20cv77018   Parker Waichman LLP                            MDL Wave 4
Stariha, Rodney Joseph          106062   7:20cv72038   Parker Waichman LLP                            MDL Wave 4
White, Jeffery Lynn             106387   7:20cv73796   Parker Waichman LLP                            MDL Wave 4
Baker, Scott                    194382   3:19cv00899   Paul LLP                                       MDL Wave 4
Baker, Timothy                  161502   8:20cv15153   Paul LLP                                       MDL Wave 4
Ocon, Walter                    52729    7:20cv67539   Peterson & Associates, P.C.                    MDL Wave 4
Auld, Donavin                   27245    7:20cv02922   Pulaski Law Firm, PLLC                         MDL Wave 4
Biggs, Jason                    158781   7:20cv66484   Pulaski Law Firm, PLLC                         MDL Wave 4
Clark, Shawn                    158364   8:20cv43669   Pulaski Law Firm, PLLC                         MDL Wave 4
Clifford, Kenneth               18735    7:20cv04468   Pulaski Law Firm, PLLC                         MDL Wave 4
Cromartie, Lyndol               19103    7:20cv08538   Pulaski Law Firm, PLLC                         MDL Wave 4
Dellinger, Travis               18745    7:20cv04480   Pulaski Law Firm, PLLC                         MDL Wave 4
Fuston, Paul                    191673   8:20cv39244   Pulaski Law Firm, PLLC                         MDL Wave 4
Johnson, James A.               18773    7:20cv04498   Pulaski Law Firm, PLLC                         MDL Wave 4
Jones, Daniel                   26336    7:20cv14970   Pulaski Law Firm, PLLC                         MDL Wave 4
Mize, Kevin                     28225    7:20cv03832   Pulaski Law Firm, PLLC                         MDL Wave 4
Pulliam, Chris                  28742    7:20cv05655   Pulaski Law Firm, PLLC                         MDL Wave 4
Rooks, Aaron                    216760   8:20cv65029   Pulaski Law Firm, PLLC                         MDL Wave 4
Self, Todd                      266600   9:20cv06574   Pulaski Law Firm, PLLC                         MDL Wave 4
Tennessen, James                15879    7:20cv04050   Pulaski Law Firm, PLLC                         MDL Wave 4
Velasco, Francisco              158887   7:20cv66618   Pulaski Law Firm, PLLC                         MDL Wave 4
Worker, Joseph                  26662    7:21cv68261   Pulaski Law Firm, PLLC                         MDL Wave 4
Fish, Thomas Howard             276091   7:21cv00007   Quinn Emanuel Urquhart & Sullivan LLP          MDL Wave 4
Ramsey, Lavedris Jerome         367915   3:22cv12188   Quinn Emanuel Urquhart & Sullivan LLP          MDL Wave 4
Rogers, Christopher Ryan        370546   3:22cv15251   Quinn Emanuel Urquhart & Sullivan LLP          MDL Wave 4
Sims, Mason Paul                368901   3:22cv14220   Quinn Emanuel Urquhart & Sullivan LLP          MDL Wave 4
Castello, Gary                   5644    7:20cv01097   Reich and Binstock, LLP                        MDL Wave 4
Gaskins, Andrew                  5762    3:19cv02015   Reich and Binstock, LLP                        MDL Wave 4
Sylvester, Dashmond              6171    7:20cv03221   Reich and Binstock, LLP                        MDL Wave 4
Christian, Thomas               92304    7:20cv56211   Robinson Calcagnie, Inc.                       MDL Wave 4
Dix, Adam                       207610   8:20cv51809   Robinson Calcagnie, Inc.                       MDL Wave 4
Godfrey, Thomas                 92593    7:20cv56857   Robinson Calcagnie, Inc.                       MDL Wave 4
Skinner, Steven T.              94224    7:20cv75739   Rogers, Patrick, Westbrook & Brickman, LLC     MDL Wave 4
Clarke, Shawn A.                276376   9:20cv20241   Rosen Injury Lawyers                           MDL Wave 4
Isom, Brian                     18356    7:20cv44842   Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    MDL Wave 4
Redd, Robert                    350593   3:21cv01323   Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    MDL Wave 4
Carmack, Rachel                 13965    8:20cv06123   Searcy Denney Scarola Barnhart and Shipley     MDL Wave 4
Martinez, Ceasar L.             13985    8:20cv05297   Searcy Denney Scarola Barnhart and Shipley     MDL Wave 4
Bernard, Sarah                  220395   8:20cv70450   Seeger Weiss LLP                               MDL Wave 4
Case, Colt                      202420   8:20cv44807   Seeger Weiss LLP                               MDL Wave 4
Cooper, Paul William            301751   7:21cv22423   Seeger Weiss LLP                               MDL Wave 4
Davis, Ryan                     301719   7:21cv22391   Seeger Weiss LLP                               MDL Wave 4
Fryer, Jimmy Dean               220434   8:20cv70503   Seeger Weiss LLP                               MDL Wave 4
Gifford, Daniel                 267717   9:20cv10008   Seeger Weiss LLP                               MDL Wave 4
Hamby, William                  247748   8:20cv96497   Seeger Weiss LLP                               MDL Wave 4
Hayes, Charles L.               289025   7:21cv11428   Seeger Weiss LLP                               MDL Wave 4
Ingram, Ryan                    267730   9:20cv10021   Seeger Weiss LLP                               MDL Wave 4
Inzar, Al-Farad                 81660    3:19cv01191   Seeger Weiss LLP                               MDL Wave 4
Jones, Lewis                    182800   8:20cv05081   Seeger Weiss LLP                               MDL Wave 4
Kitchener, Kyle                 182987   8:20cv36797   Seeger Weiss LLP                               MDL Wave 4
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                         Wave List Group
Lomas, Jesse                    255161   9:20cv00381   Seeger Weiss LLP                           MDL Wave 4
Mills, Lillian                  202382   8:20cv44721   Seeger Weiss LLP                           MDL Wave 4
Price, Ronald                   188802   7:20cv96821   Seeger Weiss LLP                           MDL Wave 4
Whitaker, Lance                 82936    7:20cv17542   Seeger Weiss LLP                           MDL Wave 4
Ball, Toni                      16323    7:20cv49675   Simmons Hanly Conroy                       MDL Wave 4
Brasfield, Steven               165471   7:20cv69092   Simmons Hanly Conroy                       MDL Wave 4
Chance, Michael                 16229    7:20cv49318   Simmons Hanly Conroy                       MDL Wave 4
Green, Daniel                   16172    7:20cv49122   Simmons Hanly Conroy                       MDL Wave 4
Pape, Randall                   16328    7:20cv49704   Simmons Hanly Conroy                       MDL Wave 4
Pretty Boy, Jon                 202596   8:20cv31735   Simmons Hanly Conroy                       MDL Wave 4
Shaw, Zachary                   165578   7:20cv62677   Simmons Hanly Conroy                       MDL Wave 4
Baylor, Don                     178220   3:20cv03683   Singleton Schreiber, LLP                   MDL Wave 4
Benoit, Chris Kyu               178234   3:20cv03708   Singleton Schreiber, LLP                   MDL Wave 4
Cooper, Woodrow Wilson          178399   3:20cv04311   Singleton Schreiber, LLP                   MDL Wave 4
Powell, Michael                 179180   3:20cv05241   Singleton Schreiber, LLP                   MDL Wave 4
Whitler, Johnathan              194336   8:20cv32156   SL Chapman LLC                             MDL Wave 4
Bloom, Albert                   331040   7:21cv48068   Slater Slater Schulman LLP                 MDL Wave 4
Carver, Ryan Nicholas           127800   8:20cv18423   Smith, Gildea & Schmidt, LLC               MDL Wave 4
Adeola, Abiodun                 307234   7:21cv26108   Sommers Schwartz                           MDL Wave 4
Baker, John                      6429    7:20cv00154   Stueve Siegel Hanson                       MDL Wave 4
Hesler, Larry                    7053    7:20cv46028   Stueve Siegel Hanson                       MDL Wave 4
Lusignan, Elizabeth              7353    7:20cv46834   Stueve Siegel Hanson                       MDL Wave 4
Tagum, Anthony                   7961    7:20cv48118   Stueve Siegel Hanson                       MDL Wave 4
Moley, Patrick                  53535    8:20cv04460   Sullivan & Brill, LLP                      MDL Wave 4
Hawkins, Paul                   53591    7:20cv88222   Summers & Johnson, P.C.                    MDL Wave 4
Green, Bobby                    333488   7:21cv48615   Taylor Martino, P.C.                       MDL Wave 4
Anderson, Sheldon               333678   7:21cv54247   The Carlson Law Firm                       MDL Wave 4
Bowling, Stephen                333714   7:21cv54706   The Carlson Law Firm                       MDL Wave 4
Neipert, Lester                 267320   9:20cv16555   The Carlson Law Firm                       MDL Wave 4
Washington Rogers, Jasmine      276665   7:21cv04815   The Carlson Law Firm                       MDL Wave 4
Reed, Anthony                   14291    8:20cv16951   The Cochran Firm - Dothan                  MDL Wave 4
De La Victoria, Gustavo         244764   8:20cv92597   The DiLorenzo Law Firm, LLC                MDL Wave 4
Duff, Eugene                    128097   8:20cv20378   The DiLorenzo Law Firm, LLC                MDL Wave 4
Presley, Howard                 128143   8:20cv20451   The DiLorenzo Law Firm, LLC                MDL Wave 4
Barclay, Ali-Andro              169500   8:20cv18397   The Ferraro Law Firm                       MDL Wave 4
Brown, Tony                     56343    7:20cv07349   The Gori Law Firm, P.C.                    MDL Wave 4
Centineo, Dominick              59618    7:20cv08998   The Gori Law Firm, P.C.                    MDL Wave 4
Colbert, Immanuel               58716    7:20cv11019   The Gori Law Firm, P.C.                    MDL Wave 4
Duris, Mark                     54257    7:20cv05898   The Gori Law Firm, P.C.                    MDL Wave 4
Eckert, David                   54190    7:20cv05591   The Gori Law Firm, P.C.                    MDL Wave 4
Hawkins, Donald                 59311    7:20cv08543   The Gori Law Firm, P.C.                    MDL Wave 4
King, Ayeshah                   58108    7:20cv71211   The Gori Law Firm, P.C.                    MDL Wave 4
Lewis, Connor                   47216    7:20cv07415   The Gori Law Firm, P.C.                    MDL Wave 4
Moses, Johnny                   47526    7:20cv08025   The Gori Law Firm, P.C.                    MDL Wave 4
Ramos, Eric                     343651   7:21cv63103   The Gori Law Firm, P.C.                    MDL Wave 4
Rothermel, Andrew J.            219644   8:20cv60887   The Gori Law Firm, P.C.                    MDL Wave 4
Salazar, Eric M.                308583   7:21cv26734   The Gori Law Firm, P.C.                    MDL Wave 4
Schatz, Matthew D.              59482    7:20cv08939   The Gori Law Firm, P.C.                    MDL Wave 4
Demaris, Rodney                 93512    7:20cv94737   The Kuykendall Group LLc                   MDL Wave 4
German, Patrick                 317521   7:21cv31210   The Kuykendall Group LLc                   MDL Wave 4
Hill, Kenneth Joshua            325346   7:21cv44778   The Kuykendall Group LLc                   MDL Wave 4
Kendall, Sean                   317531   7:21cv31220   The Kuykendall Group LLc                   MDL Wave 4
Kuchling, William               325211   7:21cv44643   The Kuykendall Group LLc                   MDL Wave 4
Manning, William                289251   7:21cv10223   The Kuykendall Group LLc                   MDL Wave 4
Salas, Annette                  267480   9:20cv07257   The Kuykendall Group LLc                   MDL Wave 4
Borja, Lawrence                 48982    7:20cv04851   The Lanier Law Firm                        MDL Wave 4
Smith, Kenneth                  49067    7:20cv04903   The Lanier Law Firm                        MDL Wave 4
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                         Wave List Group
Bley, Karl Douglas              220578   8:20cv69667   The Law Office of L. Paul Mankin           MDL Wave 4
Cowell, Christopher Aaron       289111   7:21cv10083   The Law Office of L. Paul Mankin           MDL Wave 4
Saintfleur, Guinald             220838   8:20cv70274   The Law Office of L. Paul Mankin           MDL Wave 4
Llano, Josh                     188606   8:20cv56289   The Murray Law Firm                        MDL Wave 4
Vlacancich, Krysten             191273   8:20cv32106   The Murray Law Firm                        MDL Wave 4
Austin, Matthew                 14407    8:20cv18549   The Simon Law Firm, P.C.                   MDL Wave 4
England, Stacy Dane             181927   7:20cv96751   The Simon Law Firm, P.C.                   MDL Wave 4
Lindley, Rickey                 14594    8:20cv19242   The Simon Law Firm, P.C.                   MDL Wave 4
Perry, Edward                   14630    8:20cv19333   The Simon Law Firm, P.C.                   MDL Wave 4
Best, Joshua                    149343   7:20cv31093   Thomas J. Henry                            MDL Wave 4
Bowling, Austin E.              136153   3:19cv03729   Thomas J. Henry                            MDL Wave 4
Busby, Kenneth                  221300   8:20cv76955   Thomas J. Henry                            MDL Wave 4
Coleman, Cameron                208463   8:20cv53491   Thomas J. Henry                            MDL Wave 4
Collins, Joe                    149675   7:20cv31712   Thomas J. Henry                            MDL Wave 4
Davidson, Rodney                204383   8:20cv44973   Thomas J. Henry                            MDL Wave 4
Fraser, Robert                  150082   7:20cv31719   Thomas J. Henry                            MDL Wave 4
Gann, Ronny                     136239   3:19cv01823   Thomas J. Henry                            MDL Wave 4
Gill, Cyrus                     211902   8:20cv58937   Thomas J. Henry                            MDL Wave 4
Hayden, Ty                      150398   7:20cv32139   Thomas J. Henry                            MDL Wave 4
Heltman, Jamie                  150414   7:20cv32183   Thomas J. Henry                            MDL Wave 4
Macklin, Erica                  163222   7:20cv36568   Thomas J. Henry                            MDL Wave 4
Montano, Fabian                 209063   8:20cv58276   Thomas J. Henry                            MDL Wave 4
Morgan, Bradley                 204302   8:20cv44875   Thomas J. Henry                            MDL Wave 4
Prown, Frederick                151496   7:20cv33808   Thomas J. Henry                            MDL Wave 4
Quintana, Jorge                 243585   8:20cv86055   Thomas J. Henry                            MDL Wave 4
Rodriguez, Arnoldo              151642   7:20cv34717   Thomas J. Henry                            MDL Wave 4
Stewart, Christopher            221717   8:20cv78314   Thomas J. Henry                            MDL Wave 4
Tonnon, Ryan                    152149   7:20cv34051   Thomas J. Henry                            MDL Wave 4
Williams, Lawrence              173367   7:20cv40112   Thomas J. Henry                            MDL Wave 4
Addison, Steven                 19223    7:20cv83298   Tracey & Fox Law Firm                      MDL Wave 4
Anderson, Thomas                19310    7:20cv83765   Tracey & Fox Law Firm                      MDL Wave 4
Arnaud, Barrett                 322257   7:21cv38463   Tracey & Fox Law Firm                      MDL Wave 4
Babcock, Hunter                 156702   7:20cv98811   Tracey & Fox Law Firm                      MDL Wave 4
Billingsley, Joshua B.          19682    7:20cv84991   Tracey & Fox Law Firm                      MDL Wave 4
Blevins, Russell                19734    7:20cv85233   Tracey & Fox Law Firm                      MDL Wave 4
Carruthers, Timothy             214908   8:20cv61834   Tracey & Fox Law Firm                      MDL Wave 4
Gutierrez, Ricardo              21696    7:20cv93926   Tracey & Fox Law Firm                      MDL Wave 4
Guzman, Federico                184107   8:20cv09160   Tracey & Fox Law Firm                      MDL Wave 4
Heath, Chad M.                  21921    7:20cv93871   Tracey & Fox Law Firm                      MDL Wave 4
Hubrich-Mansell, Sean           193371   8:20cv59301   Tracey & Fox Law Firm                      MDL Wave 4
Hunt, Stacey                    22205    7:20cv86410   Tracey & Fox Law Firm                      MDL Wave 4
Hutchinson, Edward              210938   8:20cv56598   Tracey & Fox Law Firm                      MDL Wave 4
Lira, Carrie                    184365   8:20cv10577   Tracey & Fox Law Firm                      MDL Wave 4
Mccullough, Christopher T.      23268    7:20cv90143   Tracey & Fox Law Firm                      MDL Wave 4
Mcferrin, David                 215365   8:20cv62055   Tracey & Fox Law Firm                      MDL Wave 4
Mickel, Jimmy                   352689   3:21cv01848   Tracey & Fox Law Firm                      MDL Wave 4
Ropel, Andrzej                  24675    7:20cv92290   Tracey & Fox Law Firm                      MDL Wave 4
Stamper, Jamie                  239524   8:20cv93126   Tracey & Fox Law Firm                      MDL Wave 4
Versandi, Joseph Michael        171514   7:20cv39480   Tracey & Fox Law Firm                      MDL Wave 4
Villalta-Solis, Joshua          207143   8:20cv52041   Tracey & Fox Law Firm                      MDL Wave 4
Watson, Clarence                25903    7:20cv96483   Tracey & Fox Law Firm                      MDL Wave 4
Weilbacher, Benjamin            171256   8:20cv08142   Tracey & Fox Law Firm                      MDL Wave 4
Wishon, Jerid                   352714   3:21cv01908   Tracey & Fox Law Firm                      MDL Wave 4
Wright, Thomas                  194163   8:20cv62202   Tracey & Fox Law Firm                      MDL Wave 4
Banegas, Dennis                 96054    7:20cv34995   Wagstaff & Cartmell, LLP                   MDL Wave 4
Scott, Wendell Gene             96459    7:20cv38331   Wagstaff & Cartmell, LLP                   MDL Wave 4
Villarreal, Daniel               8490    8:20cv17219   Wallace Miller                             MDL Wave 4
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Exhibit 1 to Waves Settlement

Plaintiff Name                   PID        Case No.     Plaintiff Counsel                       Wave List Group
Guillen, David                  141772    3:20cv02330    Watts Guerra                             MDL Wave 4
Hendricks, Rashid               143540    3:20cv01288    Watts Guerra                             MDL Wave 4
Mckinnon, Nathan                143777    3:20cv00094    Watts Guerra                             MDL Wave 4
Perez, Addiel                   141568    3:20cv02342    Watts Guerra                             MDL Wave 4
Quintanilla, Nestor             79046     8:20cv16216    Watts Guerra                             MDL Wave 4
Rivera-Colon, Luis              143961    3:20cv03153    Watts Guerra                             MDL Wave 4
Sais, Albert                    74638     8:20cv24569    Watts Guerra                             MDL Wave 4
Stuarte, Jesse                  75271     8:20cv27474    Watts Guerra                             MDL Wave 4
Wilson, Denis                   141534    3:20cv02431    Watts Guerra                             MDL Wave 4
Abney, Alicia                   120125    7:20cv26358    Weitz & Luxenberg                        MDL Wave 4
Adams, Anthony                  87914     7:20cv18562    Weitz & Luxenberg                        MDL Wave 4
Angius, Jerry A.                118809    7:20cv24774    Weitz & Luxenberg                        MDL Wave 4
Bascom, Thomas Deandre          121338    7:20cv28240    Weitz & Luxenberg                        MDL Wave 4
Berry, Christopher L.           120492    7:20cv27539    Weitz & Luxenberg                        MDL Wave 4
Bethea, Tommy Lee               119376   7:21-cv-43331   Weitz & Luxenberg                        MDL Wave 4
Bolt, Daniel                    122732    7:20cv34599    Weitz & Luxenberg                        MDL Wave 4
Brown, Kelly                    118997    7:20cv26092    Weitz & Luxenberg                        MDL Wave 4
Carambas, Jimer A.              122153    7:20cv29259    Weitz & Luxenberg                        MDL Wave 4
Creel, Michael                  119690    7:21cv43568    Weitz & Luxenberg                        MDL Wave 4
Davis, Keri L.                  120209    7:20cv26668    Weitz & Luxenberg                        MDL Wave 4
Desouza, Horacio                121742    7:20cv29168    Weitz & Luxenberg                        MDL Wave 4
Ferrell, Gloria A.              120924    7:20cv27837    Weitz & Luxenberg                        MDL Wave 4
French, Derrek Scott            122584    7:20cv33668    Weitz & Luxenberg                        MDL Wave 4
Fry, Justin Douglas             118912    7:20cv25689    Weitz & Luxenberg                        MDL Wave 4
Hammond, Robert                 121859    7:20cv27619    Weitz & Luxenberg                        MDL Wave 4
Harris, Zechariah Taylor        119768    7:20cv24196    Weitz & Luxenberg                        MDL Wave 4
Huntress, Bruce A.              118774    7:20cv24498    Weitz & Luxenberg                        MDL Wave 4
Innerarity, Evan                182149    7:20cv86019    Weitz & Luxenberg                        MDL Wave 4
King-Villanueva, Jin A.         122553    7:20cv33479    Weitz & Luxenberg                        MDL Wave 4
Kirkland, Natalie               88124     7:20cv19537    Weitz & Luxenberg                        MDL Wave 4
Lamp, Benjamin                  87829     7:20cv18194    Weitz & Luxenberg                        MDL Wave 4
Martinez, Roderes               120168    7:20cv26427    Weitz & Luxenberg                        MDL Wave 4
Mcandrew, Anthony Joseph        119635    7:21cv43946    Weitz & Luxenberg                        MDL Wave 4
Mielke, Cameron Charles         121347    7:20cv28286    Weitz & Luxenberg                        MDL Wave 4
Miller, Nicholas W.             120052    7:20cv26322    Weitz & Luxenberg                        MDL Wave 4
Montfort, William               218452    8:20cv71381    Weitz & Luxenberg                        MDL Wave 4
Perez, Chester                  123884    7:20cv30285    Weitz & Luxenberg                        MDL Wave 4
Phelps, James T.                88197     7:20cv19638    Weitz & Luxenberg                        MDL Wave 4
Ramirez, Romel H.               198102    8:20cv62855    Weitz & Luxenberg                        MDL Wave 4
Ransom, Cody                    120473    7:20cv27512    Weitz & Luxenberg                        MDL Wave 4
Rodgers, Adrian D.              121400    7:20cv28398    Weitz & Luxenberg                        MDL Wave 4
Rollins, Michael Timothy        122705    7:20cv34441    Weitz & Luxenberg                        MDL Wave 4
Romar, Alejandro D.             164001    7:20cv36876    Weitz & Luxenberg                        MDL Wave 4
Scheu, James Robert             120406    7:20cv27371    Weitz & Luxenberg                        MDL Wave 4
Smith, Ervin L.                 87909     7:20cv18546    Weitz & Luxenberg                        MDL Wave 4
Stewart, Brendan                120648    7:20cv27213    Weitz & Luxenberg                        MDL Wave 4
Tanner, Christopher N.          119979    7:20cv24402    Weitz & Luxenberg                        MDL Wave 4
Tubbs, Jerry                    123363    7:20cv29200    Weitz & Luxenberg                        MDL Wave 4
Uhrhammer, Cody Lee             120751    7:20cv27705    Weitz & Luxenberg                        MDL Wave 4
Vardon-Smith, Virginia          118824    7:20cv24832    Weitz & Luxenberg                        MDL Wave 4
Wahner, Daniel                  119658    7:21cv43957    Weitz & Luxenberg                        MDL Wave 4
Williams, Brian                 119834    7:20cv24264    Weitz & Luxenberg                        MDL Wave 4
Alsadi, Yousef                   4099     7:20cv43219    Weller, Green, Toups & Terrell, LLP      MDL Wave 4
Dean, James                      4213     7:20cv43214    Weller, Green, Toups & Terrell, LLP      MDL Wave 4
Krause, David                   156139    3:22cv08175    Wendt Law Firm, PC                       MDL Wave 4
Crome, Michael David            243568    8:20cv92430    Zoll & Kranz, LLC                        MDL Wave 4
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Exhibit 1 to Waves Settlement

Plaintiff Name                  PID      Case No.    Plaintiff Counsel                                      Wave List Group
Alger, Michael                        27-CV-20-12019 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Beal, Richard                         27-CV-20-12019 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Castellano, Art                       27-CV-20-15501 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Clayton, Anthony                      27-CV-20-16708 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Cook, Roger                           27-CV-20-11197 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Cooley, Bobby                         27-CV-21-03841 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Dean, Robert                          27-CV-20-12019 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Franklin, Don                         27-CV-21-00511 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Graves, Christopher                   27-CV-19-19916 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Johnson, Paul                         27-CV-20-10633 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

LeBlanc, Ronald                       27-CV-20-13524 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Mendoza, Rosendo                      27-CV-20-13524 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Moreno, Larry                         27-CV-21-03846 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Nute, Mark                            27-CV-20-10633 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Perry, James                            3:23cv9990    Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben      MN State

Potter, Timothy                       27-CV-20-15501 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Provow, Wendell                       27-CV-20-12628 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Purtee, Thomas                        27-CV-20-12628 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Ravenscraft, Jeffrey                  27-CV-20-13524 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Rouse, Ronda                          27-CV-20-15501 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Roush, Marc                           27-CV-20-11197 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Shoemake, Thomas                      27-CV-20-10633 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Sizemore, Johnny                      27-CV-20-11197 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Vargas, Manuel                        27-CV-21-03846 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Watts, Randy                          27-CV-20-10633 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Wilkerson, William                    27-CV-21-03826 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State
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                                       COMBAT ARMS REGISTRATION FORM
                                              FOR WAVE CASES
                                                   INSTRUCTIONS
This Registration Form has been prepared in accordance with the Combat Arms Settlement Agreement for Wave Cases
Master Settlement Agreement III (“Wave Settlement”). The parties to the Wave Settlement and CAE Counsel believe
the settlement is in the best interests of the Wave Case Claimants and CAE counsel because the settlement will bring
finality to the litigation and permit the Wave Case Claimants to receive compensation for their alleged injuries.
However, to access the benefits of the Wave Settlement, Wave Case Claimants must complete and submit a Registration
Form, including all required signatures and attachments, with the Settlement Administrator.

As a Wave Case Claimant, you have the option to enroll in one of two Wave Settlement Program Options as follows:
(1) Expedited Payment Option, or (2) Full Evaluation Deferred Payment Program. If you Register for either Settlement
Program Option, you are choosing to stop all litigation and receive compensation pursuant to the Wave Settlement. If
you do not want to receive any compensation pursuant to the Wave Settlement and the two Wave Cases Settlement
Program Options, you have the option to not Register and choose to become a Litigating Plaintiff. If you choose to
become a Litigating Plaintiff, you are not entitled to any payment pursuant to the Wave Settlement and must timely
comply with all prior and future Court orders in connection with ongoing litigation.

Once completed and signed by the Wave Case Claimant, the Registration Form (together with all required attachments)
for a Wave Case Claimant who is represented by CAE Counsel must be submitted to the Settlement Administrator.

Pro se Wave Case Claimants shall complete and sign the Registration Form and must submit the completed
Registration Form, together with all required attachments, to the Settlement Administrator themselves.

The deadline for submission of Registration Forms is the Initial Wave Cases Registration Date. Wave Case Claimants
who have not submitted a Registration Form by the Initial Wave Cases Registration Date shall not be eligible to
participate in the Settlement and will have their case dismissed for failure to comply with a Court order. Wave Case
Claimants that have submitted a Registration Form and have not elected to participate in the Wave Case Settlement
Program by the Final Wave Cases Registration Date shall not be eligible to participate in the Wave Case Settlement
unless Defendants, in their sole discretion, agree to waive this requirement on a case-by-case basis. Wave Case
Claimants who do not register or do not participate and who fail to comply with the orders of the MDL Court or the
MN Court shall have their claims dismissed with prejudice.

                      I.A. WAVE CASE CLAIMANT IDENTIFYING INFORMATION

                          First                      Middle                Last                Suffix
 1. Name of Wave
    Case Claimant



 2. Social Security        |       |   |   |-|   |       |-|   |   |   |     |    3. Date of              /         /
                                                                                                        (Month/Day/Year)
    Number                                                                        Birth
                          Street

 4. Permanent
    Address               City                                                                 State          Zip




                                                                                                                           1
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5. Telephone          (            )    _ _-          ___ _        6. Email
   Number                                                            Address

                                       First                                   Middle               Last

7. Any other names by
   which the Wave Case                 First                                   Middle               Last
   Claimant has been
   known, including but                First                                   Middle               Last
   not limited to maiden
   name
                                                   I.B. CAE COUNSEL INFORMATION
If the Wave Case Claimant is represented by counsel, the following information must be provided concerning
 the Wave Case Claimant’s counsel. If the Wave Case Claimant is not represented by counsel (pro se), skip to
                                               Section I.C.
                          First                           Middle               Last                 Suffix
1. Attorney Name

                          Law Firm
2. Firm Name
                          Street

3. Firm Address
                          City                                                 State    Zip         Country




4. Firm                                                                        5. Firm Fax
   Telephone                       (           )                                                     (        )
                                                                                  Number
   Number                                                                                                     ________

6. Email Address


                                                      I.C. CASE INFORMATION
   If a lawsuit has previously been filed by or on behalf of the Wave Case Claimant provide the following
          information about the case, even if the case was subsequently dismissed without prejudice.

                             ☐ MDL Court
1. Court/
   Jurisdiction              ☐ MN Court (the Minnesota State Actions)
                             ☐ Other ____________________________________________________

                                                        ______________________________________ v.
2. Case Caption


3. Case Number


                                                                                                                         2
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  4. MDL Centrality
      Plaintiff ID
      Number
(if ever a registered
claimant in the MDL)


 5. Most Recent           ☐ Pending/Active Case
    Case Status
                          ☐ Dismissed Without Prejudice


 6. All Previous
    Case Numbers

  7. All Previous
      MDL Centrality
      Plaintiff ID
      Numbers
(if ever a registered
claimant in the MDL)

          II. PERSONAL REPRESENTATIVE INFORMATION FOR DECEASED, MINOR, OR
                         INCAPACITATED WAVE CASE CLAIMANTS
 1. Is this Registration Form being completed on behalf of the Wave Case Claimant or the Wave Case Claimant’s
    estate by a duly and lawfully appointed Personal Representative?
                                                   YES                    NO
                                If YES, complete this Section II. If NO, skip to Section III.



2. Representative’s            Spouse                Parent                    Child                Sibling
   Relationship to
   the Wave Case               Other _________________________
   Claimant (check                             (specify)
   all that apply)


 3. Reason for             ☐ Wave Case Claimant is Deceased              4. Wave Case
    Personal               ☐ Wave Case Claimant is a Minor                  Claimant’s                 /       /
    Representative                                                          Date of Death
                           ☐ Wave Case Claimant is Incapacitated            (if applicable)     (Month/Day/Year)

                           ☐ Other: __________________
                                        (specify)

 5. Representative’s
    Authority to Act on        Administrator               Executor         Conservator          Guardian
                                                                                                             3
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   Behalf of the Wave                     Other ________________________
   Case Claimant or                                       (specify)
   His/Her Estate
                             Last                                                         First                  Middle
6. Representative’s
   Name
                             Street


7. Representative’s
   Address                   City                                             State       Zip          Country




8. Representative’s                                                           9. Representative’s
   Telephone                   (            )         -
                                                                                 Email Address
   Number


10. Representative’s                                                                      11. Representative’s
                                                                                                                          /      /
    Social Security      |            |     |   |-|       |   |-|     |   |       |___|       Date of Birth
    Number                                                                                                         (Month/Day/Year)


                           III. CLAIM INFORMATION
    ELECTION REGARDING PARTICIPATION IN THE CAE WAVE SETTLEMENT PROGRAM

Each Wave Case Claimant (or a Representative acting on the Wave Case Claimant’s behalf) must elect whether
he/she will participate in the Expedited Payment Program, the Deferred Payment Program, or will not participate
in the Wave Settlement.

Before making the election below, the Wave Case Claimant must carefully read the separate Settlement
Program Description and Disclosure. The Settlement Program Description and Disclosure provides you with
information that you need to consider prior to making the election below. Failure to carefully review the
Settlement Program Description and Disclosure may result in you giving up valuable legal rights.

I hereby make the following election:

        The Wave Case Claimant elects to participate in the EXPEDITED PAYMENT PROGRAM.


              [Language to be inserted regarding the Claimants expected payment, the timing of the
              payment, and the basis of the payment. Additional language to be inserted giving Claimants
              the opportunity to supplement their claim file with records beyond what the Administrator
              identifies as the basis for the expected payment. ]



       The Wave Case Claimant elects to participate in the DEFERRED PAYMENT PROGRAM.
              Should you elect to participate in the Deferred Payment Program, you will_[insert comments about
              registration                       payment                     and                     program
              application]_____________________________________________________________.
                                                                                                                               4
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          The Wave Case Claimant elects NOT to participate in the Wave Cases Settlement Program and
          instead chooses to continue as a LITIGATING PLAINTIFF.
                By selecting this option, the Wave Case Claimant understands and agrees that he/she will not
                receive any payment under the Wave Case Settlement either now or in the future and will be
                required to continue litigating his/her claims against Defendants under strict requirements imposed
                by the Court, with no guarantee of future recovery. By selecting this option, the Wave Case
                Claimant further certifies as follows: (1) that he/she has personally read each and every order of
                the MDL Court and MN Court applicable to Litigating Plaintiffs before selecting this option, (2)
                that he/she has consulted with or had the opportunity to consult with legal counsel of his/her
                choosing regarding his/her deadlines, responsibilities, and obligations under the MDL Court and
                MN Court orders applicable to Litigating Plaintiffs before selecting this option, and (3) that he/she
                will comply with each and every order of the MDL Court and MN Court applicable to Litigating
                Plaintiffs. Both the MDL Court and the MN Court have made clear that failure to timely comply
                with each and every one of their orders will result in the dismissal of your case with prejudice with
                no opportunity to make any recovery.

  If you elected to participate in the Expedited Payment Program or the Deferred Payment Program, please continue
  to Section IV. If you elected NOT to participate in the Wave Cases Settlement Program and instead chose to
  continue as a Litigating Plaintiff, skip to Section VII.




                                  IV. REGISTRATION FORM MATERIALS

In accordance with Section 6 of the Wave Case Settlement, to be complete, a Registration Form must be accompanied
by the following required attachments. Confirm that the following materials are being submitted with this Registration
Form by checking the box(es) below:

            A completed and signed Registration Form.

            A full and complete Release of Released Parties, in the form set forth in Exhibit __ to the Wave Case
            Settlement, to (without limitation) release, indemnify, and hold harmless each Released Party. The Release
            must be properly and fully executed by the Wave Case Claimant (in addition to being executed by CAE
            Counsel as specified therein). If the Release is signed by a duly and lawfully appointed representative of
            a Wave Case Claimant, said representative must indicate on each document his/her/their relationship to
            the Wave Case Claimant and the authority upon which he/she/they is permitted to sign the document on
            the Wave Case Claimant’s behalf (e.g., guardian, executor or administrator of the Estate of Wave Case
            Claimant, etc.) and attach proper documentation (e.g., power of attorney, letters of administration)
            authorizing him/her/them to act in this representative capacity.

            A stipulated Dismissal with Prejudice, in the form set forth in Exhibit __ to the Wave Case Settlement,
            which shall be filed in the appropriate court after the Wave Case Participation Level is satisfied.




                                                                                                                   5
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Releases and Dismissals with Prejudice provided as part of the registration process shall be held in escrow by
the Settlement Administrator, until the Wave Participation Level is satisfied. When the Participation Level is
satisfied, such Releases shall be provided to Defendants, and the Dismissals with Prejudice shall be filed jointly
by both parties.

                   V. WAVE CASE CLAIMANT’S MILITARY SERVICE AND PRODUCT USE

 1.       Did the Wave Case Claimant serve in the United States military?
              YES
              NO
          If YES, indicate below the branch(es) of the United States military in which you served:
             Army          Marine Corps        Navy            Air Force        Space Force          Coast Guard
             National Guard
 2.       State below the dates during which you used the dual-ended Combat Arms Earplug as a hearing protection
          device.


          Start Date: ______________________________             End Date: _______________________________
                           (Month & Year)                                          (Month & Year)
      .



 3.       List below every U.S. state or territory in which you have resided since you first began using the dual-ended
          Combat Arms Earplug:
          ______________________________________                    ______________________________________
          ______________________________________                    ______________________________________
          ______________________________________                    ______________________________________


 4.




                                        VI. BANKRUPTCY INFORMATION




                                                                                                                    6
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1. Has the Wave Case Claimant declared
   bankruptcy or sought bankruptcy                                              If YES, complete items 2-4.
   protection at any time since the date the           YES            NO        If NO, skip to Section VII.
   Wave Case Claimant contacted an
   attorney regarding his/her use of the
   CAE?
   OR
   Is there a bankruptcy action currently
   pending in which you are seeking
   bankruptcy protection?
2. Bankruptcy Court/Jurisdiction


3. Case Number                                                   4. Date                        /        /
                                                                    Filed                (month) ( day) ( year)

                                 VII. CERTIFICATION AND SIGNATURE
   This Registration Form must be signed and dated by the Wave Case Claimant (or his/her Representative).
  The electronic signature of a Wave Case Claimant (or his/her Representative) is sufficient and will be accepted.

By signing below, I declare under penalty of perjury subject to 28 U.S.C. § 1746 that all of the information
provided in this Registration Form is true and correct.


I understand and agree that the submission of a Release is irrevocable. No Wave Case Claimant may under any
circumstances or reason withdraw a Registration Form electing to participate in the Wave Cases Settlement,
request the return of his/her Release or Dismissal with Prejudice, or otherwise withdraw from the Settlement,
absent consent of Defendants in their sole discretion. By submitting a Registration Form, CAE counsel, and the
Wave Case Claimant covered by such Registration Form, shall be deemed to have agreed to be bound by all of
the terms and conditions of this Settlement. Further, the submission of a Registration Form, CAE Counsel, and
the Eligible Claimant shall affirmatively accept and acknowledge the jurisdiction of the Special Master and the
MDL Court (or, if the MDL Court does not have subject matter jurisdiction, to the jurisdiction of the Minnesota
State Court) for all matters and decisions related to the Wave Settlement.



Signature of                                                   Executed on
Wave Case                                                      Date                             /        /
Claimant (or                                                                              (month) ( day) ( year)
Representative)

                   First                       MI              Last
Printed Name




                                                                                                                   7
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                                                   EXHBIT 3

                                      RELEASE OF ALL CLAIMS

I, the undersigned Releasor, am a plaintiff, tolling agreement claimant, or other claimant in the 3M
Combat Arms Version 2 Earplug Products Liability Litigation. I have chosen to participate in the
Combat Arms Version 2 Settlement Program 1 set forth in the Master Settlement Agreement dated
as of August 29, 2023. I have received disclosures from my counsel and the Combat Arms
Settlement Administrator regarding the allocation of the Combat Arms Settlement, which enables
me to estimate my settlement offer amount. I understand that along with this Release I am
submitting a Registration Form to the Combat Arms Settlement Administrator. I understand that
the terms of the Settlement and this Release govern the resolution of my claim. I understand and
agree that this Release shall become effective concurrent with Defendants’ first payment under the
Settlement Agreement. I understand that 3M’s Initial Settlement Amount shall be held in trust for
purposes of making payments to the participants in the Settlement Program. I understand that at
the time determined by the Master Settlement Agreement if I am represented by counsel, my
counsel will execute a stipulated dismissal with prejudice dismissing all pending Released Claims
I have. Once effective, this Release shall release any and all Released Claims I and the other
Releasing Parties have, or may have in the future, whether known or unknown, against the
Released Parties.

Accordingly, in consideration for the Released Parties’ agreement to establish the Combat Arms
Settlement Program, the significant expenses being incurred by 3M in connection with the Combat
Arms Settlement Program, and my Individual Plaintiff Settlement Payment, I hereby give and
make the following Release. This Release is also entered into by any Derivative Claimant who
executes a signature page hereto, in which case the agreement of such Derivative Claimant set
forth on its signature page is incorporated in, and is part of, this Release. By signing this Release,
both I and any such Derivative Claimant understand and acknowledge that although I have
received disclosure documents regarding the allocation of the Combat Arms Settlement Fund,
which enables me to estimate my settlement offer amount, there is no assurance as to the precise
amount of payment to be made to any claimant under the Combat Arms Settlement Program, and
this fact shall in no way affect the validity or effect of this Release.

Definitions: As used in this Release, and in addition to the definitions set forth in the Preamble
above, capitalized terms shall have the following definitions and meanings or such definitions and
meanings as are accorded to them elsewhere in this Release. Terms used in the singular shall be
deemed to include the plural and vice versa.

        1.       “Claims” means any and all past, present, and future rights, remedies, actions,
                 claims, liabilities, losses, demands, causes of action, suits at law or in equity,
                 verdicts, suits of judgments and/or Liens, past, present, and future, and any
                 fraudulent transfer, conveyance, and related types of claims, of any kind

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  Capitalized terms are either (i) defined below, or (ii) in the Master Settlement Agreement. Capitalized terms that
are used but not otherwise defined herein shall have the meanings given such terms in the Master Settlement
Agreement.


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         whatsoever regardless of the legal or equitable theory, whether known or unknown,
         whether sounding in contract or tort, whether asserted or unasserted in any
         litigation, or the jurisdiction where asserted. Claims also include, but are not
         limited to, all claims for damages or remedies of whatever kind or character, known
         or unknown, that are now recognized or that may be created or recognized in the
         future by statute, regulation, judicial decision, or in any other manner, including
         but not limited to (i) personal injury and/or bodily injury, latent injury, future injury,
         progression of existing injury, damage, disease, death, fear of death, disease or
         injury, mental or physical pain or suffering, emotional or mental harm, anguish, or
         loss of enjoyment of life or loss of life’s pleasures; (ii) compensatory damages,
         general damages, special damages, punitive, exemplary, and statutory and other
         multiple damages or penalties of any kind; (iii) loss of wages, income, earnings or
         earning capacity; (iv) medical expenses, doctor, hospital, nursing, physical therapy
         or rehabilitation or other therapy and drug bills; (v) loss of support, services,
         consortium, companionship, society or affection, or damage to familial relations,
         by spouses, former spouses, parents, children, other relatives or “significant others”
         of any Derivative Claimant; (vi) consumer fraud, refunds, unfair business practices,
         deceptive trade practices, Unfair and Deceptive Acts and Practices, disgorgement
         of profit, and other similar claims whether arising under statute, regulation, or
         judicial decision; (vii) wrongful death and survivorship; (viii) medical screening
         and monitoring; (viii) injunctive and declaratory relief; (ix) economic, property, or
         business losses; (x) prejudgment or post-judgment interest; (xi) attorneys’ fees and
         costs; and (xii) any class action or putative class action.

    2.   Combat Arms Earplugs (“CAE”): means any dual-ended non-linear earplugs
         sold or manufactured by or for or with either Aearo or 3M under any trade name,
         including but not limited to Combat Arms Earplugs (Version 2), ARC Plug
         earplugs, and AO Safety Indoor Outdoor Range Earplugs.

    3.   “Derivative Claimant” means any and all persons who have or assert the right to
         sue 3M or any other Released Party related to the Released Claims by reason of
         their personal relationship with me, and/or otherwise by, through or under, or
         otherwise in relation to, me, whether their right to sue is independent, derivative,
         or otherwise. Derivative Claimants include, but are not limited to, my parents,
         guardians, heirs, beneficiaries, surviving spouse (including, but not limited to, a
         putative or common law spouse), surviving domestic partner and/or next of kin, if
         any, solely in respect to Derivative Claims.

    4.   “Derivative Claims” means Claims against 3M or any other Released Party arising
         from or in connection with a Derivative Claimant’s personal relationship with me
         as it relates to the Released Claims, and/or otherwise by, through or under, or
         otherwise in relation to, me.

    5.   “Third Party Provider/Payor” means any provider or payor (public or private) of
         (i) health, hospital, medical, physician, healthcare and/or pharmaceutical services,
         products or expenses and/or (ii) any other form of compensation, including, but not


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          limited to, federal and state governmental authorities (or other persons) providing
          Medicaid and/or Medicaid services or benefits.

    6.    “Individual Plaintiff Settlement Payment” means any gross payment made by
          the Combat Arms Settlement Administrator to a Releasing Party, which shall
          include a Registration Payment and any additional amounts to be determined
          pursuant to the Master Settlement Agreement.

    7.    “Law” means a law, statute, ordinance, rule, regulation, case or other legal
          provision or authority.

    8.    “Liabilities” means any and all damages, expenses, debts, liabilities, obligations,
          covenants, promises, contracts, agreements and/or obligations, of any kind
          whatsoever, past, present, and future.

    9.    “Lien” means any lien, pledge, charge, security interest, assignment, encumbrance,
          subrogation right, third-party interest, or other adverse claim of any nature
          whatsoever against my Individual Plaintiff Settlement Payment or my Released
          Claims and Liabilities.

    10.   “Registration Payment” means a payment made upon submission of a completed
          Registration Form made to qualifying claimants by the Combat Arms Settlement
          Administrator pursuant to the terms of the Master Settlement Agreement.

    11.   “Released Claims and Liabilities” means, collectively, (i) CAE Claims that any
          Releasing Party may have ever had, may now have or at any time hereafter may
          have against any Released Party and (ii) Liabilities that any Released Party may
          have ever had, may now have or at any time hereafter may have to any Releasing
          Party, in the case of clause (i) and clause (ii), to any extent, or in any way, arising
          out of, relating to, resulting from and/or connected with CAE or any non-linear
          earplugs sold or manufactured by or for or with either Aearo or 3M under any trade
          name, including but not limited to Combat Arms Earplugs (Version 2), ARC Plug
          earplugs, and AO Safety Indoor Outdoor Range Earplugs, including but not limited
          to Combat Arms version 1, version 2, version 3, version 4, and version 4.1.

    12.   “Released Parties” means: (i) 3M Company, 3M Occupational Safety LLC, Aearo
          Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC
          (collectively “3M”); (ii) 3M’s past, present, and/or future affiliates, assigns,
          predecessors, successors, related companies, subsidiary companies, directors,
          officers, employees, shareholders, advisors, advertisers, attorneys, insurers, and
          agents; (iii) past, present, and/or future manufacturers, suppliers of materials,
          suppliers of components, and all other persons involved in development, design,
          manufacture, formulation, testing, distribution, marketing, labeling, regulatory
          submissions, advertising and/or sale of any CAE or component thereof; (iv) past,
          present, and/or future distributors, licensees, retailers, sellers, and resellers of CAE;
          (v) all past, present and/or future persons and entities that are indemnified by 3M
          in connection with any CAE by contract or common law rights of indemnification

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               or contribution; and (vi) the respective past, present, and/or future parents,
               subsidiaries, divisions, affiliates, joint venturers, predecessors, successors, assigns,
               transferees, insurers, shareholders (or the equivalent thereto), directors (or the
               equivalent thereto), officers (or the equivalent thereto), managers, principals,
               employees, consultants, advisors, attorneys, agents, servants, representatives, heirs,
               trustees, executors, estate administrators, and personal representatives (or the
               equivalent thereto) of the parties referred to in this paragraph.

       13.     “Releasing Parties” means (i) myself and (ii) any Derivative Claimant.

       14.     “Settlement Agreement” means the Combat Arms Settlement Agreement dated as
               of August 29, 2023

       15.     “Settlement Program” means the Combat Arms Settlement Program set forth in
               the Combat Arms Settlement Agreement.

Releases: On my own behalf and on behalf of each other Releasing Party, I hereby knowingly and
voluntarily release, relinquish, and forever discharge the Released Parties from the Released
Claims and Liabilities. Further, on my own behalf and on behalf of each other Releasing Party, I
hereby release the Released Parties from responsibility or liability for any individual settlement
amount allocation, division, or payment of any settlement amount in the Settlement Agreement or
the Settlement Program by the Settlement Administrator. This release is not conditional on receipt
of any particular settlement amount or allocation by the Settlement Administrator.

I acknowledge that I and/or any other Releasing Party may in the future learn of additional and/or
different facts as they relate to the Released Claims, the Released Parties’ activities as they relate
to the Released Claims. I understand and acknowledge the significance and consequences of
releasing all of the Released Claims and Liabilities and hereby (on my own behalf and on behalf
of each other Releasing Party in respect of Derivative Claims) assume full risk and responsibility
for any and all such additional and/or different facts and any and all Released Claims and
Liabilities that I (and/or any other Releasing Party in respect of Derivative Claims) may hereinafter
incur or discover. To the extent that any law may at any time purport to preserve my and/or any
other Releasing Party’s right to hereafter assert any such unknown and/or unanticipated Released
Claim and/or Liabilities, I hereby (on my own behalf and on behalf of each other Releasing Party
in respect of Derivative Claims) specifically and expressly waive (to the fullest extent permitted
by applicable Law) each Releasing Party’s rights under such Law. I further acknowledge having
had an opportunity to obtain advice of counsel of my choosing regarding this waiver, and having
had the opportunity to discuss it with such counsel to my satisfaction.

On my own behalf and on behalf of each other Releasing Party, I acknowledge and agree that the
releases set forth in this Release are irrevocable and unconditional, inure to the benefit of and may
be enforced by each Released Party, and are intended to be as broad as can possibly be created.

WITHOUT LIMITATION OF THE FOREGOING, THIS RELEASE IS SPECIFICALLY
INTENDED TO OPERATE AND BE APPLICABLE EVEN IF IT IS ALLEGED,
CHARGED, OR PROVED THAT SOME OR ALL OF THE RELEASED CLAIMS AND
LIABILITIES ARE CAUSED IN WHOLE OR IN PART BY THE NEGLIGENCE,

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NEGLIGENCE PER SE, GROSS NEGLIGENCE, BREACH OF WARRANTY, FAILURE
TO WARN, VIOLATION OF LAW, DEFECTIVE PRODUCT, MALICE, AND/OR
CONDUCT OF ANY TYPE BY 3M, ANY OF THE OTHER RELEASED PARTIES, ANY
RELEASING PARTY, AND/OR ANY OTHER PERSON.         THIS RELEASE IS
SPECIFICALLY INTENDED TO AND DOES INCLUDE, BUT IS NOT LIMITED TO, A
RELEASE OF, AND COVENANT NOT TO SUE FOR, ANY LATENT, FUTURE, OR
WRONGFUL DEATH CLAIM THAT MAY BE BROUGHT AT ANY TIME OR ON
BEHALF OF ANY OF THE RELEASING PARTIES IN CONNECTION WITH ANY OF
THE FACTS, EVENTS, AND/OR INCIDENTS THAT GAVE RISE TO ANY OF THE
RELEASED CLAIMS AND LIABILITIES.

Waiver of Statutory Rights.

I, on my own behalf and on behalf of each other Releasing Party, expressly waive and
relinquish, to the fullest extent permitted by law, the provisions, rights, and benefits of
California Civil Code Section 1542, or any other similar provision under federal or state law,
which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
       EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE
       AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
       AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR OR RELEASED
       PARTY.

To the extent the provisions apply, the Releasing Parties likewise expressly, knowingly, and
voluntarily waive the provisions of Section 28-1-1602 of the Montana Code Annotated, which
provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN THE CREDITOR’S
       FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH, IF KNOWN
       BY THE CREDITOR, MUST HAVE MATERIALLY AFFECTED THE
       CREDITOR’S SETTLEMENT WITH THE DEBTOR.

To the extent the provisions apply, I, on my own behalf and on behalf of each other Releasing
Party, likewise expressly, knowingly, and voluntarily waive the provisions of Section 9-13-02
of the North Dakota Century Code, which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN THE CREDITOR’S
       FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
       BY THE CREDITOR, MUST HAVE MATERIALLY AFFECTED THE
       CREDITOR’S SETTLEMENT WITH THE DEBTOR.




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To the extent the provisions apply, I, on my own behalf and on behalf of each other Releasing
Party, likewise expressly, knowingly, and voluntarily waive the provisions of Section 20-7-11
of the South Dakota Codified Laws, which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR AT
       THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
       MUST HAVE MATERIALLY AFFECTED HIS SETTLEMENT WITH THE
       DEBTOR.

To the extent the laws apply, I, on my own behalf and on behalf of each other Releasing
Party, expressly waive and relinquish all rights and benefits that they may have under, or
that may be conferred upon them by, Section 1542 of the California Civil Code, Section 28-
1-1602 of the Montana Code Annotated, Section 9-13-02 of the North Dakota Century Code,
Section 20-7-11 of the South Dakota Codified Laws, and all similar laws of other States, to
the fullest extent that they may lawfully waive such rights or benefits pertaining to the
Released Claims and Liabilities.

In connection with such waiver and relinquishment, I, on my own behalf and on behalf of
each other Releasing Party, acknowledge that I am aware that I or my attorneys may
hereafter discover Claims or facts in addition to or different from those that they now know
or believe to exist with respect to the Released Claims and Liabilities, but that it is my
intention to accept and assume that risk and fully, finally, and forever release, waive,
compromise, settle, and discharge all the Released Claims and Liabilities against Released
Parties. The Release thus shall remain in effect notwithstanding the discovery or existence
of any additional or different Claims or facts.

Attorneys’ Fees; Division of Any Individual Plaintiff Settlement Payment: I understand that
the Released Parties are not responsible for any attorneys’ fees or costs I have incurred or may at
any time incur, including, but not limited to, in connection with entering into this Release and any
other documents. I understand that, with respect to any Individual Plaintiff Settlement Payment,
any dispute regarding the division of such Individual Plaintiff Settlement Payment between me,
any Derivative Claimant executing this Release, and our respective counsel (if any) shall in no
way affect the validity of this Release.

Pursuit of Certain Claims: I agree that other than to enforce this Release, I will never (i) take
any legal or other action to initiate, pursue, maintain, or otherwise attempt to execute upon, collect,
or otherwise enforce, any of the Released Claims and Liabilities of or against any Released Party;
(ii) institute or participate in any new legal action against any Released Party to any extent, or in
any way, arising out of, relating to, resulting from and/or connected with the Released Claims; (iii)
attempt to execute or collect on, or otherwise enforce, any judgment that may be entered against
any Released Party in any legal action described in clause (ii) or my pending legal action against
3M; or (iv) take any legal or other action against any Released Party concerning the administration,
settlement allocation, individual settlement amount, or any other aspect of the Settlement Program.

Liens and Other Third-Party Payor Claims: I agree that prior to the first time that an Individual
Plaintiff Settlement Payment is made to me, I shall identify to the Settlement Administrator for the
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Combat Arms Settlement Program all governmental authorities that are Third Party
Providers/Payors known to me to hold or assert any Lien pursuant to any applicable statute with
respect to any Individual Plaintiff Settlement Payment (and/or the right to receive such Individual
Plaintiff Settlement Payment) payable to me, through procedures and protocols to be established
by the Combat Arms Settlement Administrator. I further understand that the Combat Arms
Settlement Administrator will also check with the potentially applicable government entities
including Medicare, Medicaid from the state(s) where I have resided, or if I am a Veteran, the
United States Department of Veterans Affairs, or if medical bills were paid by any federal policy
such as Tricare, such agency, to ensure there are no pertinent governmental liens and will not
distribute funds to me until they receive assurance that there are no such governmental liens, or if
they do exist, that they are appropriately compromised and paid.

I understand and acknowledge that satisfaction and discharge of any and all Liens with respect to
any Individual Plaintiff Settlement Payment (and/or the right to receive any Individual Plaintiff
Settlement Payment) is the sole responsibility of me and any Derivative Claimant executing this
Release and must, in relation to all governmental authorities that are Third Party Providers/Payors
who hold or assert any Liens pursuant to any applicable statute, be established to the satisfaction
of the Combat Arms Settlement Administrator before any Individual Plaintiff Settlement Payment
(if any) can be disbursed to me.

Before the first time an Individual Plaintiff Settlement Payment is made to me, I (and any
Derivative Claimant) shall represent and warrant that any and all Liens have been, or will be,
satisfied and discharged. Furthermore, upon request to the Combat Arms Settlement
Administrator, 3M shall be entitled to proof of satisfaction and discharge of any or all such Liens
pursuant to any applicable statute in relation to all governmental authorities that are Third Party
Providers/Payors. Documentation of a holdback amount determined by the Combat Arms
Settlement Administrator shall count as sufficient proof for the release of funds to the relevant
Claimant.

In addition to and without limitation of the foregoing, I hereby agree, jointly and severally with
any Derivative Claimant executing this Release, to indemnify and hold harmless the Released
Parties (as defined above) from and against (i) any and all Claims made or asserted at any time
against any Released Party by (a) any Third Party Provider/Payor in relation to me or any
Derivative Claim, (b) any person at any time holding or asserting any Lien in relation to me or any
Derivative Claim, and/or (c) any other person at any time claiming by, through or under, me or
any Derivative Claimant executing this Release, with respect to any funding payment by or for the
account of 3M under the Settlement Agreement or Settlement Program (and/or the right to receive
any such Individual Plaintiff Settlement Payment), and (ii) any and all damages, losses, costs,
expenses (including, but not limited to, legal fees and expenses) and/or Liabilities incurred or
suffered by, or imposed on, any Released Party in connection with, arising out of or resulting from
any Claim described in clause (i) of this sentence (including, but not limited to, any amount paid
or to be paid in satisfaction of any such Claim).

Indemnification for Released Claims and Liabilities: I hereby agree, jointly and severally with
any Derivative Claimant executing this Release, to indemnify and hold harmless each Released
Party from and against (i) any and all Claims that may be asserted, made or maintained at any time

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against any Released Party by, on behalf of or for the benefit of, or otherwise through or under,
any Releasing Party with respect to any of the Released Claims and Liabilities, and (ii) any and all
damages, losses, costs, expenses (including, but not limited to, legal fees and expenses), and/or
Liabilities incurred or suffered by, or imposed on, any Released Party in connection with, arising
out of or resulting from any Claim described in clause (i) of this sentence (including, but not limited
to, any amount paid or to be paid in satisfaction of any such Claim) and/or, without limitation of
the foregoing, any breach by me (or any Derivative Claimant executing this Release) of any of the
terms of this Release.

I (and any Derivative Claimant executing this Release) accept that I will be responsible for any tax
consequences arising from, related to, or in any way connected with the relief afforded to me (and
the Derivative Claimant) under the Settlement Agreement.

Pursuit of Certain Claims: Other than to participate in the Settlement , I agree that from and after
the date on which this Release is executed until the earlier of either (i) the date on which my
Dismissal With Prejudice Stipulation is delivered to Defendants or (ii) I exit the settlement
program and this Release is returned to me, I shall be prohibited from, and refrain from, taking
any action (including any legal action) to initiate, pursue, maintain, or otherwise attempt to execute
upon, collect or otherwise enforce, any actual or alleged Released Claims and Liabilities of or
against Defendants or any other Released Party. I will also cooperate in all reasonable respects
with Defendants to seek to stay, and to continue in effect any then outstanding stay with respect
to, any pending legal proceedings instituted by me and/or Derivative Claimants against any
Released Party in connection with Released Claims, and I will refrain from instituting any new
legal action against any Released Party in connection with any Released Claim. I will also be
prohibited from and refrain from, attempting to execute or collect on, or otherwise enforce, any
judgment that may be entered against any Released Party in connection with any Released Claim.

I also agree that if I am determined or deemed to be a Registered Claimant, or if I exit the settlement
program under circumstances such that my Release remains in effect, in furtherance and not in
limitation of such Release, any judgment in connection with any Released Claim automatically
shall be deemed to have been Released by me and all such Derivative Claimants. I agree that I
and any Derivative Claimants shall execute such instruments, and take such other actions, as
Defendants reasonably may request in order to further evidence or implement the same.

Confidentiality: I agree to maintain in confidence, and shall not disclose to any person, the amount
of any Individual Plaintiff Settlement Payment, except as may be required by applicable Law and
to effectuate the settlement; provided, that I understand that I may disclose such information to my
immediate family members and to my counsel, accountants and/or financial advisors, if any (each
of whom I shall, upon such disclosure, instruct to maintain and honor the confidentiality of such
information). I agree that if I breach this confidentiality provision, money damages would not be
a sufficient remedy and, accordingly, without limitation of any other remedies that may be
available at law or in equity, 3M shall be entitled to specific performance and injunctive or other
equitable relief as remedies for such breach.

Medical Documentation Authorization: I have authorized my counsel to obtain and supply (or
if I am not represented by counsel, I will obtain and supply) to the Combat Arms Settlement
Administrator and all other persons provided for under the terms of the Settlement Agreement to

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consider claims, and their respective attorneys, agents, servants, employees and independent
auditors and others deemed necessary by each to assist them, the medical or other documentation
required for approval of an Individual Plaintiff Settlement Payment under the Combat Arms
Settlement Program along with any and all authorizations for the release of medical records
required in my Settlement Program Registration and Confidentiality Form under the Combat Arms
Settlement Program or that may be required by a provider of such documentation, including, but
not limited to, a specific authorization required by a particular hospital, pharmacy, physician or
any other source of documentation. I agree to cooperate fully in providing any authorization for
the release of records requested in connection with the Combat Arms Settlement Program. I also
authorize the foregoing persons to have access to my medical and other documentation available
in any electronic depository through which 3M delivers medical records it collects by way of
authorization or subpoena to Plaintiffs’ Counsel.

ACKNOWLEDGEMENT OF COMPREHENSION: I AM ENTERING INTO THIS
RELEASE FREELY AND VOLUNTARILY, WITHOUT BEING INDUCED,
PRESSURED, OR INFLUENCED BY, AND WITHOUT RELYING ON ANY
REPRESENTATION OR OTHER STATEMENT MADE BY OR ON BEHALF OF, 3M OR
ANY OTHER PERSON. I UNDERSTAND AND ACKNOWLEDGE THE NATURE,
VALUE, AND SUFFICIENCY OF THE CONSIDERATION DESCRIBED IN THIS
RELEASE. I ACKNOWLEDGE THAT I HAVE READ THIS RELEASE AND THE
DISCLOSURE DOCUMENTS PROVIDED TO ME REGARDING THE SETTLEMENT
AGREEMENT AND THE ALLOCATION OF THE COMBAT ARMS SETTLEMENT
FUND, AND I HAVE HAD AN OPPORTUNITY TO OBTAIN ADVICE FROM, AND ASK
QUESTIONS OF, COUNSEL OF MY CHOOSING REGARDING THE TERMS AND
LEGAL EFFECT OF THESE DOCUMENTS AND MY DECISION TO PARTICIPATE IN
THE SETTLEMENT PROGRAM.        I FURTHER ACKNOWLEDGE THAT I
UNDERSTAND THIS RELEASE AND THAT ALTHOUGH I HAVE RECEIVED
DISCLOSURE DOCUMENTS REGARDING THE ALLOCATION OF THE COMBAT
ARMS SETTLEMENT FUND WHICH ENABLES ME TO ESTIMATE MY
SETTLEMENT OFFER AMOUNT, THERE IS NO GUARANTEE THAT I WILL
RECEIVE ANY PARTICULAR AMOUNT UNDER THE SETTLEMENT PROGRAM. I
FURTHER ACKNOWLEDGE THAT PAYMENT(S) FROM THE SETTLEMENT
PROGRAM SHALL BE THE ONLY PAYMENT(S) TO ME WITH RESPECT TO ANY
RELEASED PARTY. I FURTHER ACKNOWLEDGE THAT THIS RELEASE IS THE
PRODUCT OF A MEDIATED SETTLEMENT, THAT THE MEDIATORS HAD NO
DUTY TO PROTECT MY INTERESTS OR PROVIDE ME WITH INFORMATION
ABOUT MY LEGAL RIGHTS, AND THAT I SHOULD CONSULT WITH COUNSEL IF
I AM UNCERTAIN OF MY RIGHTS.

Waiver of Certain Provisions Regarding Timing of Any Payments. If I have any civil action
pending in any jurisdiction that has enacted, promulgated, or otherwise adopted any Law
containing provisions that establish specific time periods within which settlement funds, if any,
must be paid to me in connection with the settlement of such civil action and/or impose sanctions,
penalties or other similar obligations against the paying party if the settlement funds are not paid
within such time periods and/or invalidate or otherwise affect the terms of the settlement of such
civil action, I hereby (i) specifically and expressly waive (to the fullest extent permitted by

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applicable Law) my rights under any such provisions and (ii) agree that payment of my Individual
Plaintiff Settlement Payment shall be made solely in accordance with the terms and conditions of
the Combat Arms Settlement Program.

No Admission of Fault: I understand and agree that 3M has entered into this Release and the
Settlement Agreement solely by way of compromise and settlement. These documents are not,
and shall not be construed at any time to be, an admission of liability, responsibility or fault of or
by 3M or any other Released Party.

Representations and Warranties: I hereby represent and warrant that I have full power, authority
and capacity to enter into this Release, which is enforceable in accordance with its terms. Except
as set forth in the section “Attorneys’ Fees; Division of Any Individual Plaintiff Settlement
Payment” above, I have the sole right to receive any and all Individual Plaintiff Settlement
Payments with respect to my claim under the Combat Arms Settlement, other than holders of rights
in respect of any medical liens or any advanced funding loans on my settlement proceeds. Neither
I nor any other Releasing Party has sold, assigned, transferred or otherwise disposed of, or pledged
or otherwise encumbered, any of the Released Claims and Liabilities in whole or in part, other
than any medical liens or any advanced funding loans on my settlement proceeds.

GOVERNING LAW: THIS RELEASE SHALL BE GOVERNED BY AND CONSTRUED
IN ACCORDANCE WITH THE SUBSTANTIVE LAW OF NEW YORK, WITHOUT
REGARD TO ANY CHOICE-OF-LAW RULES THAT WOULD REQUIRE THE
APPLICATION OF THE LAW OF ANOTHER JURISDICTION.

Severability: I agree that if any provision of this Release is adjudicated to be invalid, illegal or
unenforceable in any jurisdiction, the relevant provision shall be deemed modified to the extent
necessary to make it enforceable in such jurisdiction and, if it cannot be so modified, this Release
shall be deemed amended to delete herefrom the invalid or unenforceable provision, and this
Release shall be in full force and effect as so modified. Any such modification or amendment in
any event shall apply only with respect to the operation of this Release in the particular jurisdiction
in which such adjudication was made and shall not affect such provision in any other jurisdiction.
To the fullest extent permitted by applicable Law, I hereby (on my own behalf and on behalf of
each other Releasing Party) specifically and expressly waive any provision of Law that renders
any provision of this Release invalid, illegal or unenforceable in any respect.

Legal Representatives: If I am signing this Release as a legal representative of a CAE user, then
(i) all references in this Release to my use of, or injury from, CAE shall also mean the use of, or
injury from, CAE, all references in this Release to any person claiming by, through or under, or in
relation to, me shall also mean any person claiming by, through or under, or in relation to, such
CAE user, and all references to me in the definition of Derivative Claimant shall also mean such
CAE user, (ii) if such CAE user is not deceased, he or she shall also be a Releasing Party, (iii) if
such CAE user is deceased, I am executing this Release both individually and on behalf of the
estate of such CAE user, and (iv) prior to the first time, if any, that an Individual Plaintiff
Settlement Payment is made to me in my capacity as legal representative, I will obtain judicial
approval of this Release, with the assistance of my legal counsel, to the extent required under
applicable Law.

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Electronic Signatures: This Release, and any exhibits thereto, to the extent signed and delivered
electronically or by facsimile, shall be treated in all manner and respects as an original agreement,
and shall be considered to have the same binding legal effect as if it were the original signed
version thereof, delivered in person.

                      [The remainder of this page is intentionally left blank.]




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        IN WITNESS WHEREOF, I have executed this Release on the date below, to be effective
as of the date set out in the first paragraph of this Release above:


                                             RELEASOR:



                                             By     __________________________
                                             Name: __________________________
                                             Dated: __________________________




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        SIGNATURE PAGE AND AGREEMENT BY DERIVATIVE CLAIMANT

        I am a person having or asserting the right to sue 3M by reason of my relationship with
Releasor (or, if Releasor is a legal representative of a CAE user, such CAE user). I hereby enter
into the Release to which this signature page is attached and agree to be bound by all of its terms
(and, without limitation, hereby give and make all releases, waivers, acknowledgements,
agreements, representations and warranties therein) on the same basis as Releasor set forth therein
(including, but not limited to, all joint and several indemnification obligations set forth therein).
This agreement was executed on the date below, and is effective as of the date set out in the first
paragraph of this Release above.

                                                  DERIVATIVE CLAIMANT:



                                                  By     _____________________________
                                                  Name: _____________________________
                                                  Dated: _____________________________




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                                  EXHIBIT 4A

                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


IN RE: 3M COMBAT ARMS                        CASE NO. 3:19-MD-2885
EARPLUG PRODUCTS
LIABILITY LITIGATION
                                             Hon. Judge M. Casey Rodgers
                                             Magistrate Judge Hope Cannon
This Document Relates To:

[INSERT] v 3M Company et al.
Case No. [INSERT]

[INSERT]



     STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED, by and between the
undersigned Parties pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),
that the claims of the Plaintiff in the above captioned case are hereby dismissed
with prejudice against all Defendants, each party to bear its own costs.




            Respectfully submitted,

Dated: [INSERT DATE]August 28,               PLAINTIFF COUNSEL
2023




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                                       [SIGN/INSERT DETAILS]

                                       Counsel for Plaintiff [INSERT]
Dated: [INSERT DATE]August 28,         DEFENDANTS COUNSEL
2023


                                       [SIGN/INSERT DETAILS]

                                       Counsel for Defendants, 3M Company,
                                       3M Occupational Safety LLC, Aearo
                                       Technologies LLC, Aearo Holding,
                                       LLC, Aearo Intermediate, LLC and
                                       Aearo, LLC




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                     CERTIFICATION OF SIGNATURES

      I HEREBY CERTIFY that each of the signatories of this notice have

expressly agreed to the form and substance of the document and has authorized the

filing attorney to submit the document electronically.




                                             [SIGN/INSERT DETAILS]
                                             Counsel for Plaintiff




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                          CERTIFICATE OF SERVICE

      In compliance with Rule 5.1(F) of the Local Rules of the United States

District Court Northern District of Florida, I hereby certify that on [INSERT

DATE], true and correct copy of the foregoing was electronically filed via the

Court’s CM/ECF system, which will automatically serve notice of this filing via e-

mail to all registered counsel of record.




                                                [SIGN/INSERT DETAILS]
                                                Counsel for Plaintiff




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                                      EXHIBIT 4B

STATE OF MINNESOTA                                              DISTRICT COURT
COUNTY OF HENNEPIN                                     FOURTH JUDICIAL DISTRICT

[INSERT],                                                     Case Type: Personal Injury

       Plaintiffs,                                                  Hon. Laurie J. Miller

v.                                                                   Case No. [INSERT]

3M Company, et al.,

       Defendants.


                 STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

Parties pursuant to Minnesota Rule of Civil Procedure 41.01(a)(2), that the claims of the

Plaintiff(s) in the above captioned case may be and hereby are dismissed with prejudice

against all Defendants, each party to bear its own costs.

 Dated: [INSERT DATE]                     PLAINTIFFS’ COUNSEL



                                          [SIGN/INSERT DETAILS]


 Dated: [INSERT DATE]                     DEFENDANTS’ COUNSEL


                                          Benjamin W. Hulse (MN #0390952)
                                          NORTON ROSE FULBRIGHT US LLP
                                          60 South Sixth Street, Suite 3100
                                          Minneapolis, MN 55402
                                          Phone: (612) 321-2800
                                          Fax: (612) 321-2288


                                             1
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                                Email: ben.hulse@nortonrosefulbright.com




                                   2
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                                           EXHIBIT 5
      CALCULATING PARTICIPATION LEVEL FOR THE WAVE SETTLEMENT 1
For purposes of Article 8 and Article 11, the Wave Participation Level must be calculated on an
ongoing basis, including to determine whether the Parties have, among other things, reached the
various thresholds set forth and defined in the Wave Settlement. The method, time, and entity
charged with calculating these percentages is further set forth in the Wave Settlement.
The purpose of this Exhibit is to establish how the Wave Participation Level is to be calculated.




1
 Capitalized terms herein have the same meaning, unless otherwise defined, as set forth in MSA
and the Wave Settlement.
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      Exhibit 5-1-1: ELIGIBLE WAVE CASE CLAIMANTS INCLUDED IN THE
                               DENOMINATOR
The Denominator is calculated by summing the deduplicated totals of Groups A and B.


A. All Wave Case Claimants listed in Exhibit 1 to the Wave Settlement.

B. Any Wave Case Claimants added by agreement of the Parties.
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Exhibit 5-2: ELIGIBLE WAVE CASE CLAIMANTS INCLUDED IN THE NUMERATOR
The Numerator is calculated by summing the deduplicated totals of Groups A–C below.
A. Wave Case Claimants in the Denominator Who Are Registered Wave Case Claimants.

B. Wave Case Claimants in the Denominator Who Are Dismissed with Prejudice.

C. Wave Case Claimants in the Denominator Who Are Unable To Execute a Release or a
   Dismissal With Prejudice as a Result of Bankruptcy or Death, provided:

      a. In the event of death, Wave Case Counsel asserts an intention to participate in the
         settlement or dismiss with prejudice, but is awaiting authorization to execute the
         Release pursuant to 6.4 of this Wave Settlement; or

      b. In the event of a bankruptcy, Wave Case Counsel confirms its good faith belief that
         the CAE Claim is property of the bankruptcy estate and provides evidence of an
         active bankruptcy that is currently pending.

   To the extent a Wave Case Claimant or the Wave Case Counsel in this Section C become able
   to execute a Release (including through a representative or bankruptcy trustee) and does so or
   chooses not to be part of the Wave Settlement Program, such Wave Case Claimant shall be
   treated as any other Wave Case Claimant and no longer be part of the population of Section
   C.
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           EXHIBIT 5-3 CALCULATION OF WAVE PATICIPATION LEVEL 2
To calculate the Wave Participation Level, the sum of the Numerator as set forth in Exhibit 5-2
will be divided by the sum of the Denominator as set forth in Exhibit 5-1 and multiplied by 100
to determine the Wave Participation Level as called for throughout the MSA.
For example, if the total number of Wave Case Claimants summed in Exhibit 5-1 is 200,000 and
the total number of Wave Case Claimants summed in Exhibit 5-2 is 197,000, as of December 1,
2023, the Wave Participation Level as of that date for purposes of Article 8 and Article 11 is
calculated by dividing 197,000 by 200,000 and multiplying that by 100. In this example, Wave
Participation Level would be 98.5%.




2
 The methodology set forth in this Exhibit assumes that the Settlement Administrator
successfully deduplicated the cases within Numerator and Denominator, respectively, before any
summing occurred.
